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                                   #: 3788

                                                                              1


                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION
                        NO. 1:23-cv-00595-JPH-KMB

      K.C., et al.,                                )
                                                   )
                    Plaintiff(s),                  )
                                                   )
             -vs-                                  )
                                                   )
      THE INDIVIDUAL MEMBERS OF THE                )
      MEDICAL LICENSING BOARD OF                   )
      INDIANA, in their official                   )
      capacities, et al.,                          )
                                                   )
                    Defendant(s).                  )

                    The videoconference deposition upon oral
      examination of PROFESSOR DIANNA T. KENNY, a witness
      produced and sworn before me, Brandy L. Bradley, RPR,
      a Notary Public in and for the County of Hamilton,
      State of Indiana, taken on behalf of the Plaintiffs
      at the remote location of the witness, Sydney, New
      South Whales, Australia, on the 30th day of May,
      2023, pursuant to the Indiana Rules of Trial
      Procedure.




                          CIRCLE CITY REPORTING
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                                Suite 1720
                         Indianapolis, IN 46204
                              (317) 635-7857
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 The Individual Members of the Medical Licensing Board                                                      May 30, 2023
                                                         Page 2                                                    Page 4
   1                  A P P E A R A N C E S
                                                                   1        Pursuant to the Indiana Supreme Court Case
   2
     FOR PLAINTIFFS:      Gavin M. Rose                            2   20S-MS-236 signed March 31, 2020, PROFESSOR
   3                      Kenneth J. Falk
                          ACLU of Indiana                          3   DIANNA T. KENNY, having been first duly sworn to
   4                      1031 W. Washington Street
                          Indianapolis, IN 46202                   4   tell the truth, the whole truth and nothing but
   5                      grose@aclu-in.org
                          kfalk@aclu-in.org                        5   the truth relating to said matter, was examined
   6                                                               6    and testified as follows:
   7                      Harper Seldin
                                                                   7 DIRECT EXAMINATION,
                          AMERICAN CIVIL LIBERTIES UNION
   8                      125 Broad Street                         8    QUESTIONS BY GAVIN M. ROSE:
                          New York, NY 10004
   9                      hseldin@aclu.org                         9 Q Good morning, Doctor. How are you today?
  10                                                              10 A I'm fine. Thanks.
     FOR DEFENDANTS:      Thomas M. Fisher
  11                      Razi Lane
                          OFFICE OF THE INDIANA ATTORNEY
                                                                  11 Q Can you state your name for the record, please.
  12                      GENERAL
                          IGCS, 5th Floor
                                                                  12 A It's Dianna Theadora Kenny.
  13                      302 W. Washington Street                13 Q That's Dianna with two Ns; correct?
                          Indianapolis, IN 46204
  14                      tom.fisher@atg.in.gov                   14 A Yes, and Theadora with an O, not an A, so
                          razi.lane@atg.in.gov
  15                                                              15     T-h-e-a-d-o-r-a, and Kenny there's no E,
  16                                                              16     K-e-n-n-y.
  17                                                              17 Q And I heard you before we went on the record say
            I N D E X    O F   E X A M I N A T I O N
  18                                                              18    that you would prefer to be addressed as Dianna;
                                                    PAGES
  19                                                              19     is that correct?
     DIRECT EXAMINATION                                 4
  20      QUESTIONS BY GAVIN M. ROSE                              20 A That's fine, yeah.
  21 CROSS-EXAMINATION                                166         21 Q If I fall into old habits, do you prefer doctor
          QUESTIONS BY THOMAS M. FISHER
  22                                                              22     or professor?
  23                                                              23 A Professor.
  24                                                              24 Q Dianna, have you ever had your deposition taken
  25                                                              25     before?

                                                         Page 3                                                    Page 5
   1             I N D E X       O F   E X H I B I T S
                                                                   1 A Not in America, no.
   2                                                     PAGES
       Plaintiff(s) Exhibit No(s).                                 2 Q Have you in Australia?
   3
       1 - CV                                               11     3 A Yes. Well, I mean, you don't call them -- it's
   4   2 - Expert Declaration                               59
       3 - Expert Declaration Exhibit Citations             60     4    not exactly the same process, but yes.
   5
       4 - Victoria Act                                     63     5 Q You've been asked questions under oath for
   6   5 - Littman                                          82
                                                                   6    purposes of a court case?
       6 - Littman Correction                               88
   7                                                               7 A That's right, yes.
       7 - Turban - 2022                                    89
   8   8 - CAAPS Position Statement on ROGD                 92
                                                                   8 Q I, obviously, know nothing about the rules of
       9 - Indremo                                          99
   9                                                               9   depositions or their equivalent in Australia, so
       10 - Pang                                           103
  10   11 - WA Website                                     115    10    I will go over the rules real quick with you.
       12 - Queensland Website                             116
  11                                                              11   You understand that this is a formal asking and
       13 - Turban - 2021                                  119
  12   14 - Social Contagion
       15 - Australian Perspectives
                                                           123
                                                           125
                                                                  12    answering of questions under oath; correct?
  13                                                              13 A Yes.
       16 - APS Information Sheet                          137
  14   17 - APS Information Sheet Summary                  138    14 Q Okay. The court reporter has asked me to remind
       18 - AusPATH Standards of Care                      139
  15
       19 - AusPATH Informed Consent                       147
                                                                  15    you, which I would have done anyway, that
  16   20 - M.W. Riley record                              154    16   because she is writing down everything that we
       21 - M.W. Riley intake packet                       156
  17                                                              17    say it is very important that you wait until I
       22 - Kenny presentation to SEGM                     163
  18                                                              18   finish my question before providing your answer.
  19                                                              19 A Okay.
  20                                                              20 Q And I will try to give you the exact same
  21                                                              21    courtesy; is that fair?
  22                                                              22 A Yes, it is. Could I get you to sit back a
  23                                                              23    fraction because I can only see that much of
  24                                                              24    your face?
  25                                                              25 Q I'm sorry. Is this better?


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   1 A That's better, yes.                                  1    report, things like that.
   2 Q Can you still hear me okay?                          2 Q Did you have a meeting or conversations
   3 A Yes, I can.                                          3   specifically for the purpose of preparing you
   4 Q Okay. We had an issue with Zoom not long ago         4    for today's deposition?
   5   where I had it set to the wrong microphone so        5 A A brief meeting.
   6   I'm used to leaning over something and I don't       6 Q When did that take place?
   7    have to now that it's set correctly, so I           7 A I think that was last Thursday morning, my time.
   8    apologize.                                          8 Q Of course. Did you speak with anyone other than
   9 A Thank you.                                           9   the attorneys for Indiana to prepare for today's
  10 Q The court reporter has also asked me to remind      10    deposition?
  11   you that because of the distance between you and    11 A No.
  12    us there very well may be a lag time in the        12 Q Did you review any documents in advance of
  13    video or in our communication, so, for that        13    today's deposition?
  14    reason, too, it's important for you to wait        14 A Yes.
  15    until I finish to begin your answer, okay?         15 Q Which documents did you review?
  16 A Okay.                                               16 A The primary documents that I reviewed are listed
  17 Q In other depositions in this case we have been      17   on the front of my declaration. Do you want me
  18   taking a short break every hour or so. My plan,     18   to go through them? You'll have them in front
  19    if everybody is tolerating it, is to go a little   19   of you, but I have them here if you need them.
  20    longer than that, at least for the beginning,      20 Q That was going to be my next question. Do you
  21   simply because we're already in the evening         21   have any documents in front of you that you plan
  22    hours right now, but if at any time you feel       22    on referencing during the deposition?
  23   like you need a break to stretch your legs, get     23 A I have my declaration.
  24    a drink of water, use the restroom, please,        24 Q Okay. Is that the only document you have in
  25   speak up and we can certainly make that happen.     25    front of you?

                                                  Page 7                                                   Page 9

   1    Is that okay?                                       1 A I was advised that that was the only document I
   2 A I'm perfectly happy to go for -- I'm used to         2   was permitted.
   3    doing long stretches. I have a long attention       3 Q That's perfectly fine with me. I just want to
   4    span. I know it's going to get very late over       4   make sure.
   5    there, so it's fine with me to just, yeah,          5       The declaration that you have in front of
   6    extend those breaks.                                6   you, does it have the attached exhibits, I think
   7 Q Well, I have a short attention span and horrible     7   A through E?
   8   knees so, please, forgive me if I'm the one that     8 A Yes, A through E. The ones you just sent like
   9    needs a break.                                      9   10 minutes ago?
  10 A Okay.                                               10 Q The declaration that your attorneys provided to
  11 Q Do you have any questions about the process?        11   us have, I think, five attachments. The first
  12 A No.                                                 12   was your CV and then the other four were medical
  13 Q Okay. What did you do to prepare for today's        13   records pertaining to each of the plaintiffs.
  14    deposition?                                        14   Do you have those attachments in front of you?
  15        MR. FISHER: I'm going to object to the         15 A No, I don't, no.
  16   extent it calls for communication with counsel.     16 Q And it sounds like you have received copies of
  17 Q Without telling me the content of anything you      17   several exhibits that I e-mailed to your
  18    spoke with your attorneys about today's            18   attorneys a short while ago?
  19   happenings, did you speak with your attorneys in    19 A Yes, I received them about three minutes before
  20    advance of today's deposition?                     20   this call.
  21 A Yes.                                                21 Q Okay. And is anyone else in the room with you?
  22 Q And when did you speak with them?                   22 A No.
  23 A Over the course of the last month. Well,            23 Q And are you physically located in your home?
  24   speaking means communicating, documents, you        24 A Yes, in my office, yes.
  25   know, going through what was required in my         25 Q Your home office?


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   1 A My home office, yes.                                  1 A    Yes.
   2 Q And you said this while we were off the record,       2 Q   And it looks from your CV like you're employed
   3    but that's in Sydney, New South Whales,              3     as a consultant presently?
   4    Australia?                                           4 A   That's right.
   5 A That's right.                                         5 Q   And that's for a business called DK Consulting?
   6 Q While we're talking today, Doctor, I have             6 A   Yes.
   7   several exhibits that I am going to show you.         7 Q   And I assume the DK is you?
   8   Unlike the other attorneys in this case, I have       8 A   Yes.
   9   decided to go out on a limb and explain to the        9 Q   Are you the -- I'm sorry, I talked over you.
  10    court reporter that I will try to use the           10 A   That's okay. I just said it's not very
  11    share-screen function to show them myself.          11     original. No symbolism in that at all, yeah.
  12   Because of how that works, you will only be able     12 Q   Are you the only employee of DK Consulting?
  13    to see one page or part of one page on your         13 A   I have an assistant, like an administrative
  14    computer. I promise I'm not trying to trick         14     assistant.
  15   you. If you need me to scroll down or anything       15 Q   Okay. Is that the only other employee?
  16   like that, please, just let me know and I'm more     16 A   Yes.
  17    than happy to do so. Is that fair?                  17 Q   And has this been your only employment since
  18 A Yes, that's fine.                                    18     2019?
  19 Q You will also notice as we go through some of        19 A   Yes.
  20    them that I have highlighted portions of the        20 Q   And by "since 2019," I mean since you retired
  21   exhibits. The only reason for doing so -- and I      21     from being a professor.
  22   freely admit that that was me that did so -- is      22 A    That's right, yes.
  23    to try to direct my eyesight so that I don't        23 Q    Do you currently have any patient care
  24    waste your time as I try to find what I'm           24     responsibility?
  25   looking for, but that's why some portions will       25 A    I'm in full-time private practice, so yeah.

                                                  Page 11                                                  Page 13

   1     be highlighted.                                     1 Q Is that through DK Consulting or just separate?
   2        MR. FISHER: Gavin, can I interject for a         2 A No, no, that's through DK Consulting.
   3     second?                                             3 Q Okay. And I assume that you provide
   4        MR. ROSE: Of course.                             4   psychotherapy to your patients?
   5        MR. FISHER: To the extent that she needs         5 A Yes, I provide psychotherapy; I provide marriage
   6     full context for any of those documents, do you     6   and family therapy; I do child and adolescent
   7     have an objection if she opens the full document    7   assessments; and I do mediation and family
   8     that she received by e-mail?                        8   dispute resolution.
   9        MR. ROSE: Of course not.                         9 Q When you do child and adolescent assessments, is
  10 Q    Okay, Doctor, I'm going to pull up using the      10   that for anyone in particular?
  11     share-screen function what I have marked as        11 A Well, in recent times, it's children being
  12     Exhibit 1. And do you see that in front of you     12   brought for gender dysphoria, so a large part of
  13     right now?                                         13   my practice currently are children and families
  14 A    Yes.                                              14   with a young person who is declaring themselves
  15 Q    And I can scroll down if you need for me to;      15   transgender.
  16     although, I can tell you that it's 14 pages        16 Q And when you say that you work full time in
  17     long. I assume you recognize this as your          17   private practice, is that more or less 40 hours
  18     curriculum vitae?                                  18   a week that you see patients?
  19 A    Yes.                                              19 A It's more like 60 hours a week.
  20 Q    And this is the version that your attorneys       20 Q And approximately what percentage of that would
  21     provided to us just over the weekend. I assume     21   you say are for patients who have identified
  22     that it's still current; is that correct?          22   themselves as transgender?
  23 A    Yes, that's correct.                              23 A I'd say two-thirds, but they're not all patient
  24 Q    Okay. And you're currently employed, I            24   contacts, the 60 hours, because I include
  25     understand?                                        25   preparing depositions for Indiana among the

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   1     hours that I spend working. So, in my clinical      1    me. And, for those years, I had two
   2      hours, I would say at the moment two-thirds.       2   professorships that I had to juggle and get this
   3 Q     And, I'm sorry, that was just a bad question      3    search established. So I didn't do any
   4     then. About how many hours each week are you        4    undergraduate lecturing in that position. It
   5     working as a clinician?                             5    was all as a director of research center and I
   6 A   About 30.                                           6   was primarily supervising Ph.D. students but
   7 Q   Okay. So about 20 hours or so each week you're      7    also doing a lot of research, applying for
   8     treating or assessing patients for gender           8    grants, writing papers, and so forth, yeah.
   9     dysphoria?                                          9 Q Thank you. In your role as a professor of
  10 A    Yes.                                              10   psychology or I guess before that a lecturer in
  11 Q   And are all the patients with gender dysphoria     11   psychology, were there specific subjects that
  12     that you see minors?                               12    you taught?
  13 A    Yes, I specialize in minors.                      13 A Yes, I was specifically hired for my expertise
  14 Q   I'll come back to your clinical practice in just   14    in developmental psychology and so I was
  15     a little bit. It looks from your CV like you       15   primarily responsible for both the undergraduate
  16     served as a professor at the University of         16   and the postgraduate teaching in subjects like
  17     Sydney in various capacities from 1988 through     17    infant and child psychology, developmental
  18     2019. Is that accurate?                            18  psychology, developmental psychopathology. What
  19 A   That is.                                           19   else? Current issues in adolescent psychology,
  20 Q   Your last position was as an honorary professor    20    all those kinds of subjects, child and
  21     of psychology and a professor of music?            21    adolescent assessment.
  22 A   Yes.                                               22 Q Of the psychology courses that you taught, did
  23 Q   I'm just curious, but why music?                   23   any of them concern treating gender dysphoria or
  24 A   Sorry?                                             24    providing gender-affirmative care?
  25 Q   I said I'm just curious, but why music?            25 A There was no such thing when I started at the


                                                  Page 15                                                  Page 17

   1 A Why music? It's a very long story and it's            1   university and there were no courses anywhere in
   2    probably for another time, but I, you know --        2   Australia because the incidence and prevalence
   3 Q Let me ask you this because I couldn't tell from      3   of that condition was estimated to be minutely
   4   your CV. Is it teaching music or is it teaching       4   small and we, therefore, focused on the much
   5   the psychology of music or performance anxiety        5   more prevalent conditions that children present
   6    or what have you?                                    6   with in childhood. So it wasn't on the radar.
   7 A I established a research center at the Sydney         7    Let me put it that way.
   8   Conservatorium of Music which is a faculty of         8 Q Did you teach any courses about that subject
   9   the University of Sydney. So, when the Sydney         9    toward the end of your career with the
  10   Conservatorium of Music amalgamated with the         10    University of Sydney?
  11    university, it was a freestanding tertiary          11 A No. Towards the end of my career as a
  12    institution, and then there was a lot of            12   professor, I was primarily supervising Ph.D.
  13    legislative changes to reduce the number of         13    students and executing research grants,
  14    tertiary institutions and the Sydney                14   conducting research, and generally organizing
  15    Conservatorium amalgamated with Sydney              15   the research program that I've described before.
  16   University and became a faculty, but we were a       16 Q Have you taken any courses pertaining to gender
  17    research-led university and it didn't have any      17    dysphoria?
  18    research as a tertiary institution. It was          18 A Well, there aren't any formal courses even now
  19    primarily concerned with training young             19   that I'm aware of in Australia and I would have
  20    musicians.                                          20   to vet them very carefully before I book any of
  21      And they were looking for somebody who had        21    those courses because Australia has
  22   research expertise and who knew about music and      22   unquestioningly, and without due thought and
  23   how the university structures ran, applying for      23    consideration, adopted what we call here as
  24    research grants, setting up a research              24    gender ideology and as soon as I see the
  25   laboratory, so the magic finger was pointed at       25   contents of the description of gender ideology,

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   1   I become, you know, quite twitchy and disturbed       1    throughout your time teaching?
   2    by the scientifically fallacious information         2 A Yeah. I mean, it varied according to, you know,
   3    that's being propagated, particularly in our         3   circumstances, but, on average, I would say that
   4    entrance primary and secondary schools.              4    would be about right.
   5        So I have engaged in a very detailed             5 Q So, prior to your time in private practice
   6    undertaking to educate myself based on my            6    following your tenure with the University of
   7    thorough training and many, many years of            7   Sydney, were any of the patients that you saw
   8   clinical experience developing my own model and       8    diagnosed with gender dysphoria?
   9   my own clinical practice approach to these young      9 A Do you mean when I was at the university?
  10    people.                                             10 Q Yes. I'm sorry.
  11 Q In the middle of your answer there you used the      11 A No. I only kind of became involved in about
  12   phrase "what we call here as gender ideology,"       12    2019 when a colleague of mine, who is an
  13    and I'm just curious who "we" is in that            13    adolescent psychiatrist, called me and said a
  14    sentence.                                           14   few psychiatrists are getting referrals of these
  15 A Well, it's generally referred to in that way in      15   young children who are gender dysphoric and
  16   the media and media who are somewhat less than       16   wanting to transgender and none of them had very
  17   supportive of things like gender-affirming care,     17    much experience with child and adolescent
  18    for example, and all the new lexicon, the new       18   psychology or psychiatry. And he asked me if I
  19   terminology, you know, that's being propagated       19   would review a couple of cases that he had been
  20    by the machinery of the trans advocates.            20    referred and have a case conference, a peer
  21 Q Okay. And I asked if you had taken any courses       21   consultation. And it was from that point that I
  22    pertaining to gender dysphoria and maybe I          22    started to take on cases myself and to really
  23   didn't ask the question in the right way. Other      23   intensively educate myself about what was going
  24   than your personal investigation and review of       24   on and what was happening in this field, so it's
  25    the literature and certain materials, do you        25   really been for the last coming into five years.

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   1     have any professional training specific to          1 Q   And do you remember what time of the year in
   2     gender dysphoria or its treatment?                  2     2019 you left the University of Sydney?
   3 A   As I explained, there are no such courses.          3 A    July.
   4     People have just adopted practices from             4 Q    So would it be after that time that you began
   5     overseas. And, I mean, there are courses within     5     looking into gender dysphoria?
   6     courses, so, for example, in cultural studies       6 A    Yes.
   7     there's a subcourse called gender and sexuality     7 Q   Okay. And then it looks from your CV like from
   8     and within that course they would cover the         8     '86 through '87 you were a psychologist in
   9     discourses, the current discourses, but it's        9     private practice?
  10     more in the area of sociology or critical          10 A    Yes, I was.
  11     studies. And my field is psychology so there's     11 Q    During this time did you see or treat any
  12     not really any intersection unless I choose to     12     patients with gender dysphoria?
  13     read some literature in that field, but there's    13 A    No. I might say that they didn't exist in
  14     no such discrete course as gender-affirming        14     Australia in 1986/'87.
  15     care.                                              15 Q    Okay. Then I want to, if it's okay, just
  16 Q    Okay. During your time as a professor for, if     16     briefly focus on your clinical experience after
  17     I'm doing the math right, 30, 31 years, did you    17     you left the University of Sydney where you've
  18     have patient care responsibilities at the same     18     been seeing patients and looking into gender
  19     time?                                              19     dysphoria. Is that okay?
  20 A   Yes, I had rights to private practice throughout   20 A    Yeah.
  21     my academic career.                                21 Q    Approximately how many patients with gender
  22 Q   And about how many hours each week were you        22     dysphoria or gender identity issues did you see
  23     seeing patients? And I'm sure --                   23     over this period or have you seen over this
  24 A    About 10.                                         24     period?
  25 Q   Okay. And was that more or less consistent         25        MR. FISHER: I'm going to object to the

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   1     form of that question. It's unclear whether          1   own and that might go from one to three sessions
   2     those are two separate categories or you're          2   depending on what I'm exploring with the child
   3     conflating them together?                            3    and what I think is happening in terms of this
   4        MR. ROSE: That's a perfectly fair                 4    child's life.
   5     objection and if Tom had not called me, I would      5       After that assessment of the child, I meet
   6     have rephrased it myself.                            6    again with the parents and I give them an
   7 Q   How many patients diagnosed with gender              7   overview of my opinion and how we should proceed
   8     dysphoria have you seen since you left the           8    or how I recommend that the family proceed.
   9     University of Sydney, more or less?                  9 Q Just a couple of questions about that.
  10 A   Well, it depends on whether you're talking about    10        MR. FISHER: Gavin, I'm sorry to interrupt
  11     seeing them for assessment or seeing them for       11    you. I just want to alert you. Because you're
  12     therapy. If I just counted the young people         12   sharing your screen, when people are sending you
  13     that I had seen for assessment, it would be in      13   text messages they're popping up on my screen.
  14     the vicinity of 150 to 180, and, of those, I        14   I'm doing my best to ignore them and not look at
  15     would have taken probably 50 to 60 into             15    them, but I noticed at least one of them was
  16     long-term therapy.                                  16    from Chase so I thought I'd better alert you
  17 Q    And pretend I know almost nothing about the        17   because probably you don't want me to see those.
  18     practice of psychology, but what is, I guess,       18        MR. ROSE: I appreciate that. Thank you.
  19     the assessment? A patient gets referred to you      19    Can we go off the record for just a second?
  20     from some source and what happens then when         20        (A discussion was held off the record.)
  21     you're assessing them?                              21 QUESTIONS BY GAVIN M. ROSE:
  22 A    Well, I always meet with the parents first and I   22 Q Okay. Doctor, you just explained the assessment
  23     get a full developmental history because there's    23    process when you see a patient for the first
  24     a great deal of dispute about onset and I want      24   time for gender dysphoria, and my question to
  25     to get a very clear picture from the parents        25   you is going to be whether there is an age range

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   1     about when their child first expressed ideas      1    of the children that you assess.
   2     about being transgender and so forth. So I do a   2 A I've seen children as young as three to four and
   3      very careful historical overview of their        3   I usually -- I have seen some young adults in
   4      developmental milestones. I also want to         4   their 20s, but the majority are under 18 years
   5     understand how they're performing at school. I 5      of age or around. You know, I've seen quite a
   6      also want to review any of the previous          6    few like 17, 18-year-olds.
   7      assessments that they've had for intellectual 7 Q Would you say the majority are in their
   8     ability, any intellectual disabilities, learning 8     adolescence?
   9     disabilities, have they had an assessment for 9 A Yes, I would.
  10     autism spectrum disorder, ADHD, have they ever 10 Q Approximately how many children preadolescence
  11     been diagnosed with depression and anxiety, are 11     have you assessed for gender dysphoria?
  12     they on any medications. So that is quite an 12 A I think it would be less than a quarter of the
  13      extended interview with the parents.            13    presentations.
  14         And during that time I'm also assessing the 14 Q So, if I'm doing the math, maybe 30-ish?
  15     marital and parental dynamic so I'm looking for 15 A Yeah. I mean, it depends on whether you count
  16      power imbalances in the marital diet, I'm       16   the peripubertal children, you know, the 11 and
  17     looking for whether there's a lack of respectful 17   12-year-olds because some children are reaching
  18     interactions between the parents, and I'm also 18      puberty at younger than average ages. So a
  19     looking for whether there's any disagreement 19       child might be pubertal at 10 and so it would be
  20     about how they should proceed with their child. 20    a question of whether you would count that child
  21     And quite often you'll see one parent who is 21       as a child or as an emerging adolescent, so it
  22     more supportive of allowing the transition and 22     gets a little bit gray if you wanted to strictly
  23     another parent who is not approving. So all of 23     categorize them. The majority, I would say,
  24      these things are extremely important.           24    would be between 10 and 18.
  25         And then I will see the child on his or her 25 Q Okay. And of the 150 to 180 patients you've

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   1   assessed, how do you decide which ones will          1    their thinking, you come to a point where it
   2    become the 50 or 60 that you accept for             2    does not seem to be the best intervention for
   3    longer-term treatment?                              3    that type of young person and so I seek other
   4 A I make an assessment about whether the young         4   methods, usually primarily working intensively
   5    person is capable of entering into a                5    with the parents.
   6    psychotherapeutic process. That's one               6 Q And when you assess a patient are you attempting
   7    criterion.                                          7   to -- are they coming to you with a diagnosis or
   8       Another is whether it is more (inaudible)        8    are you attempting to diagnose them?
   9    to work directly with the parents and, quite        9 A I'm not primarily focused -- I presume you're
  10    often, I will choose to do that in the first       10    meaning a diagnosis of gender dysphoria?
  11   instance. So I will meet with the parents more      11 Q Sure.
  12   regularly than the child and I will -- I suppose    12 A Yeah. The parent will usually tell me in the
  13   the word is coach, you know, coach them about       13    first assessment interview what their child is
  14   parenting and how to manage, you know, the          14   saying and doing with respect to gender and what
  15   child's behavior generally and how to manage the    15   their demands are and expectations. When I see
  16   statements or, you know, gender sort of related     16   the child, I'll ask them why they've come to see
  17    issues, so that's another way that I work.         17   me, what is their understanding of why they've
  18        And, in some cases, I'll work with the         18    visited with me today, and I usually take the
  19   family, usually the young person and the parents    19   assessment from that point. And you would be
  20    together. In most cases I don't include            20    amazed at how many of them don't start with
  21    siblings. If I do do family therapy, it's just     21    gender.
  22    with the identified child.                         22 Q How many minor patients have you diagnosed with
  23       So I have a very broad perspective on the       23    gender dysphoria, if any?
  24    kinds of interventions that I undertake and        24 A I think one.
  25   they're based on very careful assessment of the     25 Q And how old was that patient?


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   1   dynamics of the family, the capacity to engage       1 A Four.
   2    in particular psychotherapeutic processes, and      2 Q And when you diagnosed that patient with gender
   3    that involves a capacity for insight and            3   dysphoria, what diagnostic criteria did you use?
   4    reflective function. And, you know, if not, I       4 A Well, I mean, the only acceptable one in current
   5    step it down to psychoeducation, behavioral         5    situation is DSM-5 that you will see from my
   6    management. But I do find that an open              6   declaration that I have great concerns about the
   7   exploratory psychodynamic/psychotherapy approach     7   DSM-5 as do a large number of my colleagues.
   8    is more effective if it's suitable for that         8 Q Are those the criteria that you used in
   9    young person and the family.                        9    diagnosing that one patient, though?
  10 Q And you began that answering by saying that one     10 A I look at those criteria, but I primarily am
  11   of the things you look at in determining whether    11    concerned with the behavior of the child.
  12    to accept a patient for longer-term treatment is   12 Q What, if any, criteria other than the DSM-5 did
  13    whether they're capable of entering into the       13    you consult in diagnosing that patient?
  14    psychotherapeutic relationship or possibly the     14 A I look at their general adaptation, whether
  15   process. What type of patient is not capable of     15    they're meeting developmental milestones,
  16    doing that?                                        16    whether they're capable of expressing an
  17 A Well, you have to be very careful about young       17   independent idea about themselves because quite
  18    people with autism spectrum disorder. In the       18   often there are subtle communication dynamics
  19    early days and even now, I did take some of        19   happening between parents and children, and, you
  20   those into individual therapy because they were     20    know, I mean, of course, the simplest one is
  21   extremely distressed young people. And, because     21   that mother speaks for the child and that's why
  22    of their cognitive rigidity, cognitive             22   it's important to spend some time with the child
  23    immaturity, their literal interpretation of the    23    alone. And, often, because I do a lot of work
  24    world, and some of them display quite              24    for the family court in Australia and for the
  25    obsessional features in both their behavior and    25   Office of the Department of Public Prosecutions

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   1     where there are allegations of child sexual         1     off and told that they're the problem and to get
   2     abuse, they're really, really, you know, very       2     out of the child's way. And, you know, as soon
   3     damaging custody disputes and so on.                3     as this child starts the transition process, all
   4 Q    I'm sorry for interrupting, but I was going to     4     of these serious psychological problems up to
   5     ask: Did the tools or criteria that you used in     5     and including self harm and school refusal and,
   6     addition to the DSM-5, do they come from any        6     you know, the old standards of depression and
   7     publication? Are they written down anywhere?        7     anxiety, they're all going to magically
   8 A   Well, they come from the development psychology     8     disappear if you start pumping the child with
   9     literature and also the literature on dynamic       9     puberty blockers and cross-sex hormones.
  10     psychotherapy.                                     10 Q    I'm sorry, Doctor.
  11 Q    But there's no specific one page, two-page list   11 A    I'll finish my answer.
  12     of criteria that you can point me to for these?    12 Q    I'm sorry, Doctor. You've actually gone well
  13 A    Well, I have been a coauthor of two clinical      13     beyond the question that I've asked so I'd like
  14     guides for the management of children with         14     to turn back to the question that I asked which
  15     gender dysphoria. One of them was an               15     is: Other than the one patient that you
  16     international consortium that I contributed a      16     diagnosed with gender dysphoria, had any of the
  17     very significant portion of that document. I've    17     other patients that you've seen for gender
  18     also contributed in a major way to the clinical    18     dysphoria been diagnosed with that condition by
  19     guide published by the National Association of     19     some other professional?
  20     Practicing Psychiatrists, and I've also written    20 A   Well, I was about to finish my answer when you
  21     some therapeutic treatment guides for clinicians   21     cut me off. So the answer is yes and I'm
  22     that I've presented at meetings and conferences    22     telling you the root by which they've been
  23     for consideration.                                 23     diagnosed after maybe one half-hour session by
  24 Q    You described this one patient that you           24     the gender clinic.
  25     diagnosed with gender dysphoria. Were any of       25 Q   And the reason I ask that question is I'm trying

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   1     the other patients that you saw for gender          1   to hone down on, I guess, whether you believe
   2     dysphoria diagnosed with gender dysphoria by        2    that you have only had one patient with an
   3     another professional?                               3    accurate diagnosis of gender dysphoria or
   4 A   By and large, my practice involves what's called    4   whether you believe you've had a number of
   5     tertiary referral, so a lot of these young          5   patients with an accurate diagnosis of gender
   6     people come to me when the parents have been        6    dysphoria.
   7     horrified by what's been going on in the gender     7 A Well, I was attempting to answer that question
   8     clinics.                                            8    in your previous question which is I am a
   9         So one of the typical ways that it happens      9    tertiary referral source. So the parents who
  10     is that the child declares him or herself          10    become horrified at what's going on at the
  11     transgender. The mother takes the child to the     11    gender clinics are the people who are most
  12     general practitioner. That's the family            12    likely to come to see me so they're already
  13     treating doctor. The doctors will then refer       13   convinced that the diagnosis of gender dysphoria
  14     these children to either gender-affirming          14   is inaccurate and inappropriate for their child,
  15     (inaudible) pediatricians or to the gender         15   and, so, that would be the patient group that I
  16     clinics. And once you're on that, as the           16    see. I'm not seeing the captured parents.
  17     Swedish call it, the "trans train," there's        17    They're staying at the gender clinics.
  18     almost only one stop and that's transition.        18 Q Okay. And, other than that one patient that you
  19         And, so, when the parents go to these          19   diagnosed with gender dysphoria, did you agree
  20     establishments, they're actually excluded from     20   with the assessment of the parents that every
  21     the process. They're being made to wait            21   other patient you saw for gender dysphoria had
  22     outside. If the parent wants to contribute         22   been inaccurately or inappropriately diagnosed
  23     their perceptions of their child and their         23    with that condition?
  24     worries about their child and maybe transition     24 A I don't make definitive statements of that kind
  25     isn't the right thing for them, they're taken      25   until I've worked with the parents and with the

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   1    child. It's an open question that has to be          1   engage in an exploratory process with them, but,
   2    explored very carefully as well as all of the        2    once they do start taking the cross-sex
   3    other comorbid presentations that the child          3   hormones, the landscape changes because these
   4   usually presents with. I can tell you one thing       4    medications, of course, affect the total body
   5    for sure and that is I haven't seen a child          5    and the way they think about themselves and
   6    without a comorbid presentation who comes            6    their neurological as well as physical
   7    telling me that they're gender dysphoric, so         7    functioning.
   8    there's usually serious pathology in the child       8 Q And, please, correct me if I'm wrong because I
   9    and the family.                                      9   might have just misheard a word. Did you say
  10 Q Have any patients come to you with a diagnosis       10    that you've only seen one patient taking
  11   of gender dysphoria where your assessment and        11    hormones?
  12    prolonged treatment, if it goes that way,           12 A No, I've seen three or four.
  13    confirms the diagnosis?                             13 Q Okay. And were those three or four patients
  14 A I don't confirm the diagnosis.                       14    patients that you simply assessed or were they
  15 Q Okay. You keep medical records for each of your      15    accepted into longer-term treatment?
  16    patients; is that correct?                          16 A I have one in long-term treatment. I've been
  17 A Of course.                                           17   seeing him for two years, and when I started to
  18 Q And on the medical records that you keep, do you     18   see him he wasn't taking hormones. The others
  19   have a list of diagnoses for which the patients      19   have turned 18 during their therapy and decided
  20   have presented or been confirmed? Do you have a      20    that they were going to proceed to cross-sex
  21    list of diagnoses for each patient?                 21    hormones. And, yeah, I don't know if that
  22 A Yes.                                                 22    answers your question.
  23 Q And how many patients of the 50 or 60 that           23 Q It does. Thank you. And I didn't ask it right
  24   you've accepted into long-term treatment do your     24    the first time and I apologize for that, but
  25   records reflect a diagnosis of gender dysphoria?     25   same questions about puberty blockers. How many

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   1 A    Zero.                                              1     patients have you seen who are taking puberty
   2 Q   And what about the one person that you diagnosed    2     blockers?
   3     with gender dysphoria?                              3 A   Probably not many, two or three.
   4 A   I didn't make a definitive statement. I said it     4 Q   And, again, same question. Were those patients
   5     was likely a diagnosis that needed to be            5     that you accepted into longer-term treatment?
   6     considered seriously, but because of the child's    6 A    Well, I did attempt to, yes.
   7     age and, you know, cognitive immaturity, I          7 Q    Attempt but did not ultimately?
   8     suggested that the parents engage in active         8 A   Well, when the decision was made, you know, that
   9     watchful waiting for a significant period of        9     puberty blockers were the magic bullet, that
  10     time before taking any action.                     10     kind of foreclosed any further discussion.
  11 Q    And do you continue to see that patient?          11 Q    Why did it foreclose any further discussion?
  12 A    I see the parents. I don't see the patient at     12 A    Well, they found the magic solution.
  13     this point.                                        13 Q    A short while ago in talking about the one
  14 Q    Have you ever seen a patient who was taking       14     patient who you diagnosed with at least likely
  15     either puberty blockers or gender-affirming        15     gender dysphoria, you said that you told the
  16     hormones?                                          16     parents to wait and evaluate for I think you
  17 A   Yes.                                               17     said a considerable amount of time. Does that
  18 Q   And were those subsequently discontinued?          18     sound right?
  19 A    No. Oh, well, I mean, one has to look at each     19 A    Yes.
  20     case individually, but there's only a small        20 Q   How long do you consider to be a considerable
  21     number that I'm seeing who had already started     21     amount of time?
  22     that process and, to date, they have not           22 A   It varies with different patients, but I was
  23     discontinued and I'm not pressuring them to        23     very mindful if I communicated this to the
  24     discontinue. You know, these young people on       24     parents that one of the only robust studies that
  25     cross-sex hormones around 16, 17, 18, so I         25     looked at childhood onset of gender dysphoria

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   1     and followed them for 20 years, 88% of them          1     to?
   2     desisted by like adulthood and I think it was        2 A    Yes. I need to do that for clinical purposes
   3     60% identified as gay young men. And I               3     because I need to get a picture in my own mind,
   4     communicated that developmental trajectory to        4     a template of this child, and quite often I have
   5     the parents and said that they needed to             5     to do file reviews and case reviews and you will
   6     exercise extreme caution in allowing the child       6     notice in my declaration that I have referred to
   7     to follow his natural developmental trajectory       7     these four young people using pronouns of their
   8     and that any social transition or prescription       8     natal sex and their given name except in one
   9     of puberty blockade would derail that                9     case where the given name has been expunged
  10     developmental trajectory.                           10     completely, but that is my clinical practice.
  11 Q    And, I'm sorry, how are you defining social        11 Q    Okay. Doctor, in your CV, which should still be
  12     transition?                                         12     in front of you, Page 2 lists your membership in
  13 A    Where the child changes his or her names or        13     various professional organizations; is that
  14     pronouns. They start to dress in the                14     correct?
  15     stereotypically style of the opposite sex where     15 A   Yeah.
  16     they grow their hair long or cut their hair         16 Q   And I assume you remain a member of each of the
  17     short, that kind of thing.                          17     organizations you list here?
  18 Q    When you have a patient that presents to you as    18 A    No, I said that I -- well, in my CV, obviously,
  19     transgender, do you use particular pronouns in      19     it doesn't say that, but somewhere I said, I
  20     referring to that person?                           20     think it was in the bio, you know, preceding
  21 A    I avoid pronouns altogether because I'm having     21     this, I was a member or eligible for membership
  22     first person conversation with a young person       22     if I let the membership lapse and in some cases
  23     and I do not use --                                 23     I have let the membership lapse because the fees
  24 Q    Well, you talk about the patient with their        24     are ridiculous and you have to be very
  25     parents, though; right?                             25     selective.

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   1 A   Not often, no. I usually separate the                1 Q   Okay. Of the professional societies you list on
   2     consultations with parents and children.             2     your CV, which of these societies or
   3 Q    I'm so sorry for the misunderstanding, Doctor.      3     organizations do you remain a member?
   4     I did not mean you talk about the patient with       4 A    Only the Australian Psychological Society, but I
   5     the parents in the same room. I meant you have       5     have at one time or another been members -- oh,
   6     a separate conversation with the parents about       6     and the International Association of Relational
   7     the patient; correct?                                7     Psychoanalytic Psychotherapy. Oh, and I'm a
   8 A    Yes.                                                8     member of the Australian Dispute Resolution
   9 Q    And when you're speaking to the parent do you       9     Association, yeah.
  10     use pronouns to refer to the child?                 10 Q   And when was the last time you were a member of
  11 A   I follow the parent and, in the majority of the     11     the American -- or an international affiliate,
  12     cases that I see, the parent is insisting on the    12     it looks like, of the American Psychological
  13     child's birth name and natal pronouns.              13     Association?
  14 Q    Are there cases where the parent has referred to   14 A    I let those go after I left the university.
  15     their child using their non-natal pronouns?         15 Q    So 2019 or so?
  16 A    Yes, I had one last night and, I mean, it wasn't   16 A    Yeah.
  17     her first session. I've seen her before and she     17 Q   Is that because the university was paying your
  18     is now using her daughter's preferred name and      18     membership dues?
  19     masculine pronouns. And I have discussed that       19 A   Oh, no. No, we have to pay our own membership
  20     with her, you know, why is she doing that and       20     dues.
  21     how does she think it's helping her child, and I    21 Q    Why did you let your membership lapse then?
  22     then seek permission from the parent to call the    22 A    There's just so much available on the Internet
  23     child by his or her given name and pronouns.        23     now. It just wasn't value for money. I mean,
  24 Q    And I assume your medical records use the sex      24     the Australian Psychological Society, the fees
  25     the child was assigned at birth when they have      25     are $1,000 a year and you just have to be

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   1    selective.                                           1   -- it wasn't a contract. It was an honorarium.
   2 Q And what does it mean to be an international          2 Q Does SEGM hold meetings or conferences?
   3    affiliate of the American Psychological              3 A Yes.
   4   Association? I just don't know what that means.       4 Q How often?
   5 A That means that if you're not American, you           5 A I believe about once a month there's a Zoom
   6    can't be a full member.                              6   meeting and from time to time, you know, people
   7 Q Gotcha. Other than the organizations that you         7   get together in person but it's very difficult
   8    list here on Page 2 of your CV, are you              8   when you're in Australia. You have to be very
   9   currently a member of any other professional          9   selective where you travel.
  10    organizations?                                      10 Q Do you have to be invited to become a member?
  11 A Yes, I'm a council member of the University of       11 A I believe so.
  12    Sydney Association of Professors and I'm a          12 Q Are you aware that statements by SEGM have been
  13   council member of the Australian Association of      13   cited in support of a formal opinion in Texas
  14    University Professors. I'm a member of the          14   that took the position that the provision of
  15   Society for Evidence-Based Gender Medicine.          15   certain gender-affirming care to a minor
  16 Q And if I refer to that organization just as          16   constitutes child abuse?
  17   SEGM, S-E-G-M, you'll know what I mean?              17 A Yes.
  18 A I will.                                              18        MR. FISHER: I was just gonna object. I
  19 Q How did you become a member of SEGM?                 19   wasn't sure what formal opinion. Could you
  20 A I was invited.                                       20   maybe --
  21 Q By whom?                                             21        MR. ROSE: I can state for the record, Tom,
  22 A There were two founding directors and I think        22   but when Attorney General Paxton issued his
  23   one of them is Australian and he put my name up      23   formal opinion declaring the provision of
  24   to the American cofounder and they invited me        24   certain care to be child abuse under Texas law
  25    together.                                           25   he cited SEGM, I think, a couple times.

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   1 Q    And when did you first become a member?            1       MR. FISHER: Paxton did, okay. Thank you.
   2 A    I'd say maybe three to four years ago.             2       MR. ROSE: And I didn't see a point to
   3 Q    Have you ever held a leadership position with      3   bring that up and I apologize, bringing the
   4     the organization?                                   4   actual document up.
   5 A    No, I avoid administration and hierarchies and,    5 Q And I guess my question to you, Doctor, is
   6     you know, political positions like the plague.      6   whether you believe that providing
   7     I'm a clinician, I'm a researcher, I'm a writer,    7   gender-affirming care to minors in the form of
   8     and I don't have time for that and I'm not          8   puberty blockers or hormones constitutes child
   9     interested in that, yeah.                           9   abuse.
  10 Q   Have you ever been compensated by SEGM for any     10 A I would prefer to avoid a motive language. I do
  11     reason?                                            11   believe it's very poor medicine to derail a
  12 A    Yes, I have been on one occasion.                 12   child's natural developmental trajectory
  13 Q    I assume this was for giving a talk or            13   precipitously when the drugs that have been
  14     presentation to a meeting?                         14   prescribed have known demonstrated (inaudible)
  15 A    I wrote some extensive material for their         15   to the human body.
  16     clinical guide.                                    16       Now, child abuse in this country, and I'm
  17 Q    I'm sorry, I missed a word there. Wrote some      17   sure in yours, carries with it a legal
  18     what material?                                     18   definition and so I don't think it's helpful to
  19 A    Extensively. I wrote some very long documents     19   use a motive language when trying to discuss the
  20     for them when we were putting together the         20   best treatment and management of young people
  21     clinical guide and it was an honorarium. I         21   who are declaring themselves gender dysphoric.
  22     didn't ask for payment, but they appreciated the   22 Q And, I'm sorry, Doctor, I would know the answer
  23     amount of time and effort that I devoted to        23   to this question if you were a psychologist in
  24     that. And I was perfectly prepared to do it        24   America. As a psychologist in Australia, are
  25     voluntarily so it was just a gesture rather than   25   you authorized to prescribe medications?

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   1 A    No.                                                1     invited presentation to the Queensland
   2 Q    Are you a member of any advocacy or political      2     government inquiry into the Health Legislation
   3     organizations?                                      3     Bill in 2019 to outlaw conversion therapy. And
   4 A   No.                                                 4     the submission to the ACT -- that stands for
   5 Q   Have you been in the past?                          5     Australian Capital Territory -- government into
   6 A    You mean advocacy for gender-affirming care?       6     the proposed amendments to outlaw conversion
   7 Q    I meant in general and we can narrow it down       7     therapy. And I believe I submitted a similar
   8     from there.                                         8     submission to the Victorian Parliament on
   9 A    No, I'm not a member of any political party.       9     conversion therapy as well and I've just
  10     I'm not a member of any religious organization.    10     neglected to put that in.
  11     I'm not a member of any gender or                  11 Q   Okay. And other than -- maybe this would have
  12     sexuality-based organization. I am a completely    12     been a better way to do this. Other than the
  13     free agent.                                        13     possible submission to the Victorian Parliament,
  14 Q    Okay. My understanding is that you have           14     is every time you have testified or submitted
  15     testified before several legislatures and other    15     written testimony to a decision-making body in
  16     decision-making bodies concerning transgender      16     Australia about gender-affirming care, is that
  17     persons or the provision of gender-affirming       17     contained on Page 6 of your CV here?
  18     care; correct?                                     18 A   Yes.
  19 A    Well, only one formally in America and that was   19 Q   And the one to the Victorian Parliament was also
  20     in Alabama.                                        20     on conversion therapy?
  21 Q    And I'll do that one first. Do you mean that      21 A   Yeah.
  22     you played a role in the Alabama bill similar to   22 Q   Have you been compensated for your testimony to
  23     Indiana's before that bill was passed?             23     any of these bodies?
  24 A    Yes.                                              24 A   Only Alabama and Indiana. The other have been
  25 Q    You, I assume, submitted written comments         25     all pro bono.

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   1    advocating for it to be passed?                      1 Q    And, by your compensation in Alabama and
   2 A The original bill, yes.                               2     Indiana, you mean after a lawsuit was filed?
   3 Q And have you testified before legislatures or         3 A    I don't understand.
   4   other decision-making bodies in Australia about       4 Q    I'm sorry, Doctor. I'm trying to figure out
   5    the issue?                                           5     whether you were paid for submitting testimony
   6 A I have provided written and oral submission to        6     to the legislatures while a bill was being
   7    the New South Whales Parliament and the              7     contemplated or whether you're just talking
   8   Queensland Parliament and written submissions to      8     about being paid to serve as a witness after a
   9   the National Parliament in Canberra on various        9     bill was passed and challenged in court.
  10    bills associated with gender.                       10 A    I think they -- the Alabama and Indiana
  11 Q Let me take those one at a time, I'm sorry,          11     situations are similar, so, yeah, a bill was
  12   because I just don't understand how broad your       12     passed, now there's an appeal, and I have
  13   answer was. For the parliament in New South          13     written a report. Tom will be able to explain
  14    Whales, was there more than one bill that you       14     that a lot better than me. I don't want to say
  15    submitted comments on?                              15     the wrong thing.
  16 A Just scroll down so I can see and just remind        16         MR. FISHER: I'm of no use to Gavin in any
  17    myself.                                             17     of this.
  18 Q I apologize.                                         18 Q   I understand. Thank you. Page 3 of your CV
  19 A Just keep going. Keep going down to the              19     describes some of your activities for
  20   submissions. Okay. Stop. The submission to           20     court-referred clients. Do you see that?
  21   the New South Whales Parliamentary Inquiry for       21 A   Yeah.
  22   the Education Legislation Amendment of Parental      22 Q   And when did you assume these responsibilities?
  23   Rights, I had a written submission and appeared.     23 A   Oh, I've been doing that kind of work 10 to 15
  24    I was invited to appear to the parliamentary        24     years.
  25    inquiry. Then there was the submission and          25 Q   You mean you have over the past 15 years?

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   1 A Yeah.                                                1    annulments.
   2 Q And I assume these are cases where a court in        2       So I do a marriage assessment and I see the
   3   Australia, for one reason or another, wants a        3   couple and, you know, I do all the normal things
   4    child to be evaluated; is that fair?                4    that I would normally do as a psychological
   5 A Yes, and they can also be referred for               5   assessment of these couples to assist them and
   6    court-mandated therapy.                             6   support them in -- you know, it's usually a very
   7 Q In your responsibilities for court-referred          7    fraught and stressful time for these couples.
   8   clients, did any of the issues arising from that     8 Q Okay. And then I'm going to scroll through this
   9    concern gender dysphoria?                           9   real quick. And, I'm sorry, Doctor, did you say
  10 A No, because the work that I've done for courts      10   that you have a copy of your CV in front of you?
  11   related to gender dysphoria have been written       11 A No, I don't, no.
  12    review and literature review and clinical          12 Q Okay. Then I will scroll through real quick.
  13    practice documents, so these court-referred        13   I'm going to scroll through Pages 5 through 8 of
  14    clients are usually to do with parental            14   your CV real quick, and my question to you is
  15   capacity, custody, time with, and, you know, any    15    going to be whether this, as it purports to, the
  16   assessment that would make it necessary for the     16    articles, reports, presentations that you have
  17   child or the family to enter into a therapeutic     17    given specifically concerning gender
  18    process.                                           18    dysphoria-related issues is going to be my
  19 Q Okay.                                               19    question. Spoiler alert.
  20 A I'll say no to that in terms of gender              20        Look through to the bottom there. Is that
  21   dysphoria. This work, more or less, preceded my     21   an accurate description of what you identify in
  22    work on gender issues.                             22    Pages 5 through 8?
  23 Q Okay. And then Page 4 of your CV indicates that     23 A Yeah, pretty much.
  24    you also consult for the Tribunal of the           24 Q Okay. The very last entry under that subheading
  25    Catholic Church; correct?                          25    related to gender dysphoria appears to be a

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   1 A I have, yeah.                                        1     radio interview that you gave in 2015. Do you
   2 Q Is that something you currently do?                  2     see that?
   3 A The last case I did was probably about a year        3 A    Yes.
   4   ago, maybe more, but I have been doing it for a      4 Q    I've read the transcript to this interview.
   5    very long time but I've kinda pulled back           5     It's my assumption it was mistakenly placed
   6    because I've just got too much work in other        6     here, but I will just ask you. Did this
   7    areas.                                              7     interview specifically concern gender dysphoria
   8 Q And, just very briefly, what did your                8     or any issues related to it?
   9    consultancy for the church or does it entail        9 A    I'm sorry about that. Let me just turn my phone
  10    when they refer something to you?                  10     off. It is misplaced, I'm afraid to say,
  11 A Usually cases of marriage where one party is --     11     because the date of 2015 is prior to my work in
  12   one or both parties is seeking an annulment of      12     the gender dysphoria area, so I apologize for
  13   the marriage, and it's a very arcane system and     13     that error.
  14    it actually behaves very much like a court of      14 Q   That was my assumption. I just wanted to make
  15    law. There's a defender of the faith and a         15     sure the record reflected that. And if that's
  16    defender of the couple so it's quite               16     the only error you make in a 14-page CV, you
  17    adversarial, it can be, and, extraordinarily,      17     have done quite well for yourself.
  18    the Catholic Church will sometimes find that       18         Okay. The date you've given for when you
  19   there are no grounds for annulment. And usually     19     started focusing on gender-related issues of
  20    people who go and seek annulments, they're         20     2019 you've indicated, more or less, coincides
  21   devout Catholics and they wanted to remarry in      21     with when you left the University of Sydney.
  22   the Catholic Church, but they can't remarry in      22     I'm wondering, first and foremost, why you left
  23   the Catholic Church. They can only have a civil     23     the University of Sydney.
  24   marriage unless their previous marriage has been    24 A   Well, after 31 years, I'd had enough and I was
  25    annulled, and so they're the people who seek       25     wanting to get back into clinical work and the

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   1   tertiary system in this country is somewhat less     1 A Correct.
   2   than conducive to genuine academic work. It's        2 Q Pages 7 through 8 of your CV identify keynote
   3    just turned into a corporate bazaar and I no        3    and invited presentations and podcasts that you
   4    longer felt the affinity that I've always felt      4    have given pertaining to gender dysphoria. Do
   5   for academic life and my academic institution in     5    you see that?
   6    particular, but it was time for a change.           6 A Yes.
   7       I wanted to work clinically and I wanted to      7 Q Is this a complete list of the presentations
   8   be free to express my firmly-held positions on       8   that you have given concerning gender dysphoria?
   9    certain topics. And you, no doubt, are very         9 A Look, it might not be complete. I, you know,
  10   aware that there have been several academics        10    was under extreme time pressure to get all the
  11   around the world who have been sacked from the      11    materials prepared for this deposition and I did
  12   universities for expressing a contrary view, but    12    focus very much on the content, you know,
  13    that didn't motivate me. I have to be very         13    reviewing the literature, writing, and then I
  14   clear about that because I hadn't really written    14   had to focus an enormous amount of attention on
  15   or published anything or even formed my opinions    15    doing the case file reviews of the four
  16   firmly in 2019, but I did note with interest how    16    plaintiffs so it may not be an exhaustive list.
  17   other academics were being treated around the       17 Q Is it fair to say that you intended it as an
  18   world if they dared to express a contrary view      18    exhaustive list but there might have been some
  19    and I wouldn't find that acceptable.               19    presentations that simply slipped your mind as
  20 Q Was there anything specific at the University of    20    you were preparing this?
  21   Sydney that indicated to you you would not be       21 A Quite possibly, yes.
  22    allowed to express your opinions related to        22 Q Are there any presentations that you
  23    gender dysphoria?                                  23    intentionally left off?
  24 A Oh, absolutely. You just had to look at the new     24 A No.
  25   policies and, you know, colleagues using -- you     25 Q Okay. First of all, we've been going for about


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   1   know, you can see our names up here on the Zoom      1   an hour and a half. Are you still good to go
   2   and suddenly putting in preferred pronouns and       2    for a while?
   3    there were all sorts of indications that, you       3 A Yes, I'm fine.
   4   know, the opinions were only going one way and       4        MR. ROSE: Please, if anyone needs a break,
   5   there was no room for academic debate, but I do      5    feel free to speak up, but, as I say, I'm more
   6    stress that that was not a motivator for me         6   than happy to keep talking as long as anyone
   7    personally.                                         7    will let me.
   8 Q Okay. I'm going to scroll back up to Page 5 of       8        THE WITNESS: I just wonder if I could have
   9   your CV. Toward the bottom of the page is an         9   a one-minute adjournment. I'll be back in one
  10    article with the lead author R. D'Angelo that      10    minute.
  11   you coauthored titled One Size Does Not Fit All.    11        MR. ROSE: That's perfectly fine.
  12    Do you see that?                                   12        (A recess was taken.)
  13 A Yeah.                                               13 DIRECT EXAMINATION CONTINUING,
  14 Q Other than this publication, have any of your       14    QUESTIONS BY GAVIN M. ROSE:
  15    writings concerning gender dysphoria or its        15 Q My understanding is that you have been retained
  16   treatment been published in any peer-reviewed       16    by the State of Indiana to offer expert
  17    journals?                                          17    testimony in this case. Is that your
  18 A No, not at this point.                              18    understanding as well?
  19 Q But this D'Angelo article was published in a        19 A Yes.
  20    peer-reviewed journal?                             20 Q And you understand that this litigation
  21 A Yes, it was.                                        21   generally challenges a complete ban on providing
  22 Q And it's my understanding from looking at the       22    certain gender-affirming care to minors
  23    article that it's a direct response to an          23    diagnosed with gender dysphoria?
  24   article that had been published by Jack Turban      24 A Yes.
  25    and others?                                        25 Q In order to become involved in this case, did


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   1     you reach out to Indiana or did Indiana or its    1 Q Okay. Did you draft your declaration yourself?
   2     attorneys contact you?                            2 A Yes.
   3 A    The latter.                                      3 Q Did anyone other than you draft any portion of
   4 Q    And you're being compensated at an hourly rate 4     it?
   5     of $400 U.S.?                                     5 A No.
   6 A    Yes.                                             6 Q Did anyone other than Indiana's attorneys review
   7 Q   Do you know approximately how many hours you've 7     or comment on it before you finalized it?
   8     devoted to this case so far?                      8 A No.
   9 A    I've kept a running total, but it's well over    9 Q Have you conferred with any other professionals
  10     100. Well over, yeah.                            10   about this litigation?
  11 Q    How does the hourly rate of $400 compare with 11 A No.
  12     the rate that you charge to clients for          12 Q Are you familiar with -- and by familiar, I just
  13     psychotherapy?                                   13   mean do you know who they are. Are you familiar
  14 A    It's extremely generous.                        14   with the other individuals that Indiana has
  15 Q    What is your hourly rate to provide             15   designated as expert witnesses in this case?
  16     psychotherapy?                                   16 A No, I don't think I am. I haven't been
  17 A    I work on a sliding scale so people who are in 17    specifically advised, no.
  18     financial hardship I work for what's called the 18 Q And my only question to you is whether you have
  19     Medicare rebate, which is the amount that is 19       conferred with any of them about this case.
  20     covered by the nationalized healthcare cover in 20 A No.
  21     Australia, and for people who own planes, boats, 21 Q Okay. I'm pulling up just very quickly what I
  22     and tennis courts I charge about, depending, 22       have marked as Exhibit 3. Do you see that?
  23     250.                                             23 A Yes.
  24 Q    I'm sorry, did you say 350? 250?                24 Q Have you seen this document before?
  25 A    250. And that's a lot less in American dollars 25 A Yes.

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   1     because our Australian dollar is only worth          1 Q    It's my understanding that this is a summary
   2     about $.68 to your dollar at the moment.             2     prepared either by Indiana's attorneys or by you
   3 Q   And that's what I was going to ask. That's in        3     in conjunction with Indiana's attorneys
   4     Australian dollars?                                  4     indicating which medical records you have
   5 A   Yeah. Yeah.                                          5     attached to your declarations as Exhibits B, C,
   6 Q   Okay. At the outset of this deposition you           6     D, and E. Is that correct?
   7     indicated that you had your expert declaration       7 A    Yes.
   8     in front of you?                                     8 Q    Since leaving the University of Sydney, are
   9 A    Yes.                                                9     there any conditions or diagnoses other than
  10 Q    Is that still the case?                            10     gender dysphoria that you consider yourself
  11 A    Yes, it is.                                        11     specialized and emphasize your practice in?
  12 Q    Okay. I'm going to share my screen just very       12 A   I'm best known for developmental and educational
  13     quickly right now and pull up what I marked as      13     psychology type diagnoses, but I also have an
  14     Exhibit 2. And I assume that you recognize this     14     international reputation in the treatment of
  15     as the expert declaration you have submitted?       15     music performance anxiety and I have many
  16 A    Yes.                                               16     peer-reviewed international publications and
  17 Q    And I will tell you at the outset that I did not   17     have developed a completely new theory about
  18     include any of the attachments that your            18     music performance anxiety so that would be an
  19     attorneys provided to us. If it's okay with         19     expertise I'm well known for.
  20     you, I am going to stop the share of this and       20        The other well-known area is the area of
  21     both you and I can reference our hard copies and    21     sexual offending and I've written extensively on
  22     I assume that will be much quicker than me          22     child sexual abuse and juvenile sex offending.
  23     scrolling up and down through this. Is that         23        So they would be kind of super specialties
  24     okay?                                               24     that I have, but, in general, in the field of
  25 A    That's okay.                                       25     developmental and educational psychology.

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   1 Q Okay. You indicate in your expert report -- and      1 A That's right, yes.
   2    I don't think you have to look at it, but I         2 Q Is there a conversion therapy ban that has been
   3   think it's Paragraph 9 -- that you have become a     3    enacted in New South Whales?
   4   tertiary referral source and you mentioned that      4 A Not a legal ban, but there's a huge amount of
   5    here as well.                                       5    pressure against therapists who are not
   6 A Yeah.                                                6    practicing gender-affirming care.
   7 Q What does that mean, becoming a tertiary             7 Q And, I'm sorry, I just didn't understand from
   8    referral source?                                    8    your declaration. Are you saying that the
   9 A Well, it means people have gone through other        9   psychotherapy that you perform to patients with
  10    steps before they get to me.                       10   gender dysphoria would be illegal if you did the
  11 Q Okay. And are there particular persons or           11   same thing in Queensland, Victoria, or the ACT?
  12   entities from whom you receive a significant        12 A Yes.
  13    number of referrals?                               13 Q My understanding is that Australia is at least
  14 A I get most of my referrals directly from parents    14    considering a nationwide ban. Is that your
  15   who have spoken with each other. There are some     15    understanding?
  16   parent support organizations who will recommend     16 A Yes, that's my understanding.
  17   parents to me and so they'll come through that      17 Q Has it been passed yet?
  18    route as well.                                     18 A No.
  19 Q Okay. In your declaration you indicate that you     19 Q Okay. In Paragraph 10 of your declaration you
  20    are one of only a few clinicians practicing        20    indicate that you're unable to list the
  21   exploratory psychotherapy with persons with         21   Australian cases in which you've testified as an
  22   gender dysphoria because of so-called conversion    22   expert because of laws protecting the identity
  23    therapy bans that have been passed in some         23    of minors; correct?
  24    Australian states. I assume you're familiar        24 A Yeah.
  25    with that.                                         25 Q But there have been approximately 100 of those


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   1 A   Yes.                                              1      cases?
   2 Q   What Australian states have passed a ban on       2 A    That includes my child sexual abuse cases.
   3     conversion therapy?                               3      They're not all related to gender dysphoria.
   4 A    Queensland, Victoria, the ACT, and I think one 4        And it also includes the family court cases and
   5     in Tasmania is about to go through. And, yeah, 5         the children's court cases. They involve
   6      I think that they're the four, yeah.             6      custody disputes but not related to gender
   7 Q    And I assume you've reviewed the laws that were 7       dysphoria.
   8     being proposed and then passed in these states? 8 Q       And that was going to be my question is we
   9 A     Yes.                                            9      looked at the court-referred clients portion of
  10 Q     Are they all, I guess, functionally identical, 10      your CV. Is that what those 100 cases refer to?
  11      for lack of a better word?                      11 A     No, no, no. That's post the court process, the
  12 A     Yeah. Yeah, I would say.                       12      court referred. These are assessments for or
  13 Q     I'm going to pull up what I have marked as 13          expert witness regarding the actual call of
  14     Exhibit 4. Do you see that document in front of 14       matter.
  15      you?                                            15 Q    Of those 100 cases, approximately how many
  16 A     Yes, but I can't read it.                      16      concern gender dysphoria or related issues?
  17 Q     That's perfectly fair. I will represent to you 17 A     Oh, I think only about three.
  18     that the, I guess, fifth page of the PDF, which 18 Q     And I assume those were in the last few years?
  19      has an internal pagination No. 1, says "The 19 A         Yeah.
  20     Parliament of Victoria enacts:" And I'm just 20 Q        And then the one American case you identify is
  21     wondering if you recognize this as Victoria's 21         the case challenging a ban similar to ours in
  22      ban on conversion therapy.                      22      Alabama?
  23 A     Yes, I recognize it, yes.                      23 A     Yes.
  24 Q     And my assumption is that you, yourself, 24 Q           And you identify the case as Bowman, but I
  25      practice in New South Whales?                   25      assume, if you know, it's the same case that I

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   1    know as Eknes-Tucker?                               1     circumstances where you think that might be a
   2 A I'll take your word for that.                        2     valid approach?
   3 Q Okay. Doctor, I am ready to move into slightly       3 A    Well, if you look at the historical literature
   4   more substantive matters. Thank you for your         4     and, you know, the amount of writing that
   5    patience as I went through that.                    5     occurred, you know, pre sort of 2005 to '10,
   6        I want to be perfectly clear from the           6     this was a vanishingly rare diagnosis,
   7   outset. Do you consider gender dysphoria to be       7     vanishingly rare. For example, some of the
   8    a valid medical diagnosis?                          8     population figures given for the prevalence of
   9 A No.                                                  9     gender dysphoria pre the common era of gender
  10 Q Are there any circumstances under which you         10     dysphoria, let's put it that way, Sweden was
  11   believe a patient may accurately be diagnosed       11     reporting one in one million. The DSM-5
  12    with gender dysphoria?                             12     reported 1 in 27,000 females and one in 10,000
  13 A Let me put it this way. I think there is a          13     males. So, you know, these figures are
  14   phenomenon that one could describe as gender        14     extremely low so I'm not going to be absolutist
  15   dysphoria, but the diagnostic process is what       15     and say there is no circumstance under which
  16    I'm referring to as lacking validity. So, in       16     it's not an appropriate diagnosis, but the
  17   answer to your first question -- could you just     17     degree to which it's being diagnosed today is of
  18    repeat your first question about gender            18     great clinical concern.
  19    dysphoria?                                         19 Q   And, Doctor, my question was: How would a child
  20 Q My first question was whether you consider          20     have to present to you for you to believe it to
  21    gender dysphoria to be a valid diagnosis.          21     be appropriate for that child to receive puberty
  22 A Diagnosis, no. I have major diagnostic concerns     22     blockers or gender-affirming hormones or is that
  23   with the way in which gender dysphoria is being     23     just off the table entirely?
  24   diagnosed, but I'm not challenging the existence    24 A    It's very close to being off the table.
  25   of a phenomenon, a clinical phenomenon, that can    25 Q    How about for adults? Do you think adults

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   1    be described as gender dysphoria.                   1     should have the ability to receive
   2 Q What does that mean, a clinical phenomenon?          2     gender-affirming hormones or even
   3 A Well, you know, if a patient comes to you and        3     gender-affirming surgery?
   4   says, "Look, I've got very low mood, I'm not         4 A    Under very special circumstances. Under the
   5    sleeping, I've lost my appetite, I've got no        5     original treatment protocol for an adult seeking
   6   motivation," you'll say, "Well, you know, that       6     transgender surgery was that they had to live in
   7   sounds like a depressive process," and I need to     7     their chosen sex for two years and undergo
   8    explore that further with the patient.              8     intensive psychotherapy before they would be
   9       Similarly, with gender dysphoria, you know,      9     cleared for surgery. None of those safeguards
  10   children will come with their narrative about       10     are in place for young people.
  11   I've always wanted to be a boy and I've always      11 Q    If they were in place, would you believe it
  12    wanted to play with boy things and, in the         12     would be appropriate for them to receive this
  13   extreme cases, they want to cut off their sexual    13     sort of gender-affirming care?
  14   organs and so forth. So, of course, one has to      14 A    In vanishingly rare cases.
  15    be alert to the possibility that there is a        15 Q   And can you imagine a child who presents who has
  16    clinical process in which the child is             16     consistently over a number of years presented as
  17   uncomfortable in his or her own body and that       17     a sex different than the birth sex who has been
  18    needs to be explored.                              18     in therapy for years and who is presenting with
  19 Q Do you believe that there are any circumstances     19     no comorbidities and a certain level of
  20    under which a child who presents with that         20     distress, can you imagine yourself thinking it
  21   clinical phenomenon should be allowed to receive    21     appropriate for that person to receive
  22   puberty blockers or gender-affirming hormones?      22     gender-affirming medications?
  23 A Under almost no circumstances would I think that    23 A    I don't think such a person exists.
  24    is a valid approach to take.                       24 Q    Okay. I want to turn, at long last, to social
  25 Q You qualify that with "almost no." What are the     25     contagion and your description of social

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   1     contagion. My understanding is that you             1 A Did you say 108?
   2     separate your declaration into two chapters;        2 Q 108 on Page 55.
   3     correct?                                            3 A Yes.
   4 A    Yes.                                               4 Q Are you there?
   5 Q    And will you flip to Paragraph 21 of your          5 A Yes, I am.
   6     declaration on Page 11?                             6 Q And in that paragraph you describe a "core group
   7 A    Okay. So I'm going to have to change glasses       7    of 'actual' cases," I assume of gender
   8     frequently when I'm looking at my declaration.      8    dysphoria. Do you see that?
   9     So you said 21?                                     9 A Yes.
  10 Q   21.                                                10 Q And by "core group of 'actual' cases," you meant
  11 A   Alright.                                           11    actual cases of gender dysphoria?
  12 Q   Are you there?                                     12 A Yes.
  13 A   Yes.                                               13 Q And it appears to me that you're indicating in
  14 Q    You don't have to do so out loud, but will you    14   this paragraph that social contagion may affect
  15     read Paragraph 21 to yourself real quick?          15   some "actual cases" of gender dysphoria but may
  16 A    Yeah, I've read it.                               16    also affect some other, I assume, nonactual
  17 Q    Okay. We'll get to the specifics momentarily,     17    cases. Is that a fair statement?
  18     but my first question is if this paragraph         18 A Yes, that's a fair statement.
  19     provides a fair summary of the conclusion that     19 Q And how does the social contagion affect the
  20     you offer in the first chapter of your             20    actual cases?
  21     declaration.                                       21 A Well, it's the disinhibition effect that if --
  22 A   Yes.                                               22   you see, I'm trying to cover all my bases here
  23 Q   You use the language "social contagion may have    23    because all of the literature that I've read,
  24     a major role" to play, and I'm curious about       24   all the epidemiological literature available on
  25     your use of the word "may" in that sentence.       25    gender dysphoria, will identify a case. It

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   1 A Well, I'm not absolutist or prescriptionist           1    might be 1 in 84,000. It might be 1 in 1
   2   because I am not omnipotent and my paper is           2   million. It might be 1 in "twenty-two hundred
   3   based on very careful analysis and inference.         3   and fourteen thousand." There's data predating
   4   And the reason that it is based on analysis and       4   2010 that shows, you know, very consistently
   5   inference is that there has been no                   5    that there are cases but they're vanishingly
   6   empirically-driven epidemiological study to test      6    rare. It wouldn't even qualify for -- well, an
   7   my hypotheses and that's why I say "may."             7    orphan diagnosis qualifies because --
   8 Q And you're familiar, I assume, with an article        8 Q Let me stop you there because I think you've
   9   and ultimately a correction to that article that      9    gone well beyond the --
  10   was published by Dr. Lisa Littman who was then       10        MR. FISHER: Gavin, let her finish the
  11   with Brown University?                               11   answer, please. You keep doing this. You gotta
  12 A Uh-huh.                                              12   let her answer. She's trying to provide you an
  13 Q I'm sorry. Yes?                                      13    answer.
  14 A Yes.                                                 14        MR. ROSE: I think she keeps stepping well
  15 Q And you're aware, I assume, that she describes       15    beyond my questions, Tom.
  16   her work as "generating hypotheses, not              16 A I'm sorry. I'll be very specific. It's okay.
  17   conclusions"?                                        17   It's okay. The answer is: Yes, there are some
  18 A Yes.                                                 18   actual cases. We don't know how many. And of
  19 Q And you just used that word, too. Is it fair to      19    those actual cases, the current (inaudible) of
  20   say that you are describing to us a hypothesis?      20   transgender affirming everything would help that
  21 A Yes, it is fair to say that, but some hypotheses     21   vanishingly rare case who had not yet enacted or
  22   are more robust than others and I believe this       22    done anything about their genuine gender
  23   to be a very robust hypothesis.                      23    dysphoria to come forward for treatment.
  24 Q Will you turn to Paragraph 108 of your               24 Q And I think you referred to that at the outset
  25   declaration?                                         25    as a disinhibition effect. Is that fair?

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   1 A   Yeah. Yeah.                                         1 A Well, you have to go back to my paragraph that
   2 Q   It might make some people just feel more            2    tries to explain the statistical complexity. I
   3     comfortable coming forward?                         3   would argue that what explains the exponential
   4 A   Yes.                                                4    increase in young people presenting as
   5 Q   Okay. I want to make sure I understand              5   transgender is primarily accounted for by the
   6     generally now what types of things might serve      6    phenomena of social contagion.
   7     as the social contagion you described as capable    7 Q And I understand that and you used the word
   8     of causing persons to mistakenly identify as        8    "primarily." I'm just wondering what other
   9     transgender. You describe, first and foremost,      9    factors might also account for that.
  10     influences from peers, celebrities, social         10 A Well, the other factors I see as secondary
  11     media. Is that a fair statement?                   11    factors. So gender dysphoria has become a
  12 A    Yeah. It obviously goes way beyond that, but,     12   vehicle for young people who are very distressed
  13     yes, they are factors that are included.           13   about themselves in some way that something has
  14 Q   And I guess my question is: If a celebrity or      14   gone wrong with their development, so they're
  15     other influential person does nothing more than    15   unhappy, they're discontent, they don't have a
  16     openly identify themselves as being transgender,   16    peer group, they're lonely, they may be in
  17     is that something that you think can have this     17   conflict with their parents, they may have and
  18     social contagion effect?                           18   they will have significant comorbid conditions.
  19 A    Yes.                                              19   So gender dysphoria has become, you know, the
  20 Q    There does not need to be any attempt at overt    20   overarching umbrella on which disturbed young
  21     coercion of any sort?                              21    people are hanging their hats, so to speak,
  22 A    No.                                               22   because they get such a receptive response to
  23 Q    What if a public library or a school library      23   declaring themselves transgender, whereas if
  24     chooses to either carry or display books           24    they said, oh, I'm depressed or I'm anxious,
  25     pertaining to gender-related issues, is that       25   well, that's very garden variety and it doesn't

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   1     something that can have a social contagion          1    get above the threshold of concern, whereas
   2     effect?                                             2   young people presenting with gender dysphoria
   3 A    Absolutely. Particularly as they're universally    3   have this whole machine around them now. It
   4     full of misinformation.                             4    really gets their parents' attention. It really
   5 Q   What if a person is simply subjected to a book      5   gets them noticed and, you know, managed and so
   6     with a transgender protagonist, can that have a     6    forth. So these are secondary things.
   7     social contagion effect?                            7        But, I mean, I have parents coming to me
   8 A    Yes, it can. The Internet site Anime was           8   who show me thousands of text messages that
   9     recently boasting that it now had 279 characters    9    their child had received from groomers and
  10     that were known cisgender.                         10    predators on the Internet trying to convince
  11 Q    Do you know how many cisgender characters it      11    young people to transition. You're really
  12     has?                                               12    trans. If you say this about yourself, it means
  13 A   Half a dozen.                                      13   that you're really trans. And some of them have
  14 Q    And the Internet site Anime, is that anime.com?   14    gone to the point of actually sending minors
  15 A    I presume.                                        15    cross-sex hormones through the Internet as a
  16 Q    You know throughout your declaration that in      16    gift to the young person.
  17     recent years there have been significant           17 Q Do you believe that better understanding of
  18     increases in persons identifying as transgender    18    gender dysphoria has played any role in the
  19     or in seeking care from gender clinics. I          19   increase in the number of persons identifying as
  20     assume you agree that's a fair summary?            20    transgender?
  21 A   Yeah.                                              21 A I don't think there's any better understanding
  22 Q    I assume you agree that there are other factors   22    that I've noticed in the last 10 years.
  23     in addition to social contagion that might also    23 Q Do you think increases in the availability of
  24     cause an increase in persons identifying as        24   treatment have led more persons to come forward
  25     transgender?                                       25    as transgender?

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   1 A Absolutely, but in a socially contagious way.         1 Q Sorry, I will repeat the question. Are you
   2 Q Are you aware of studies indicating that more         2    aware of any peer-reviewed studies at all that
   3   persons will seek care for a condition when that      3   attempted to systematically study whether social
   4    condition becomes destigmatized?                     4    contagion has led to increases in transgender
   5 A You know, the destigmatized argument has a small      5    identification?
   6   amount of merit, but it can't possibly account        6 A Well, Jack Turban actually claims that he's
   7   for the numbers and the trajectories on graphs        7    systematically and emphatically disconfirmed
   8    that we're seeing with gender dysphoria.             8    social contagion, but, given that I only deal
   9 Q Are you familiar with a body of professional          9    with robust scientific literature that uses a
  10    literature specifically concerning increased        10    scientific method, I will say no because his
  11   numbers in patients seeking treatment for HIV as     11    study does not fall into that category.
  12    the condition became destigmatized?                 12 Q Are you aware of any peer-reviewed studies at
  13 A Sure.                                                13    all that attempted to determine what proportion
  14 Q And you agree that there were significant            14    of the increase in transgender identification
  15   increases in persons seeking treatment for that      15    over recent years can be attributed to social
  16    condition?                                          16    contagion?
  17 A Yes, because they had a diagnosable medical          17 A I have stated at the outlet that my conclusions
  18    condition that could be treated with                18    are inferential and deductional. I looked at
  19    scientifically evidence-based medications.          19    social contagions in a range of other adolescent
  20 Q In your opinion, can social contagion work the       20   psychopathologies and the same mechanisms and
  21   other way around if someone is subjected to          21   the same dynamics and the same upward swings in
  22   messages that being transgender is wrong or          22    prevalence have occurred in at least six
  23   simply does not have access to any books with a      23    adolescent psychopathologies that have been
  24    transgender protagonist? Can that cause a           24    systematically studied. Now, there's no will to
  25   transgender person to remain in the closet, so       25   systematically study social contagion and gender

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   1     to speak?                                           1     dysphoria and the reason for that is that it
   2 A    There is absolutely no evidence for that           2     will disprove the basic tenant of gender
   3     assertion one way or the other, but if you want     3     ideology.
   4     me to give an educated guess, it's possible but     4 Q    Doctor, I'm sorry to cut you off. I don't mind
   5     it would be extremely unusual.                      5     that you're trying to explain your answer, but
   6 Q    In the report that you submitted in the Alabama    6     the question I asked you first was a yes or no
   7     case -- and I didn't print it out or pull it up     7     question. We do need to make sure the record is
   8     for you -- you noted that the "ominous trend"       8     complete and clear so I do want to make sure I
   9     whereby more persons are identifying as             9     get a yes or no to the question about whether
  10     transgender has "rarely been systematically        10     you're aware of any peer-review studies that
  11     studied" either theoretically or empirically. I    11     attempted to determine what proportion of the
  12     understand you might not recall the precise        12     increase in transgender identification can be
  13     verbiage, but do you recall expressing             13     attributed to social contagion.
  14     sentiments similar to that?                        14 A    I've already answered that question and then I
  15 A    Yes.                                              15     tried to qualify it and was unable to finish my
  16 Q    And I assume that's still an accurate statement   16     answer.
  17     of your beliefs?                                   17 Q    Is it fair to say that there are no
  18 A    Well, it's not my beliefs. It's an empirical      18     peer-reviewed studies that attempt to determine
  19     fact.                                              19     what proportion of the increase in transgender
  20 Q    Are you aware of any peer-reviewed studies at     20     identification over recent years can be
  21     all that attempted to systematically study         21     attributed to social contagion?
  22     whether social contagion has led to increases in   22 A    Yep.
  23     transgender identification?                        23 Q    I'm sorry. Did you say yes or no?
  24 A    Did you use the word "peer-reviewed" or -- what   24 A    I said yep.
  25     was the wording exactly?                           25 Q    Is that a yes?

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   1 A Yes, it's a yes.                                     1     with rapid-onset gender dysphoria?
   2 Q Okay. I'm going to pull up for you real quick        2 A    Well, I don't tend to be beholden to diagnoses,
   3   what I have marked as Exhibit 5. And do you see      3     but the majority of my caseload would, if you
   4   that in front of you?                                4     wanted to use that term, would fit into that
   5 A Yes.                                                 5     categorization.
   6 Q Beginning in -- and you can go there if you          6 Q   Okay. It's my understanding that for her study
   7   want, but in Paragraph 81 of your declaration        7     Dr. Littman posted a survey on three different
   8   you describe an article that was written by          8     websites where parents had reported sudden or
   9   Dr. Littman who we mentioned.                        9     rapid onsets of gender dysphoria in their
  10 A Yes.                                                10     children; is that correct?
  11 Q And I understand that there was ultimately a        11 A    That's my understanding, yes.
  12   correction to that article, but you recognize       12 Q    And then I understand they were subsequently
  13   what I have in front of you as the original         13     reposted to a fourth website, a Facebook group?
  14   article that Dr. Littman authored?                  14 A    Uh-huh.
  15 A Yes.                                                15 Q    Sorry. Yes?
  16 Q And both you and Dr. Littman discuss                16 A    Yes.
  17   "rapid-onset gender dysphoria"; correct?            17 Q    And of the three websites that Dr. Littman
  18 A Yes.                                                18     originally posted the survey, are you aware that
  19 Q Prior to Dr. Littman's article in 2018, are you     19     they have all taken a position on the provision
  20   aware of any professional literature that used      20     of gender-affirming care to transgender youth?
  21   that term?                                          21 A   The parents?
  22 A No.                                                 22 Q   The websites.
  23 Q Is rapid-onset gender dysphoria a diagnosis         23 A   Oh. No, I don't think I was completely clear
  24   listed in the DSM-5 or its text revision?           24     about that.
  25 A No.                                                 25 Q   Do you have an understanding that all three of

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   1 Q Is it identified in the International                1   those sites have taken a position that was
   2    Classification of Diseases, ICD-9?                  2   "unsupportive" of gender transition?
   3 A No.                                                  3        MR. FISHER: I'm going to object. I'm not
   4 Q Is there an objective measure that you or            4   sure that the meaning of that is clear or where
   5    Dr. Littman are using to determine when or          5   it's coming from.
   6    weather the onset of gender dysphoria is            6        MR. ROSE: Why don't I get an answer first
   7    "rapid"?                                            7   and then I can explain, if that's okay.
   8 A It's adolescent onset as opposed to early            8 Q Do you need me to repeat the question, Doctor?
   9    childhood onset.                                    9 A Yes.
  10 Q And that was going to be my question. Is the        10 Q Do you agree that all three of the sites on
  11    term saying anything other than that a person      11   which Dr. Littman posted the survey have taken a
  12    first identified themselves as transgender         12   position that is "unsupportive of [gender]
  13    during their adolescency rather than earlier?      13   transition"?
  14 A Well, it's the timing but also the rapidity of      14        MR. FISHER: Same objection. You may
  15   the onset so it becomes manifest in a very short    15   answer.
  16    period of time during adolescence.                 16 A Okay. Concerned and questioning.
  17 Q Do you have a way of distinguishing between         17 Q Would it surprise you to know that in her notice
  18   someone with "rapid-onset gender dysphoria" and     18   of correction to this article Dr. Littman
  19   someone who had dysphoria for a longer period of    19   characterized all three of these websites as
  20   time but simply delayed in coming out through       20   being "unsupportive of [gender] transition"?
  21   pressures or family dynamics or what have you?      21 A Look, I probably read it, but I've been reading
  22 A That would be very unusual, but the way that I      22   hundreds of papers since then and details will
  23    assess it is through very detailed clinical        23   sometimes escape one's attention.
  24    interview.                                         24        MR. ROSE: And, just for the record since
  25 Q Do you have any patients that you've diagnosed      25   I'm speaking instead of writing, the "gender"

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   1     there is in brackets. The quote is                  1     after Dr. Littman first published her article
   2     "unsupportive of transition" and the "gender" is    2     she published a corrected version of the same
   3     taken from context.                                 3     article along with a notice of correction?
   4 Q    One of the websites that Dr. Littman indicates     4 A   There was a (inaudible) after the publication of
   5     the survey was posted to is called Youth Trans      5     her article and it was taken down after it had
   6     Critical Professionals. Are you familiar with       6     already gone through a rigorous peer-review
   7     that website?                                       7     process, so, to please the naysayers, a couple
   8 A    Yes.                                               8     of sentences were added and so I wouldn't call
   9 Q    Have you ever visited it?                          9     it a substantive correction. The data remained
  10 A    I tend not to spend a lot of time visiting        10     unchanged and the conclusions remained
  11     websites.                                          11     unchanged.
  12 Q    Have you ever visited it?                         12 Q    Okay. But there was a corrected version
  13 A    I've clicked to it.                               13     published; correct?
  14 Q    The reason I ask is that if you go right now,     14 A    Well, there was a slightly altered version
  15     you pick up a language saying that the website     15     published.
  16     is now private and it cannot be accessed, and      16 Q    And at the same time of that publication there
  17     I'm wondering if you were aware of that.           17     was also a separate notice of correction
  18 A    No.                                               18     explaining the reasons for the revision that was
  19 Q    Okay. And you understand that Dr. Littman         19     published in the same journal?
  20     directed her survey toward the parents of          20 A    Yes.
  21     transgender youth, not the youth themselves;       21 Q    I'm going to click over to Exhibit 6. Do you
  22     right?                                             22     see that in front of you?
  23 A    Yes.                                              23 A    Yes.
  24 Q    When you provide psychotherapy to one of your     24 Q   And you recognize this, I assume, as the notice
  25     patients, are there any circumstances at all       25     of correction?

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   1   where you would rely exclusively on a parent's        1 A Yes.
   2   report about what was going on with their child?      2 Q In this notice, Dr. Littman says that "This
   3 A No, I do what's called triangulation and I            3   report ... does not validate the phenomenon,"
   4   include in my case formulation information from       4   and it appears from context that the phenomenon
   5    every possible source that is available to me.       5   is rapid-onset gender dysphoria. Do you see
   6 Q And one of those sources is obviously speaking        6    that in the middle of the --
   7    with the child themselves; correct?                  7 A Yeah. Yeah.
   8 A Of course.                                            8 Q Do you agree that Dr. Littman's study does not
   9 Q And I assume in speaking with the child you           9   validate of phenomenon of rapid-onset gender
  10   would want to know not just what they're going       10    dysphoria?
  11   through but also if there were any reasons that      11 A Absolutely. It was a very preliminary early
  12   their parents would not be aware of what they're     12   notice of something interesting, and all new
  13    going through; is that fair?                        13   discoveries are made through noticing changes in
  14        MR. FISHER: I'm going to object. I'm not        14   patterns in the environment and that can lead to
  15   sure what is meant by "what they're not going        15   all sorts of astounding new discoveries. So it
  16    through."                                           16    would be foolish, and nor did she do so,
  17        THE WITNESS: Yeah, I know. Thank you.           17   claiming that this study proved anything other
  18 Q Do you understand the question, Doctor?              18    than the report of this group of parents.
  19 A I think you'll have to reword it.                    19 Q Okay. Do you know Dr. Littman personally?
  20 Q Let me just ask this more generally. In your         20 A No.
  21    field of psychotherapy, I assume that               21 Q Okay. And I'm going to click over to Exhibit 7.
  22   self-reporting provides a useful and sometimes       22    And do you see that in front of you?
  23    vital source of information; is that fair?          23 A I do.
  24 A Yes.                                                 24 Q A short while ago, you mentioned a study by
  25 Q Okay. And you're aware, I assume, that the year      25   Dr. Turban and others that sounded like you took


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   1     issues with, and am I correct that this is that      1 Q   It's my understanding that CAAPS, with two As to
   2     study?                                               2     our court reporter, is a nonprofit coalition of
   3 A    Yes, it is.                                         3     various professional organizations involved in
   4 Q    This was published in a journal called              4     the science of mental health. Is that a fair
   5     Pediatrics?                                          5     summary?
   6 A    Yeah.                                               6 A    I guess so, yes.
   7 Q    And that's a peer-reviewed journal; correct?        7 Q    Well, I took it directly from their website, so
   8 A    Let's just say they have a peer-review process      8     I hope it is. Okay. I am going to show you
   9     that has been degraded in recent times.              9     what I've marked as Exhibit 8. Do you see that
  10 Q    Has the process itself changed to your             10     in front of you?
  11     knowledge?                                          11 A    Yes.
  12 A    No, the process is still the same.                 12 Q    And you, I assume, recognize this as the
  13 Q    If it had not been for the article's publication   13     statement to which you were referring in
  14     of Dr. Turban's article or others like it, would    14     Paragraph 85 of your declaration?
  15     you believe that the peer-review process of         15 A    That's right, yes.
  16     Pediatrics had been degraded in recent years?       16 Q    And you understand, I assume, that numerous
  17 A    I would have to judge that article by article,     17     other -- I won't count them, but numerous other
  18     but it's astounding to me that some of the          18     organizations also signed on to the statement?
  19     papers that I see published on the subject have     19 A   Yes.
  20     actually got through a peer-review process if it    20 Q   Including both the American Psychological
  21     was truly anonymized and objective.                 21     Association and the American Psychiatric
  22 Q    I understand that you might take issue with some   22     Association, I think?
  23     of the data or the source of the data, but you      23 A   Yes.
  24     understand that Dr. Turban and others analyzed      24 Q   I'm looking, I guess, generally at Paragraph 87
  25     data from several states that was collected by      25     of your declaration. I don't know, Doctor, if

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   1   the Centers for Disease Control and Prevention;        1     you will need to look at it for this series of
   2    correct?                                              2     questions, but I certainly invite you to if it
   3 A That one, I believe from memory, is from the           3     would be useful to you. In this paragraph --
   4    Youth Risk Behavior Survey.                           4 A    Sorry for interrupting. It's very hard. I've
   5        MR. ROSE: Okay. Doctor, if you don't              5     got a visual impairment and it's very hard for
   6   mind, my bladder is desperately requesting that        6     me to go from screen to page, back and forward,
   7    I call a break. I'm okay with just five               7     and I'm just wondering if you would be able to
   8   minutes. If anyone needs a longer break, I'm           8     quickly put that up on the screen for me.
   9    more than happy with that, too.                       9 Q   I can certainly do that. I can't promise it
  10        THE WITNESS: Five minutes is fine with me.       10     will be quickly, but I can certainly do that.
  11        (A recess was taken.)                            11 A   Okay.
  12 DIRECT EXAMINATION CONTINUING,                          12 Q   Do you see that in front of you?
  13    QUESTIONS BY GAVIN M. ROSE:                          13 A   Yeah.
  14 Q Doctor, do you still have your declaration in         14 Q   It's Paragraph 87 of your declaration; correct?
  15    front of you?                                        15 A    Yes.
  16 A Yes, I do.                                            16 Q   And I'm not going to get into precise numbers,
  17 Q I will have you turn to Paragraph 85 on Page 41       17     but it sounds here like you're describing, I
  18    if you don't mind.                                   18     guess, differences in the share of persons
  19 A Yeah.                                                 19     identifying as transgender between adolescents
  20 Q In this paragraph, you mention an August 2021         20     and younger children over several decades; is
  21   statement by the Coalition for Advancement &          21     that fair?
  22   Application of Psychological Services or CAAPS        22 A    Yes.
  23    calling for the elimination of the use of            23 Q    I think you say that prior to 2000, children age
  24    rapid-onset gender dysphoria; correct?               24     3 to 12 years identifying as transgender greatly
  25 A Yes.                                                  25     outnumbered adolescents?

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   1 A    Yes.                                              1 A     Yes.
   2 Q    And my understanding of your report is that you   2 Q    Okay. The question that precipitated this was
   3     believe the increase in the percentage of          3      whether there is an age at which you believe
   4     adolescents identifying as transgender is          4      that persons assigned female at birth have
   5     because that group, and particularly persons 5            matured enough that they are less susceptible to
   6     assigned female at birth in that group, are        6      social contagion?
   7     particularly susceptible to social contagion; is 7 A      There's a clear set of studies that shows that
   8     that fair?                                         8      susceptibility decreases with increasing age and
   9 A    Yes.                                              9      cognitive maturity, so children are more
  10 Q    Is it fair to say that you think that social     10      susceptible, in general -- we're talking in
  11     contagion played a minimal role before the year 11        population figures here but there's a lot of,
  12     2000 in causing persons to identify as            12      you know, variation at an individual basis, but,
  13     transgender?                                      13      statistically, in general, at a population
  14 A    Yes.                                             14      level, children tend to be more susceptible than
  15 Q    Is there an age at which you think persons 15            young adolescents; young adolescents tend to be
  16     assigned female at birth have matured enough 16           more susceptible than older adolescents; and
  17     that they're less likely to be susceptible to     17      older adolescents tend to be more susceptible
  18     social contagion?                                 18      than young adults, onwards.
  19 A    Could I register my disagreement with the phrase 19         So there's not a cut-off. There's not, you
  20     "assigned female at birth"? Could you, please, 20         know, 15 is the cut-off at which you're
  21     just say "a natal female" because sex is not 21           susceptible and then after 15 you're not
  22     assigned at birth. Sex is determined at           22      susceptible. It's a gradient rather than
  23     conception by the presence of X and Y             23      categorical, but that, from a statistical
  24     chromosomes. It is not assigned at birth, so I 24         perspective, is what the findings have been.
  25     would appreciate if you could just use the 25 Q            And I apologize for repeating you. I really

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   1    phrase "a natal female" or "a natal male."           1   just think I missed a word. It sounded like you
   2 Q Why don't I just state for the record that when       2    were saying that children are the most
   3   I use the phrase "assigned female at birth," I        3    susceptible, young adolescents next, older
   4   am referring to what you would refer to as a          4    adolescents next, and adults are the less
   5    "natal female," okay?                                5    susceptible; is that fair?
   6 A But I don't want any more documents than              6 A From a population statistically, a generalized
   7    necessary to reflect flawed and fallacious           7    perspective, yes.
   8   scientifically-lacking gender ideology of which       8 Q I understand there may be variants with
   9   the phrase "assigned female at birth" is a major      9    particular individuals; correct?
  10    contributor.                                        10 A Well, one variation that has been noted is that
  11 Q Do you understand what I mean when I say             11    children who are securely attached to their
  12    "assigned female at birth"?                         12    parents are less susceptible compared with
  13 A I understand what you mean, but you're               13   children who were not securely attached and that
  14    expressing it incorrectly.                          14   could occur anywhere from early childhood to
  15        MR. FISHER: I'm concerning along these          15    late adolescence, so there's very important
  16    lines that it's gonna end up putting words in       16    modifiers of that statement.
  17    her mouth that she doesn't want, and I think        17 Q I had asked the initial question about whether
  18    that that's probably part of her concern, too.      18    there was an age at which persons assigned
  19        MR. ROSE: Well, she can certainly answer        19   female at birth are mature enough, and you gave
  20   however she feels comfortable, but I am going to     20   me that hierarchy and that's perfectly fine. I
  21   use the verbiage with which I feel comfortable.      21   assume the same hierarchy exists for persons
  22 Q And, as I stated for the record, when I use the      22    assigned male at birth?
  23   phrase "assigned female at birth," I'm referring     23 A The natal males, yes, the same hierarchy exists.
  24   to what you would refer to as "a natal female."      24 Q And we were talking in general, but as it
  25    Is that fair?                                       25    relates to the social contagion effect of

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   1     transgender identification, it's the same           1     anticipating where you were going with it.
   2     hierarchy, right, children most susceptible,        2         MR. FISHER: Doctor, let me just suggest
   3     then young adolescents, then older adolescents,     3     let's not anticipate. We'll get through it
   4     then adults?                                        4     faster.
   5 A    Well, when you look at the literature on uptake    5         THE WITNESS: Thank you. Okay. I'm sorry.
   6     of behavioral phenomenon in different age           6 Q    You're perfectly fine. I don't mind at all. I
   7     groups, you find this effect across the board       7     just wanted to make sure the record was clear on
   8     whether it's substance abuse, self harm,            8     that front.
   9     suicidality, and so forth, so it's a fairly         9 A    Okay.
  10     robust finding.                                    10 Q   And my understanding is that the Indremo study
  11 Q    Okay. I'm going to scroll up on your              11     actually studied the relationship between three
  12     declaration again to Paragraph 84. Do you see      12     different media events and referrals to gender
  13     that?                                              13     clinics; correct?
  14 A    Yes.                                              14 A   Yes.
  15 Q    And in this paragraph you're describing, at       15 Q   One positive media event and two negative media
  16     least for most of it until the last sentence, a    16     events?
  17     study published by Indremo and others?             17 A   Well, the two negative were connected. They
  18 A    Yes.                                              18     were Part 1 and Part 2 of the same series.
  19 Q    And this was a study that tracked a number of     19 Q    And then there was also one positive media
  20     referrals to clinics providing gender-affirming    20     event?
  21     care after positive or negative media coverage?    21 A    Yes.
  22 A    Yes.                                              22 Q    And do you understand that for the positive
  23 Q    And it sounds to me from your language like       23     event and for the first of the negative events
  24     you're describing in this paragraph increases in   24     the Indremo study actually found no relationship
  25     referrals following positive media coverage and    25     between media coverage and transgender clinic

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   1   decreases following negative media coverage; is       1     referrals?
   2    that fair?                                           2 A    Say that again. Sorry.
   3 A That's fair.                                          3 Q    You understand, don't you, that for both the
   4 Q And the study you cite concerning the negative        4     positive media event and the first of the
   5   media coverage is the Indremo, the Swedish study      5     negative media events the study actually found
   6    from 2020?                                           6     virtually no change in the number of referrals
   7 A Yes.                                                  7     to gender clinics following the media coverage;
   8 Q I'm flipping over to Exhibit 9 now. And do you        8     correct?
   9    see that in front of you?                            9 A    It's been some time since I've read the details
  10 A Yes, I do.                                           10     of the article. It's just not my memory of it.
  11 Q And I assume that you recognize this as the          11     I thought -- let me just see that conclusion.
  12    Indremo and others study?                           12 Q   I've moved you down to the results section. Do
  13 A I know where you're going with this and it's a       13     you see that on the --
  14    question of emphasis, but the results are the       14 A   Yeah.
  15    results. Indremo is trying to present it as,        15 Q    And you agree that the majority of this section
  16    you know, let's get all the media coverage          16     describes the changes in referrals following the
  17    positive, but his study is, in fact, a perfect      17     second negative media event; correct?
  18   example of social contagion. Negative coverages      18 A    Okay. So we're looking at time-specific
  19   reduces clinic numbers and positive coverage         19     changes. So in the three months following the
  20   increases them and so it's really quite a robust     20     event, referrals decreased by 25% overall, by
  21    demonstration of social contagion.                  21     32% for individuals being natal females, and by
  22 Q I'm sorry, Doctor, my question was literally         22     25% for those aged 13 to 18.
  23   just do you recognize Exhibit 9, the Indremo         23 Q   And you understand that those statistics that
  24    study that you cite?                                24     you just recounted relate to the changes in
  25 A Yes, I do. I do recognize it, but I was              25     referrals following the second negative media

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   1     event; correct?                                      1   with "The search strategy." You don't need to
   2 A    Yeah. Yeah.                                         2   do so out loud, but can you read the highlighted
   3 Q    Do you see the last line of the results section     3    portion to yourself?
   4     that says for the other two media events no          4 A Yes, I'm familiar with it, yes.
   5     changes in referral counts or time trends were       5 Q And this describes the search criteria or terms
   6     observed?                                            6   that Pang and others used to find media items to
   7 A    Yes, I do see that and I actually forgotten that    7    study in their report?
   8     part of it.                                          8 A Yes.
   9 Q   Is it fair to say that in your expert report you     9 Q And you agree that these criteria included any
  10     only described one of the three events studied      10   media coverage that contained the words gender,
  11     in the Indremo study?                               11    transgender, or gender dysphoria as well as
  12 A    I was reporting the three-month follow-up data,    12    child or adolescent; correct?
  13     so I'd have to go back and just revisit that.       13 A Yes.
  14 Q    Okay. Then flipping back to your expert report     14 Q If there had been stories in the UK or Australia
  15     still on Paragraph 84, the last sentence of that    15   during the relevant time period similar to the
  16     paragraph after you talk about the Indremo study    16   negative media events that were covered in the
  17     says, "On the contrary, increased positive media    17   Indremo study, do you agree that they would
  18     coverage of trans issues resulted in an increase    18   almost certainly have fallen within the search
  19     in referrals to gender clinics." Do you see         19    criteria?
  20     that?                                               20 A It would only be a surmise, but it's likely.
  21 A    Yeah.                                              21 Q It would have been very difficult to write about
  22 Q    The study you cite for that is Pang and others?    22   that without using the words transgender and
  23 A    Yes.                                               23    either child or adolescent; right?
  24 Q    And, just for the record, I think you cite the     24 A Sure.
  25     same study earlier in your report for a similar     25 Q Okay. I'm going to scroll down to Page 9. And


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   1     proposition.                                         1     at the bottom of that carry-over paragraph at
   2 A    Yes.                                                2     the top, Pang and others write, "Testing whether
   3 Q    Just proving to you that I read the entire          3     negative media coverage is associated with
   4     thing.                                               4     reduced referral rates (and conversely whether
   5 A    I'm very impressed.                                 5     positive coverage is associated with increased
   6 Q    I was gonna say I could write my memoirs three      6     referral rates) would thus be a useful next
   7     times over and end the night with your report        7     step." Did I read this correctly?
   8     here.                                                8 A    Yes.
   9         Okay. I'm flipping over to Exhibit 10.           9 Q    Would it surprise you to learn that this is the
  10     And, again, my first question to you is whether     10     only sentence in the entire study where media
  11     you recognize this as the Pang report that you      11     coverage is referred to as either negative or
  12     cite.                                               12     positive?
  13 A    Yes.                                               13 A   Could you go back up to the top of the article?
  14 Q    And I will just tell you the page numbers on       14 Q    Tell me where to stop.
  15     this exhibit do not line up with page numbers       15 A    I just want to see the abstract. Okay. Keep
  16     that you cited elsewhere in your report simply      16     going. Okay. Just stop there. Come back down
  17     because of where I got it from, I assume.           17     actually. No, go up.
  18         Okay. My understanding is that Dr. Pang         18 Q   Sorry.
  19     and others studied referral rates to gender         19 A    There. Stop there. Okay. And you're saying
  20     clinics in Australia and the UK following media     20     that he's talked about media coverage generally
  21     coverage related to transgender issues. Is that     21     as opposed to positive or negative media
  22     your understanding?                                 22     coverage.
  23 A   Yes.                                                23 Q   And do you agree with that?
  24 Q    Okay. I'm going to flip over to the PDF Page 5     24 A   What in particular?
  25     where I have highlighted a portion beginning        25 Q   Do you agree that the study authors are talking

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   1   about media coverage in general and not media         1     contagion." Did I read that correctly?
   2   coverage as either positive toward transgender        2 A    Yes.
   3   issues or negative toward transgender issues?         3 Q    And that is the language from which you are
   4 A Well, saying it's positive or negative is kind        4     quoting?
   5   of drilling down, but the fact that he showed a       5 A    Yeah.
   6   strong association between media coverage and         6 Q    The declaration?
   7   increased referrals is a demonstration of social      7 A    Yeah.
   8   contagion.                                            8 Q    And what I want to know is how the authors
   9 Q I'm going to flip back over to Exhibit 2 where        9     saying "we are mindful that others have
  10   you say, "On the contrary, increased positive        10     speculated" in their article translated to "the
  11   media coverage of trans issues resulted in an        11     authors, however, did concede that" in your
  12   increase in referrals to gender clinics," and I      12     expert declaration.
  13   want you to explain to me where you got that         13 A    The very fact that he mentioned it, you know,
  14   "increased positive media coverage" language.        14     implies that it has to be considered as a
  15 A I'd probably have to read the whole paper again      15     serious hypothesis.
  16   to tell you where I got it. I hope it wasn't an      16 Q    You think that him mentioning that others have
  17   overstep inference on my part, so I presume,         17     speculated about the effect of increased media
  18   obviously, that I inferred from the paper, but I     18     content means that he's conceding that it might
  19   would have to review the paper again to identify     19     act as a means of social contagion?
  20   how I drew the conclusion that it was positive       20 A    Yes, I think his disarming that possible
  21   media coverage as opposed to any media coverage.     21     conclusion.
  22 Q Prior to today, when was the last time you           22 Q    Okay. In Paragraphs 94 and 95 of your
  23   looked at that study?                                23     declaration -- and, I'm sorry, it won't all fit
  24 A Oh, it was some time ago.                            24     in on one page, but you understand that these
  25 Q Okay. I'm going to scroll down still on your         25     paragraphs generally concern various data from

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   1     declaration to, I think, Paragraph 129. Do you      1   the United Kingdom and from Australia; correct?
   2     see that in front of you?                           2 A Yeah.
   3 A    Yes, I do.                                         3 Q And, for much of this data, the citation is
   4 Q    And do you see at the bottom of that paragraph     4   provide is to either Kenny, DT 2021 or Kenny, DT
   5     you state, "The authors, however, did concede       5    2022. Do you see that?
   6     that ... increased media content (specifically      6 A Yep.
   7     via social media) might act as a ... means of       7 Q And these citations are obviously you; correct?
   8     social contagion"?                                  8 A They're obviously me, yes.
   9 A    Uh-huh.                                            9 Q And are they referencing something that has been
  10 Q    I'm sorry. Yes?                                   10   published or simply data that you've collected?
  11 A    Yes.                                              11 A Well, it's been published on my website, but the
  12 Q    And you underlined "might act as a ... means of   12   figures were provided by the gender clinics and
  13     social contagion"; correct?                        13    I converted them from either text or tabular
  14 A    Yes.                                              14    form into a graph.
  15 Q    And that was still in reference to the Pang       15 Q Has this data been published in any
  16     study; correct?                                    16    peer-reviewed journal?
  17 A    Yes.                                              17 A I think similar data has been used in
  18 Q   I'm going to flip back over to Exhibit 10 and      18   peer-reviewed publications. (Inaudible) had to
  19     scroll down to Page 9. And you will see at the     19    have used similar data to have done his study.
  20     top of the paragraph immediately above the         20 Q Your chart wherein you reference both referrals
  21     Limitations heading, Pang and others begin their   21    to gender clinics in the UK and Australia
  22     statement with, "However, we are also mindful      22    provides under it that Australian data was
  23     that others have speculated that increased media   23    provided by "gender clinics under freedom of
  24     content (specifically via social media) might      24    information applications." Do you see that?
  25     act as a double-edged sword or a means of social   25 A Yeah.


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   1 Q    Did the UK data come from similar requests?        1     more recently.
   2 A   No, the UK data was published on the NIH            2 Q   So, when these charts indicate zero or near
   3     website.                                            3     zero, you agree it's likely because people were
   4 Q   And I understand that -- and I'm looking at         4     receiving care through something other than
   5     Figure 3 here. Do you see the entirety of           5     formal gender clinics; is that fair?
   6     Figure 3 on this screen?                            6 A    Yes, it's probably fair, yeah.
   7 A   Yeah.                                               7 Q    And do you know when Tavistock opened?
   8 Q    I understand that the figure is in thousands so    8 A    I know there's data before like 2000, I mean
   9     you can't garner precise numbers from this, but,    9     back as far as 2000, but beyond that I don't
  10     from looking at the chart, it appears to me that   10     know.
  11     the Australian data shows either zero or roughly   11 Q    Do you know when it closed?
  12     zero referrals to gender clinics all the way       12 A    I think it's formally closing September 2023.
  13     through 2013; is that correct?                     13 Q    Okay. In Paragraphs 97 and 98 of your
  14 A    Yeah.                                             14     declaration, we'll start here, but do you
  15 Q   And the UK data shows roughly zero through 2006    15     generally see what these paragraphs are talking
  16     or 2007 at which point it starts increasing        16     about?
  17     slowly?                                            17 A   Yes.
  18 A    Yes.                                              18 Q   It looks to me like you're describing data
  19 Q    Is this because there were simply no gender       19     showing increased referrals to gender clinics in
  20     clinics prior to these dates?                      20     certain Australian states. Do I understand that
  21 A    My understanding is that the UK only had the      21     right?
  22     Tavistock gender service. Right up until it's      22 A    Yeah.
  23     closure, I think it was the only service           23 Q    And Figure 4 separates it out by each state?
  24     offering so-called gender-affirming care, so it    24 A    Yes.
  25     was a sole referral agency.                        25 Q    And I think you describe in text that the

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   1 Q I'm sorry, I didn't mean to cut you off. Just         1     increased referrals were primarily in three
   2   while it was fresh on my mind, I was going to do      2     states, Western Australia, Queensland, and
   3   it for the court reporter, but                        3     Victoria. Do I have that right?
   4   T-a-v-i-s-t-o-c-k. Do I have that correct,            4 A    Yes.
   5   Doctor?                                               5 Q   I assume on your chart WA is Western Australia?
   6 A Yeah. Yeah.                                           6 A    That's right.
   7 Q So my question was whether it's your                  7 Q    And VIC is Victoria?
   8   understanding that there were no gender clinics       8 A    Yes.
   9   in these countries during the periods of time         9 Q    And QLD is Queensland?
  10   where the chart indicates that there were zero       10 A    Yes.
  11   or roughly zero referrals to clinics.                11 Q    My understanding is that Melbourne is the
  12 A Well, as I've just answered for the UK, that         12     largest city in Victoria. Do I have that right?
  13   there was a clinic, but it did receive a very        13 A    Sydney is the largest.
  14   low number of referrals. In Australia there          14 Q   I'm sorry. Is Sydney not in New South Whales?
  15   would have been a couple of clinics but nowhere      15 A    Sydney is in New South Whales.
  16   near as many as there are now.                       16 Q    Sorry. I said Victoria. Is Melbourne the
  17 Q A couple of gender clinics even before 2013?         17     largest city in Victoria?
  18 A Look, I can't give you the precise numbers and       18 A    Oh, I see what you mean. , it is, yes.
  19   dates of clinics. I believe that they were           19 Q   Okay. I'm sorry. I have to admit my knowledge
  20   incorporated into the pediatric departments of       20     of Australian geography is less than yours so I
  21   the major children's hospital, so it would have      21     would've been happy to be told I was wrong
  22   been people consulting about children who were       22     there.
  23   presenting with gender dysphoria, but they were      23 A   Well, my knowledge of your 51 states is very
  24   probably not called gender clinics and there         24     sparse in my mind as well, so we're even.
  25   wasn't a specific service for that purpose until     25 Q   We're somewhere between Los Angeles and New


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   1    York. That's all you need to know.                  1   available to young people in WA experiencing
   2 A Okay.                                                2    problems with their gender identity."
   3 Q Certainly that's all people in either Los            3        Is it your understanding that the gender
   4    Angeles or New York care about.                     4   identity service opened in Western Australia in
   5       Okay. My understanding, and please tell me       5    2015?
   6    if I'm wrong, is that the first health clinic       6 A Yes.
   7    catering solely to the needs of transgender         7 Q And I assume that that's the largest gender
   8   persons or gender diverse persons in Melbourne       8    clinic in Western Australia?
   9   was opened in 2016. Is that your understanding       9 A Yes.
  10    as well?                                           10 Q And then Exhibit 12 is another printout that
  11        MR. FISHER: I'm gonna object just because      11   I've taken from the website of the Government of
  12    there's lack of definition behind those            12   Queensland wherein the article they published
  13    descriptions you just provided.                    13    has someone saying that there was no
  14 Q And you can answer the question, Doctor.            14   multidisciplinary gender service in Queensland
  15 A I was just going to say a plane was flying          15   before the establishment of the gender clinic at
  16   overhead and I missed the substantive issue in      16   Children's Health Queensland in 2017. And my
  17    your question.                                     17    question to you is: Is it your understanding
  18 Q Sure. My understanding is that the first health     18    that the gender clinic at Children's Health
  19    clinic in Melbourne catering solely to             19    Queensland first opened in 2017?
  20   transgender and gender diverse persons opened in    20 A Yes.
  21    2016. Is that your understanding as well?          21 Q Okay. In Paragraph 105 of your declaration,
  22        MR. FISHER: Same objection. You can            22   which spans two pages, but do you see the top of
  23    answer.                                            23    Paragraph 105 there?
  24 A I couldn't give you the precise year, so, if you    24 A Yes. Yep.
  25    have researched the question and found that it     25 Q And you provide a citation here to Tegg, 2022,


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   1   was 2016, I will accept that answer.                 1    personal communication?
   2 Q You understand that it opened sometime in the        2 A Yep.
   3   last 5 or 10 years; right?                           3 Q And I assume that the citation is to something
   4 A Yeah. Yeah.                                          4   that was just relayed to you by whoever Tegg is?
   5 Q And what's the name of that clinic in Melbourne?     5 A Yes.
   6 A It's called the -- it's in the Royal Children's      6 Q And Tegg, I assume, is Simon Tegg?
   7   Hospital -- the Adolescent Gender Service, I         7 A Yes.
   8   think it's called, or something of that nature.      8 Q And are you aware that Mr. Tegg is part of a
   9 Q Okay. And then in Western Australia, the             9    group called Fully Informed?
  10   capital and the largest city is Perth; right?       10 A Yes.
  11 A Yeah.                                               11 Q Are you aware that that group has played an
  12 Q I don't know why I didn't have an exhibit for       12    active role in advocating in favor of policies
  13   you for Victoria and I made you guess at that.      13   in New Zealand that would prevent children from
  14   I'm sorry for making you do that, but I'm going     14    accessing gender-affirming medications?
  15   to pull up Exhibit 11 and see if there's a          15 A Of course.
  16   rotate button.                                      16 Q To your knowledge, has the data you received
  17       MR. FISHER: You have to subscribe.              17   from Mr. Tegg been published in any peer-review
  18 Q Okay. Why don't I flip to my own Exhibit 11 and     18    journal?
  19   read you the highlighted portion that I have        19 A Not to my knowledge.
  20   taken there. And I will tell you that this is a     20 Q Okay. I'm going to scroll down just as an
  21   printout that I took from the web page of the       21    example to Paragraph 107. Do you see that
  22   Government of Western Australia's Mental Health     22    there?
  23   Commission, and the portion I have highlighted      23 A Yeah.
  24   says that the gender identity service "was          24 Q The citation that you provide at the end of that
  25   created in 2015 to address the gap in services      25    paragraph is to a -- your guess is as good as

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   1   mine on the pronunciation -- Respaut & Terhune,      1 A    No, because in this study Turban conflates
   2    2022; correct?                                      2     transgender with gender diverse and that's a
   3 A Yep.                                                 3     fatal flaw for any study to do that.
   4 Q This article here, Respaut & Terhune, is it          4 Q    Okay. And I apologize, that wasn't the portion
   5    published in a peer-review journal?                 5     that I was trying to focus on and that's just my
   6 A I'd have to look at the reference.                   6     verbiage, but you're relying on Dr. Turban's
   7 Q I will just tell you that I found it and your        7     study to discuss the detransition rates. Is
   8   references are at the end of your declaration,       8     that a fair summary?
   9   but Respaut & Terhune are actually reporters for     9 A    Not detransition rates generally but the
  10   Reuters. Does that refresh your recollection?       10     detransition rates that he reports in that
  11 A Well, I have quoted some journalistic pieces        11     study.
  12   from reputable journals, yes, because they have     12 Q    Okay. Do you understand that Dr. Turban's
  13   access to information that's very difficult for     13     article did not just seek to collect data on the
  14   people, you know, to obtain by any other means,     14     rate of so-called detransition but also sought
  15   so I have done that on a couple of occasions.       15     to analyze why persons detransitioned?
  16 Q And when you have relied on media stories for       16 A    I don't think he's capable of psychoanalyzing
  17    the information you provide in your expert         17     anything and I don't necessarily think he
  18   report, you provide the citation in roughly that    18     claimed to do so.
  19    format, right, just the author and the year?       19 Q    Do you understand that the report itself
  20 A Yeah. Yeah. That is the accepted APA                20     purports to provide data on why persons
  21    referencing convention.                            21     detransitioned?
  22 Q Is it fair to say that there are several other      22 A    Yes.
  23   citations that you provide in your expert report    23 Q    Do you understand that the data set that he
  24    that are just media stories?                       24     relied on was of people who currently identify
  25 A There's a small handful out of 200 plus             25     or identified at the time of the article as

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   1     references and it's because I wasn't able to       1    transgender?
   2     source the information from anywhere else.         2 A Or gender diverse.
   3 Q    And every media story that you relied on, is      3 Q Or gender diverse. I'm sorry. You understand
   4     that cited in the references portion at the end    4    that; correct?
   5     of your declaration?                               5 A Yes.
   6 A    Yes.                                              6 Q So every person in the article who had
   7 Q    I'm going to scroll down to Paragraph 131 real    7   "detransitioned" subsequently retransitioned.
   8     quick. And I don't know how every single           8   Is that your understanding of what the article
   9     paragraph I've chosen actually spans two pages,    9    purports to report?
  10     so I apologize for that, but do you see the       10 A It's very difficult to work out exactly what it
  11     beginning of Paragraph 131?                       11    purports to report.
  12 A    I do.                                            12 Q Okay. Well, you're relying on the article to
  13 Q    And in this you are describing an article        13   talk about detransition rate and my question to
  14     published by Dr. Turban and others in 2021?       14   you was whether you were aware that everyone in
  15 A    Yes.                                             15    the article subsequently retransitioned;
  16 Q    I'm going to bring up Exhibit 13 and ask you,    16    correct?
  17     first and foremost, if Exhibit 13 is that         17 A I'm not sure I'm aware of that now only because
  18     article that you're citing.                       18    it's been some time since I read the paper.
  19 A    Yep.                                             19 Q The article speaks for itself so if you're not
  20 Q    And, generally speaking, in your expert          20    aware of it, that's perfectly fine and I don't
  21     declaration you're relying on Dr. Turban's        21    have to prolong the issue.
  22     article to describe the detransition rates        22         Are you aware that the article also
  23     amongst persons who had previously been           23    classified the reasons for "detransition" --
  24     diagnosed with gender dysphoria. Is that a fair   24 A Yes.
  25     summary?                                          25 Q -- as either -- I'm sorry, I wasn't done with


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   1   the question. Why don't we start there, though.       1    published in 2021. Do I have that correct?
   2    You're aware that the article also classified        2 A Yeah.
   3    the reasons for detransition; correct?               3 Q I understand that there is significant, I guess,
   4 A Yes. Yes.                                             4   elaboration in your expert declaration, but is
   5 Q And it classified them, while having specific         5    it fair to say that many of the opinions you
   6   categories as well, into external and internal        6    express in your expert declaration are also
   7    reasons. Is that your understanding?                 7    expressed in this article Exhibit 14?
   8 A Yes.                                                  8 A Yes.
   9 Q And you're aware that the article found that the      9 Q And my understanding is that this article was
  10   overwhelming majority of persons with a history      10   published in a collection of articles by various
  11    of detransition cited at least one external         11   Australian professionals. Do I have that right?
  12    reason for that; correct?                           12 A Yes.
  13 A Yes.                                                 13 Q And the collection was devoted to the
  14 Q Do you agree that that finding is consistent         14   "transgendering" of children and adolescents; is
  15    with your social contagion hypothesis?              15    that right?
  16 A Look, I'm afraid that I don't base any of my         16 A Yeah.
  17   inferences or conclusions on the work of Jack        17 Q Was your article published anywhere else?
  18    Turban because it's almost all universally          18 A Not at this point, no.
  19   flawed research, methodologically suspect, and       19 Q Has it been published -- I'm sorry, I was
  20    one cannot draw conclusions or make                 20    confused by your response. By "not at this
  21   generalizations from the purported conclusions       21   point," do you mean not currently or do you mean
  22    that he draws from his own research.                22    not at the time that it was published in the
  23 Q Well, imagine some professional other than           23    collection of articles?
  24   Dr. Turban who you respected. If they published      24 A No to both questions.
  25   a scholarly article finding that of 100 persons      25 Q Okay. My understanding is that the article


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   1     who "detransitioned," 82.5% of them cited at        1     collection was edited and published by a
   2     least one external factor as a reason for their     2     sociologist in Australia named Geoffrey
   3     detransition, would you believe that that is        3     Holloway. Do I have that right?
   4     consistent with your social contagion               4 A    Yes.
   5     hypothesis?                                         5 Q   Were you compensated for writing or submitting
   6 A    Well, that eventuality has never occurred. It's    6     your article?
   7     never been reported before or since, so it would    7 A   No.
   8     be merely an assumption to say that a reputable     8 Q    Okay. I'm pulling up Exhibit 15 and I will just
   9     scientist had found those results. So, to take      9     tell you before we get into this that I have not
  10     the next leap and say whether it was consistent    10     taken the entire publication. What I have here,
  11     or not consistent with social contagion, my        11     I think, is the cover page, the table of
  12     hypothesis, is really not appropriate.             12     contents, and the editorial that appears as
  13 Q    Okay. I'm going to click over to Exhibit 14.      13     Section 1 to the publication. Do you recognize
  14        MR. FISHER: Gavin, can I interrupt for          14     this as those portions of that collection in
  15     just one second?                                   15     which your article appear?
  16        MR. ROSE: Of course.                            16 A    Yes.
  17        MR. FISHER: I just want to point something      17 Q    The editorial that appears indicates that one of
  18     out. Please go off the record for just one         18     the key objectives of the publication was "to
  19     second.                                            19     promote the campaign for a national, public
  20        (A discussion was held off the record.)         20     inquiry into the transgendering of children and
  21 Q    Doctor, I have in front of you right now what     21      adolescents." Do you see that?
  22     I've marked as Exhibit 14, and I assume that you   22 A    Yes.
  23     are familiar with this?                            23 Q    Is that your understanding as one of the key
  24 A   Yes.                                               24      objectives of the publication?
  25 Q   This is an article that you authored and was       25 A    Yes.

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   1 Q   Is that one of the reasons that you submitted       1     gender unicorn where further incorrect
   2     your article for inclusion?                         2     information is disseminated and propagated.
   3 A   Yes.                                                3     That's what we call the transgendering of
   4 Q   What is the transgendering of children and          4     children.
   5     adolescents?                                        5 Q   Your article, Exhibit 14, were you solicited to
   6 A   The transgendering refers to a process of           6     submit an article to that publication?
   7     persuasion that children are "born in the wrong     7 A    Well, the word "solicited" is slightly loaded.
   8     body," that their gender identity, however          8     I was invited to contribute an article.
   9     defined, does not align with their natal sex,       9 Q    And I wasn't trying to load anything. I was
  10     and the transgendering is the process whereby      10     asking whether they invited you or whether they
  11     medical professionals assist the child to bring    11     had an open call for articles and you just
  12     their sexed body into line with their reported     12     happened to submit one. But they invited you to
  13     gender identity using means such as puberty        13     submit an article?
  14     blockade, cross-sex hormones, and sex              14 A    I believe so, yes.
  15     reassignment surgery.                              15 Q    Okay. Did you submit your article for
  16 Q    In your declaration you refer on several          16     publication anywhere else?
  17     occasions to the "trans activist lobby." You're    17 A    Not that particular article. I did attempt to
  18     familiar with that, I assume?                      18     get it published in a peer-reviewed journal and,
  19 A    Yes.                                              19     unsurprisingly, it was not considered
  20 Q    Is the transgendering of children and             20     politically correct enough and so I was unable
  21     adolescents being accomplished or attempted by     21     to get it published.
  22     the trans activist lobby?                          22 Q    What journal was that?
  23 A    Absolutely.                                       23 A    The Archives of Sexual Behavior.
  24 Q    Is there anyone other than the trans activist     24 Q    And when did you submit it to that journal?
  25     lobby that is performing the transgendering of     25 A   A version of it was submitted about a year ago,

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   1     children and adolescents?                           1    maybe about that.
   2 A    Well, the lobby is an open social network that     2 Q So after it appeared in this collection?
   3     has a number of means of propagation, one of        3 A Probably.
   4     which is the Internet, social media, the            4 Q Other than that journal, did you submit it for
   5     misteaching of children, schools using              5    publication anywhere else?
   6     curricular that is scientifically incorrect, so     6 A I've done versions of it under invitation to
   7     they're being coquetted at very young ages, five    7    other sources and publications and so forth.
   8     and six.                                            8    It's never the same version. It's always
   9        If you have a look at some of the                9    tailored and very much shorter than the
  10     educational materials and curricula, children as   10    declaration. The declaration is probably the
  11     young as five and six are being told that girls    11   longest and most detailed version of my work on
  12     can have penises and boys can have vulvas and      12    this topic.
  13     there are crude drawings, anatomical drawings,     13 Q Other than the one peer-reviewed journal from
  14     for which children are not really ready and        14   which it was rejected, did you submit it to any
  15     should not be exposed. They're also being told     15    other peer-reviewed journals?
  16     that they can have whatever gender identity they   16 A I think I already answered that question and I
  17     like.                                              17    said no.
  18        And, furthermore, you know, there are other     18 Q Oh, I'm sorry. I thought you had two. I'm not
  19     means of propagation including this whole          19    trying to trick you up. I just don't have a
  20     movement of drag queen story time where drag       20    realtime transcript, so I apologize.
  21     queens go into schools and libraries, community    21 A The chapter that I submitted to the
  22     libraries, and other public places where very      22   Brunskell-Evans edited volume was peer-reviewed
  23     young children assemble and play and they're       23    and I just haven't really been focused on
  24     read transgender story books about transgender     24   peer-reviewed publications. (Inaudible) at the
  25     theories and transgender (inaudible) and a         25   moment having left the university to publish and


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   1   most of my colleagues have had the experience of     1    not appropriate.
   2   putting a huge amount of work into a paper and       2 Q Sorry. One second, please. I'm sorry, Doctor,
   3   not even get past the first round of reviews, so     3   my co-counsel heard something that I didn't hear
   4   I haven't pursued that avenue of dissemination,      4   and we're probably both wrong on one front or
   5    but I do have over 200 international                5    another.
   6    peer-reviewed journal articles. So I'm not          6       What role does whether or not a person has
   7   incapable of reaching a bar for peer review, but     7    had gender-affirming surgery play in your
   8    it's almost impossible to get articles critical     8    determination as to whether they are totally
   9   of the current transgender position past a peer      9    ruined as social human beings?
  10    review.                                            10 A What role does surgery play in ruining them? Is
  11 Q Okay. I'm back in your declaration right now        11    that what you're asking?
  12   and I am going to bring up, I guess, the end of     12 Q Sure, let's start there.
  13   Paragraph 140 and the beginning of Paragraph        13 A Okay. It's a significant traumatic insult on
  14    141. Do you see that in front of you?              14   the body to remove perfectly healthy organs, the
  15 A Yep, I do.                                          15    result of which will impair their sexual
  16 Q It appears to me that Paragraph 140 ends with a     16    function. Many of them suffer ongoing and
  17    quote from a British neurosurgeon about            17    significant medical complications including
  18    lobotomy; correct?                                 18    chronic pain, infection, fistulas, bleeding,
  19 A Yep.                                                19   and, you know, in the case of male to female,
  20 Q And then in Paragraph 141 you apply this quote      20    they have to constantly dilate which I'm told
  21   to the practice of transgendering children and      21    causes significant pain. Many of them are
  22    young people. Is that a fair summary?              22    sexually dysfunctional or are not able to feel
  23 A That's a fair summary.                              23   comfortable enough to expose their naked bodies
  24 Q And you have in that paragraph a statement that     24    to other people. So, to the extent that those
  25   "These young people are also 'totally ruined as     25   situations have eventuated from sex reassignment

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   1   social human beings.'" I assume that by "These       1     surgery, the answer to your question would be
   2   young people" there, you're referring to             2     yes.
   3   transgender persons?                                 3 Q   Do you believe that children who have been given
   4 A I'm referring to young people who have had their     4     access to gender-affirming medications, either
   5   bodies medically and surgically altered in a         5     puberty blockers or hormones, but have not had
   6   vain attempt to change their sex.                    6     surgery, do you believe that they are totally
   7 Q What does it mean to be totally ruined as a          7     ruined as social human beings?
   8   social human being?                                  8 A    I don't think it's fair that you characterize my
   9 A It means that one suffers, as I say later on in      9     view as everybody who's had gender-affirming
  10   that paragraph, pervasive mistreatment and          10     care of some kind or another are totally ruined
  11   violence, severe economic hardship and              11     human beings because it depends on the age of
  12   instability, discrimination, significant            12     the child, it depends on the nature of the
  13   negative physical and mental health impacts, and    13     treatment, what age it was commenced at, and,
  14   so forth.                                           14     you know, the kind of support they got and what
  15 Q Do you believe that the plaintiff children in       15     was the final outcome, but if your question was
  16   this case have been totaled ruined as social        16     about puberty blockade -- is that correct? Were
  17   human beings?                                       17     they totally ruined human beings?
  18 A I think they have suffered enormously. They're      18 Q    I said puberty blockers or gender-affirming
  19   very vulnerable young people and, I mean,           19     hormones, but if you have different --
  20   obviously, I wouldn't apply that phraseology to     20 A    Okay.
  21   very young children, you know, who still have       21 Q    -- for the two, please --
  22   the opportunity to be rehabilitated if they         22 A    Well, some of the adverse effects of puberty
  23   received the right care rather than the             23     blockade are -- I mean, I'm sure I'm not going
  24   one-size-fits-all care of gender affirmation for    24     to be able to include everything right at this
  25   which, you know, they are, in all likelihood,       25     moment, but the ones that come to mind are

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   1     questions of future fertility, bone density and   1        So, if we move to the adverse effects of
   2     bone grown and their final height. It carries     2   estrogen on males, we see things like, again,
   3     significant risks of weight gain and there are a  3   deep vein thrombosis, high triglycerides. Some
   4     significant number of children who report         4   of them will get hyperprolactinemia which means
   5     headaches and hot flashes and, more recently, a 5      they will start to have discharge from their
   6     phenomenon called pseudotumor cerebri which, if 6     nipples. They can develop a condition called
   7      not treated promptly, may cause blindness. 7         hyperkalemia which is excessive potassium which
   8          So this drug is not safe and, in some        8   can really upset the metabolic balance in the
   9      respects, it's not reversible because what it, 9     body which can affect the heart. Again, Type 2
  10      in fact, does is delay puberty including the 10       diabetes, hypertension, weight gain.
  11     growth of the sexual organs, and if the child 11           Yeah, these drugs are dangerous drugs.
  12     remains on puberty blockers for longer than two 12    They're synthetic dangerous drugs to be pumping
  13     years, the growth of their sexual organs may not 13    into young children and adolescents.
  14     return to what they would have been had they 14 Q And, just to be clear, Doctor --
  15     been allowed to mature without puberty blockade. 15 A I beg your pardon.
  16         The other thing that happens with puberty 16 Q I'm sorry, I didn't mean to cut you off there.
  17      blockade is, of course, their peers are going 17      I thought you were done.
  18     through puberty and so all of the factors that 18 A Well, I'm sure I've missed something, but that
  19     made them feel different and gender dysphoric in 19    will have to do for now.
  20     the first place are often exacerbated because 20 Q And, just to be clear, Doctor, you're not a
  21     they remain in a prepubertal state while what 21       medical doctor, are you?
  22     used to be their best friends and peers are all 22 A I'm not.
  23     moving into the next stage of development which 23 Q In your CV you make reference to what appears to
  24     is sexual maturation. So there are the possible 24    me to be a two-part podcast called The Medical
  25      problems caused by puberty blockade.            25   Scam of the Century. Do you know what I'm

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   1         So, if we move on to the cross-sex              1    talking about?
   2     hormones, some of the problems with prescribing     2 A I do know what you're talking about.
   3     testosterone to women are, of course, well,         3 Q Is it fair to say that you consider the
   4     first of all, the suppression of menses, the        4   "transgendering of children and adolescents" to
   5     permanent infertility, and ovarian uterine          5    be the medical scam of the century?
   6     atrophy that occurs with longer-term use often      6 A Yes.
   7     necessitating the removal of a young woman's        7 Q You're familiar, I assume, with the Australian
   8     uterus and ovaries because they atrophy and         8    Psychological Society; correct?
   9     cause enormous pain. Then we have clitoral          9 A Of course.
  10     discomfort, vaginal atrophy which, of course,      10 Q And, I'm sorry, I just forget. Is this one of
  11     makes sexual intercourse very difficult. They      11   the organizations you're still a member of or is
  12     often have cyst formation on the ovaries, pelvic   12    it something --
  13     pain, a condition called polycythemia which        13 A Yes, it is. Yes, I'm still a member.
  14     means that they develop too many red blood cells   14 Q And you're aware that this organization has
  15     which carry medical risks. There's increased       15   published an information sheet recommending
  16     dyslipidemia, acne, oily skin. Some of them        16   mental health practices that affirm transgender
  17     develop hypertension, some of them develop Type    17    people's experiences?
  18     2 diabetes, mood swings, increased frustration     18 A Yes.
  19     and anger and aggression, a risk for deep vein     19 Q And I'm pulling up Exhibit 16 for you. Do you
  20     thrombosis.                                        20    see that in front of you?
  21        That's what I can think of at the moment.       21 A Yes.
  22     I'm sure there are more, but, you know, these      22 Q You recognize this as that information sheet?
  23     drugs are touted as being, you know, oh, wow,      23 A Yes, I do.
  24     this is really going to get you what you want,     24 Q And you understand that, along with this, the
  25     but these issues are skated over, at best.         25   same organization published a one-page summary


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   1     of its information sheet; correct?                   1    as a summary term for the vast network of
   2 A    I do.                                               2    individuals and organizations who are
   3 Q    And I'm pulling up Exhibit 17. And you              3    propagating gender-affirming care.
   4     recognize this as that summary; correct?             4 Q Do you believe that the trans activist lobby has
   5 A    Correct.                                            5    a leader or a leadership structure?
   6 Q    You previously mentioned the Royal Children's       6 A The trans activist lobby, which is my summary
   7     Hospital in Melbourne; correct?                      7    term so that I don't have to list multiple
   8 A   Yes.                                                 8   individuals and organizations, is an open system
   9 Q   And my understanding is this is the largest          9   network so it's got many, many influencers and
  10     children's hospital in Melbourne?                   10   many networks and subnetworks that have, you
  11 A   Yes, it is.                                         11    know, been -- it's been a very, very effective
  12 Q   Is it the largest one in Australia? I just          12    marketing machine.
  13     don't know.                                         13        So it's got very great many modes, you
  14 A    No, there's the Westmead Children's Hospital and   14    know, that can attract children, so we've got
  15     the Prince of Whales Children's Hospital in New     15    TikTok, we've got Insta -- Instagram not so
  16     South Whales.                                       16   much. What are the others? I'm having a mental
  17 Q    But you're aware that it has published treatment   17   block about these websites, but there's many of
  18     guidelines for the treatment of transgender and     18   them that spend a great deal of time, you know,
  19     gender diverse children and adolescents;            19   attracting young people to these sites and, you
  20     correct?                                            20    know, talking to them in very positive terms
  21 A   Yes.                                                21   about transgendering and they can be whatever
  22 Q   And what's the relationship, if you know,           22    gender they like. And it often attracts young
  23     between The Royal Children's Hospital and           23    children who are marginalized and who are
  24     AusPATH?                                            24   looking for a group, looking to belong, looking
  25 A    Well, the director of the gender service at The    25    to be important and special.

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   1     Royal Children's Hospital is one of the              1        And, yeah, so it's not any one individual,
   2     coauthors of AusPATH.                                2   but I did do a social network diagram for what's
   3 Q   I'm pulling up for you what I have marked as         3   going on in Australia and the network consists
   4     Exhibit 18. Do you see that in front of you?         4    of politicians, sadly the Australian Human
   5 A   Yes, I do.                                           5   Rights Commission, the Commissioner for Children
   6 Q    You recognize these as the treatment guidelines     6   and Young People, the eSafety Commissioner.
   7     that have been published by AusPATH for the          7   They're all singing the same song and there's no
   8     treatment of transgender and gender diverse          8   capacity to (inaudible) the unanimous kind of
   9     children and adolescents?                            9    voice about gender-affirming care.
  10 A   Yes.                                                10        So, you know, I'm not being extremist or,
  11 Q    And these are the treatment guidelines that you    11   you know, it's not a conspiracy theory to call
  12     reference in your declaration occasionally as       12    it a trans lobby. It's a summary term for
  13     the AusPATH guidelines?                             13   what's happening in society currently and it's
  14 A    Yes.                                               14    very, very concerning.
  15 Q    And my understanding is that this is the           15 Q And the deep dive that you said you took -- and
  16     Australian body similar to WPATH?                   16   I'm sorry if I'm putting words into your mouth
  17 A    Yes.                                               17   -- into persons in power in Australia, it's my
  18 Q    We just briefly touched on this, but in your       18    understanding that that is available on your
  19     declaration you repeatedly describe the             19    website?
  20     influence of the trans activist lobby and I'm       20 A What particularly?
  21     wondering -- and maybe I asked you this or          21 Q I'm sorry, I will pull that up at the next break
  22     something close to this, but I'm wondering who,     22    and make sure we're talking about the same
  23     in your estimation, comprises the trans activist    23    thing.
  24     lobby.                                              24        I assume you believe that the trans
  25 A    Look, I think in a footnote I said I'm using it    25    activist lobby is global and not limited to

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   1    Australia; right?                                    1   this err of invulnerability that if you belong
   2 A Oh, absolutely.                                       2   to this group of gender-affirming care,
   3 Q And The Royal Children's Hospital in Melbourne        3   clinicians, politicians, teachers, et cetera,
   4    is a member of the lobby?                            4   then we have the truth. We have the absolute
   5 A Look, I don't want you to put that kind of            5   truth. And all I'm saying, people outside of
   6   notion into my mouth. I'm not kind of reifying        6   that network are saying: Please think about
   7   the transgender lobby as some, you know, star         7   alternatives, please think about possible harm,
   8    chamber organization that's infiltrating the         8   please think about irreversibility. And it's
   9   world, but The Royal Children's Hospital acts as      9   not happening.
  10    a major harbor of this open social network          10 Q Is it fair to say that you believe that the
  11   disseminating misinformation and advocating for      11  American Medical Association has been improperly
  12    gender-affirming care very strongly, both           12   influenced by the trans activist lobby?
  13    politically and in the courts. These are facts.     13 A Yes.
  14    They're not part of a conspiracy theory.            14 Q Is it fair to say that you believe the American
  15       The Australian standards of care have been       15   Psychiatric Association has been improperly
  16   strongly influenced by the WPATH guidelines and      16   influenced?
  17    the WPATH guidelines have been strongly             17 A Yes.
  18    influenced, so there's this mutual kind of          18 Q How about the American Psychological
  19    network of social influence to the point that       19   Association?
  20    you would call it brute think because if you        20 A Look, I've put a big list in my declaration and
  21    have a look at the early documents like the         21   if you have a look at all of their position
  22    standards of care, you'll see the same authors      22   statements, there's very little variation, you
  23    across different guidelines and standards of        23   know, between them and it's --
  24    care. So we've got Henriette van de Waal and        24 Q I'm sorry, Doctor. We're gonna be here all
  25   Peggy Cohen-Kettenis from the Amsterdam Clinic       25   night if you don't just answer the question.

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   1     who were authors of the 2006 Dutch protocol and     1 A Okay.
   2     we see their names appear repeatedly on these       2 Q The question was whether you believe the
   3     standards of care compilations over the last few    3   American Psychological Association has been
   4     years as well as the Endocrine Society. And         4   improperly influenced by the trans activist --
   5     there are other names as well that keep coming      5 A Yes.
   6     up like Louie Myer (phonetic) and so forth.         6 Q And the same for the Endocrine Society?
   7        So there is this group think that has            7 A Yes.
   8     developed around the guidelines including the       8 Q Earlier in your deposition I showed you what was
   9     Australian Psychological Society. It's one          9    Exhibit 8, the statement by the CAAPS
  10     voice speaking and there's no room for doubt.      10   organization that had been signed by a couple
  11     And, so, there is this collective                  11   dozen other organizations. Do you remember that
  12     rationalization of thinking where there's a lot    12    document?
  13     of -- you know, there's no admission of any        13 A Yes, I do.
  14     other alternative point of view. They don't        14 Q Is it fair to say that you believe that each of
  15     survey the alternatives and every time an          15    those organizations has been improperly
  16     alternative is offered like social contagion or    16    influenced by the trans activist lobby?
  17     like the fact that many of these gender diverse    17 A Well, they're part of it so they influence each
  18     children will grow up to be gay adults if left     18    other. It's a bidirectional influence.
  19     alone. They don't admit any other possible way     19 Q And the various Australian state governments
  20     of helping and managing these young people, so     20   that have passed bans on conversion therapy,
  21     they do not appraise properly the risks of their   21   have they been improperly influenced by the
  22     own preferred solution which is gender-affirming   22    trans activist lobby?
  23     care. They scoff at the idea of the                23 A Well, I mean, I'm afraid I have to seriously
  24     reversibility of some of their treatments. They    24    question their intellectual capacity to put a
  25     selectively choose information and they have       25   bill like the banning of conversion therapy into

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   1     parliament. It's an extremely poorly-worded        1    don't even adhere to their own standards of
   2     document and it's unlikely to catch anyone in      2   informed consent and most of them don't even
   3     its net, but what it has done is scare off         3   understand what constitutes informed consent.
   4     therapists from treating these children in any     4        MR. ROSE: Off the record for a sec.
   5     way whatsoever. So now there is an extreme         5        (A discussion was held off the record.)
   6     shortage of skilled child and adolescent           6 Q Doctor, you ready to power forward?
   7     therapists to help these young people because      7 A Sure.
   8     almost no one wants to touch this patient group    8 Q Chapter 2 of your declaration -- excuse me. You
   9     because of that legislation.                       9    have a separate what you call chapter of your
  10 Q    You understand, I assume, that a federal judge   10   declaration that specifically concerns the named
  11     in the Alabama case where you submitted an        11    plaintiffs in this case; is that fair?
  12     expert report issued an injunction against the    12 A Yeah.
  13     statute banning certain types of                  13        MR. ROSE: And, Tom, before we plow
  14     gender-affirming care for minors; correct?        14   forward, just a matter of housekeeping. We want
  15 A    Issued an injunction against gender-affirming    15   to make sure that Exhibits B, C, D, and E of the
  16     care?                                             16    doctor's declaration as well as I think they
  17 Q    I'm sorry, that's lawyer talk. Issued an order   17    will be Exhibits 20 and 21 of this deposition
  18     for preventing the statute from taking effect.    18   and any testimony about those are maintained as
  19 A    Yes.                                             19    confidential. I assume that's not an issue and
  20 Q    Is it your position that that judge was          20   we can obviously figure out how that needs to
  21     improperly influenced by the trans activist       21    work for the Court?
  22     lobby?                                            22        MR. FISHER: Right. Agreed. No objection
  23 A    I don't have an opinion on that.                 23    to that.
  24 Q    I'm pulling up for you what I have marked as     24 Q Okay, Doctor. Just very generally, have you
  25     Exhibit 19. Do you see that document in front     25    personally evaluated any of the plaintiffs?

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   1    of you?                                             1 A    As stated in my report, no, I haven't.
   2 A Yes.                                                 2 Q    Have you interviewed them at any time?
   3 Q I assume you're familiar with this?                  3 A    No.
   4 A Yes.                                                 4 Q    Have you interviewed any of their parents?
   5 Q These are the informed consent standards that        5 A    No.
   6   AusPATH has promulgated for gender-affirming         6 Q   Have you ever communicated in any fashion with
   7    hormone therapy?                                    7     either them or their parents?
   8 A Yeah.                                                8 A   No.
   9 Q I'm popping Exhibit 18 back up for you and my        9 Q   Have you ever communicated about the plaintiffs
  10   question to you is whether you use any portion      10     with any professional who has evaluated or
  11    of this document, the AusPATH treatment            11     treated any of them?
  12    guidelines, when you provide therapy to            12 A    No.
  13   transgender persons or persons who identify as      13 Q    It's fair to say that your opinions about them
  14    transgender.                                       14     come exclusively from a review of the medical
  15 A Was your question: Is there any part of the         15     records that you were provided; is that correct?
  16   document that says children should have therapy?    16 A    As stated in my report.
  17 Q My question was whether there's any portion of      17 Q    Sorry. That's a yes?
  18   this document that you rely on when treating a      18 A    Yes.
  19    patient who walks through your door.               19 Q   Do you have an understanding as to whether each
  20 A No.                                                 20     of the plaintiffs received mental health therapy
  21 Q And is the same true for Exhibit 19, the            21     before seeking or being prescribed either
  22    informed consent standards?                        22     puberty blockers or gender-affirming hormones?
  23 A There are more general informed consent             23 A    Did you say do I have an understanding?
  24   standards that every practicing clinician must      24 Q    Do you understand whether the plaintiffs
  25   adhere to, but the gender-affirming therapists      25     received mental health therapy before seeking or


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   1   being prescribed gender-affirming medications          1 Q But you still think the diabetes doctor, despite
   2    including puberty blockers?                           2   using the phrase "dysmorphic features," might
   3 A It wasn't entirely clear exactly what they             3   have been intending to reference K.C.'s gender
   4    received by way of psychotherapeutic support          4   dysphoria?
   5    because, as I say, in the documents before me         5 A Well, he then goes on to say "sweet transgender
   6    only vague references were made. So I didn't          6   girl," so it's ambiguous.
   7    see any process notes, I didn't see any case          7 Q Okay. I'm going to scroll down to Paragraph
   8    formulation, I didn't see any progress, goals,        8   229. Do you see that in front of you?
   9    or anything that one would normally see               9 A Yes. Yes.
  10    documented in a clinical process.                    10 Q You're describing here an assessment of M.W.
  11 Q Okay. I am bringing back up your expert report,       11   that you indicate took place on January 4th,
  12    Exhibit 2. Do you see that in front of you?          12   2022. Is that a fair statement?
  13 A Yeah.                                                 13 A Yes.
  14 Q I am going to scroll down to Paragraph 198.           14 Q My review of the medical records, I'll just tell
  15    Okay. Do you see Paragraph 198 and the               15   you, does not reveal anything from January 4th
  16    associated footnote 34?                              16   but does indicate that M.W. had an initial
  17 A Yes.                                                  17   evaluation at Riley Gender Health Connect on
  18 Q In this portion of your declaration you're            18   April 14th, 4/14/22. Is it possible that you
  19    describing a visit that Plaintiff K.C. had with      19   simply got the dates wrong?
  20   the doctor managing her Type 1 diabetes. Do you       20 A Well, given that I had to scroll through
  21    see that?                                            21   literally thousands of pages on Notepad
  22 A Yeah.                                                 22   formatting, it is possible I got the date wrong.
  23 Q And you underscore in your report that K.C. was       23   And, also, Americans reverse the date and month
  24   reported to have "no dysmorphic features." Do         24   and it may have occurred for one of those two
  25    you see that language?                               25   reasons.

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   1 A    Yes.                                                1 Q I understand that and I'm not blaming you. And,
   2 Q    And you speculate in the footnote that it's         2   for the record, I did go through other portions
   3     unclear whether the doctor meant dysphoric or        3   of your declaration to see whether you were
   4     dysmorphic or was --                                 4   adopting the American style of month/day or
   5 A   Yes.                                                 5   whether you were not. I'm certainly not blaming
   6 Q   -- using the terms interchangeably; is that          6   you.
   7     correct?                                             7       In your report of this encounter you
   8 A   Yes.                                                 8   indicate that M.W. was neutral about certain
   9 Q    I assume you understand that gender dysphoria       9   secondary sexual characteristics, satisfied with
  10     and body dysmorphic disorder are two entirely       10   other things, and also neutral about
  11     separate diagnoses; right?                          11   characteristics such as hair, voice, and general
  12 A    They're not two entirely separate diagnoses, but   12   appearance. I understand that I'm not quoting
  13     they have different emphases.                       13   everything, but you see the language I'm
  14 Q    And they're listed separately in the DSM;          14   referencing; right?
  15     correct?                                            15 A Yes. Yes.
  16 A    Yes.                                               16 Q And you underlined "voice"; right?
  17 Q    Do you have an understanding that persons with     17 A Uh-huh.
  18     diabetes are more likely to develop an eating       18 Q Sorry. Yes?
  19     disorder that might lead to body dysmorphia?        19 A Yes.
  20 A    Yes.                                               20 Q Why did you underline "voice"?
  21 Q    So do you agree that for a doctor managing a       21 A Because voice is one of the characteristics
  22     patient's diabetes whether a patient displays       22   around which young people claim extreme
  23     dysmorphic features might be particularly           23   dysphoria.
  24     noteworthy?                                         24 Q So is it fair to say that you underlined "voice"
  25 A    Yes.                                               25   because you thought M.W. being neutral about

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   1   that was more noteworthy than some of the other      1 A Yeah.
   2    items reported?                                     2 Q I assume you were provided a copy of that
   3 A Yes.                                                 3    pre-intake paperwork itself as well?
   4 Q I'm going to flip over to what I've marked as        4 A As I said, but not in this form.
   5    Exhibit 20 which, as you will see, is the           5 Q Okay. I understand the formatting might have
   6    encounter on April 14th, 2022. And I will           6   changed, but I'm flipping over to Exhibit 21 and
   7   scroll down to, I guess, Page 3 of the document      7   I will ask you whether this appears to you to be
   8   using the PDF page numbers. I have highlighted       8    the pre-intake paperwork for M.W. that is
   9    a couple aspects of the report there. Do you        9    summarized in Exhibit 20.
  10    see the portions I have highlighted?               10 A I don't believe I've seen that document.
  11 A Yes.                                                11 Q Okay. Is there a reason you would not have seen
  12 Q And I will just tell you that this -- and I'm       12    it?
  13    not trying to trick you. I can scroll back and     13 A I don't know. I would remember that if I had
  14    forth if you want me to. The language I            14    seen it and I haven't seen it.
  15   highlighted matches almost verbatim the language    15 Q I'm going to scroll down just a little and I
  16    that you report in Paragraph 229 of your           16    will represent to you this is the self-report
  17    declaration. Is it fair to say that this is the    17   portion and I'm on Page 6 right now. Do you see
  18    document that you were looking at?                 18   the highlighted portion about how M.W. feels
  19 A Well, I didn't get it in that form. In that         19    about his breasts?
  20    form it's actually interpretable, but I got it     20 A Yes.
  21   in incredibly narrow paragraphs and the average     21 Q And you acknowledge that he indicates that he
  22    scores were kind of above the text                 22    was very dissatisfied with them?
  23    interpretation so it was quite difficult for me    23 A Yep.
  24    to make sense of it. I mean, presented like        24 Q I'm scrolling down just a little bit farther.
  25   that, it looks much more interpretable than the     25   You see the same thing about voice and chest?

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   1    form that I got it in which was a Notepad           1 A Yes.
   2    document.                                           2 Q And I'm looking at Page 7 now, but you see that
   3 Q So is it possible that you misinterpreted M.W.'s     3    M.W. actually reported that he was very
   4   medical records as you were going through them?      4    dissatisfied with his voice?
   5 A I hope I didn't. I took great care not to, but       5 A Yes.
   6    it looks as if I did not misinterpret anything      6 Q So is it fair to say that the statement in your
   7    on this occasion.                                   7    declaration that M.W. was neutral about his
   8 Q Okay. And all of the medical records that you        8    voice is inaccurate?
   9   reviewed, did you receive them all in the same       9 A According to the document that I reviewed, no,
  10    format that was difficult to read?                 10    it's not inaccurate because that was the
  11 A Most of them were in Notepad format. I got a        11    information in front of me, but, as I said in
  12   couple that were scanned Word or PDF documents,     12   the beginning of my Chapter 2, that had I been
  13   but they weren't like -- the text was fuzzy, and    13   presented with any information subsequent to my
  14   they were the two primary forms in which I got      14   report, it might cause me to change my opinion.
  15    the records.                                       15         And just because a child says they're
  16 Q And the Notepad format was the one that you were    16    dissatisfied with their breasts and voice, it
  17    indicating was difficult to read?                  17   doesn't mean that you automatically jump into a
  18 A Yeah, and I had hundreds of those files to go       18   diagnosis of gender dysphoria and send them off
  19    through.                                           19    for gender-affirming care.
  20 Q Okay. I will scroll up just a little bit on         20 Q Okay. Well, we've established that Exhibit 20
  21    Exhibit 20 now to the top of that Page 3. It       21    which indicates "Tended to report feeling
  22    looks to me like what Page 3 is doing here is      22    neutral about characteristics such as hair,
  23   providing a summary of the intake paperwork that    23   voice, and general appearance" is what you were
  24   M.W. and, under the caregiver's portion, M.W.'s     24   looking at for that portion of your declaration;
  25    parents completed. Is that fair?                   25    correct?

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   1 A Correct.                                             1     need to express a global dissatisfaction with
   2 Q I'm going to scroll up on the same document then     2     their body overall. I mean, you know, quite
   3    to the top of Page 2 where it says that M.W.        3     often children will not like something about
   4    "Reports feeling significant dysphoria related      4     themselves. I don't like my hips or I don't
   5   to chest, voice, and menstrual periods." Do you      5     like my shoulders. That doesn't make them
   6    see that?                                           6     either body dysmorphic or gender dysphoric.
   7 A Yep.                                                 7        So, perhaps, it would've been better to put
   8 Q And do you still think it was accurate for you       8     "most" rather than "all," but I was just drawing
   9   to report that M.W. is neutral about his voice?      9     that point so that people wouldn't misconstrue
  10 A From the documents that were in front of me, I      10     that one dissatisfaction or a few
  11    reported that accurately.                          11     dissatisfactions would meet criteria.
  12 Q This is part of the same document, Doctor.          12 Q    Let me put it this way, Doctor. Is "all" in
  13 A Look, I would like you to have a look at the        13     parentheses because the rest of that sentence is
  14    Notepad files that I was sent. They were           14     a direct quote from the DSM-5 criteria for
  15   disjointed. They didn't necessarily even follow     15     gender dysphoria?
  16    one sentence continuing on the next line.          16 A   Yes, it is. I am quoting from the criteria from
  17   Sometimes I had to scroll down several lines to     17     DSM.
  18   get the end of a sentence. I was under extreme      18 Q   So you added the word "all" to the criteria?
  19   time pressure. I was given some medical records     19 A   Well, I probably did add it, yes, for emphasis.
  20   two days before I had to file my report. I was      20 Q   Okay. Doctor, I was reading an interview that's
  21    up all night for three nights in a row trying to   21     linked from your website to a website called
  22    complete the work.                                 22     xxxkidernet.com. Are you familiar with the
  23       But, even under all of those circumstances,     23     interview that I'm referencing?
  24    even if a young child reports dysphoria in         24 A    Yep.
  25   relation to chest, voice, and menstrual periods,    25 Q    And I don't have it up in front of me, but I did

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   1    I do not jump to the conclusion that this child     1     copy this quote. And I'm going to read this
   2    is suitable for gender-affirmation care.            2     quote to you and then the questions I'm going to
   3 Q And the circumstances you described about your       3     ask is going to be whether you recall making
   4    difficulties reviewing the medical records, I       4     this statement and whether it is an accurate
   5    assume that applies to the medical records of       5     statement of your beliefs.
   6    all four plaintiffs?                                6         You were quoted as saying, "Transgender
   7 A Well, most of them were given to me in that          7     advocates state that in transgenderism -- the
   8    format, in Notepad format.                          8     belief/assumption that one has been born in the
   9 Q Is that a yes?                                       9     wrong body -- the body must be aligned to one's
  10 A Yes.                                                10     gender belief, not one's belief to one's
  11 Q Okay.                                               11     biological body. They assume that the mind is
  12 A But I didn't just rely on those medical records.    12     correct in its perceptions and beliefs and the
  13   I also was given the declarations of the parents    13     body is diseased and must be treated."
  14   and I had the parent reports from their lawyers     14        Do you recall making that statement or
  15    as well, so it was multiple sources of             15     something similar to it?
  16    information.                                       16 A    Yes.
  17 Q I'm back in Paragraph 229 of your declaration.      17 Q   And is what I quoted an accurate statement of
  18    In the middle of this paragraph you say "there     18     your beliefs?
  19   is no evidence of a marked incongruence between     19 A   Yes.
  20   M.W.'s experienced/expressed gender and (all)       20 Q   When you provide psychotherapy to a transgender
  21   primary and/or secondary sex characteristics."      21     patient or a patient identifying as transgender,
  22   Do you see the language that I have just quoted?    22     is one of your methods to attempt to align their
  23 A Yeah.                                               23     belief to their biological body?
  24 Q Why is "all" in parentheses?                        24 A    This is a grave misunderstanding of the process
  25 A Because, generally speaking, the child would        25     of exploratory psychodynamic psychotherapy. I


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   1     don't try to do anything except provide a safe      1     trying to talk.
   2     space for the young person to know their true       2         MR. FISHER: Is there any reason you can
   3     feelings and to express them, and whatever          3     just make it bigger for the doctor?
   4     conclusion they draw at the end of the              4         MR. ROSE: Oh, I had no idea, Tom.
   5     psychotherapeutic process is not any attempt on     5 Q    I'm sorry, Doctor, I didn't realize you were
   6     the part of the therapist to engineer a             6     leaning forward to try to read it.
   7     particular outcome.                                 7 A    Right.
   8        And what I find in the majority of cases is      8 Q    Is this better for you?
   9     that after the first few sessions the child just    9 A    Yes. Thank you. Yes.
  10     stops talking about gender dysphoria and wanting   10 Q    Okay. I'm sorry, Doctor, let me repeat the
  11     to transition and we start talking about their     11     question. The question was whether this
  12     emotional distress and pain in relationship to     12     presentation was given at a conference of some
  13     what is happening in their primary attachment      13     sort.
  14     relationships and also other issues that are of    14 A    Yes, it was, yes.
  15     great concern to them such as bullying and         15 Q    Did you give it in person, online?
  16     discrimination, isolation, lonliness, a fear of    16 A   Given that it's November '21, it was probably
  17     not meeting expectations. Many of them have        17     online.
  18     very deeply entrenched self-punity, internalized   18 Q   It would have been a conference of the Society
  19     self-punity xxthat need to be dealt with and       19     for Evidence-based Gender Medicine?
  20     often we have to deal with how they manage their   20 A    No, not necessarily. I'm just characterizing --
  21     emotional distress through self harm.              21     I'm just situating myself as a member of that
  22        So every time a child or anybody comes into     22     organization.
  23     an exploratory psychodynamic psychotherapy it's    23 Q   Gotcha. And I don't know where I got this from,
  24     what's on the mind of the patient, what the        24     but it's in my notes so I'll just ask you. Was
  25     patient brings to that session that the            25     this given at a conference of the National

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   1     therapist focuses on. So, no, I do not have a     1    Association of Practicing Psychiatrists?
   2     goal of aligning anything with anything else.     2 A Oh, that's highly likely, yes.
   3 Q    Okay.                                            3 Q I'm positive I saw it somewhere, but I don't
   4 A    It's to support the young person to understand   4    know where I got that from. Is that an
   5     themselves better.                                5    Australian organization?
   6 Q    Okay, Doctor. I'm going to pull up what I have 6 A Yeah, it's a national organization, yes.
   7     marked as Exhibit 22. Do you see that in front 7 Q But the nation of Australia?
   8     of you?                                           8 A The nation of Australia.
   9 A    Uh-huh.                                          9 Q I assumed by how practicing was spelled.
  10 Q    Sorry. ?                                        10       Okay. And what we have here is the
  11 A    Yes.                                            11   PowerPoint, I assume, that accompanied this
  12 Q    That's for the court reporter, not for me.      12    presentation?
  13 A    I understand. I understand.                     13 A Yes.
  14 Q    You recognize this as a presentation that you 14 Q Did you create the PowerPoint yourself?
  15     gave in November 2021 to the organization that 15 A Yes, I did. This is a presentation of a
  16     we previously called SEGM?                       16   distillation of my theory development of what is
  17 A    Yes.                                            17   required in assessment and therapy of young
  18 Q    And this presentation is not listed on your CV. 18   people presenting with gender dysphoria, so,
  19     Does this refresh your recollection as to        19    yeah, it is a model that I've developed.
  20     whether there are presentations that you         20 Q Okay. And on the very last page of your
  21     omitted?                                         21    presentation you included an image of what
  22 A    Right. Okay. I'll be sure to add it next time. 22    appears to be a rose with the verbage "TRANS IS
  23 Q    Was this presentation given at a conference of 23     NOT BEAUTIFUL," correct?
  24     some sort?                                       24 A Yes.
  25         MR. ROSE: You're on mute, Tom, if you're 25 Q Do you consider this image to be a hateful one?

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   1 A The image with or without the "NOT"?                 1   and the child appears happier in the short term.
   2 Q As you presented it at the conference.               2        But most studies show that pubic blockade
   3 A Hate was not in my heart. Why didn't you show        3    has no positive effect on mental health
   4    more interest in the slides in between?             4    presentations. It's just a placebo effect, but
   5        MR. ROSE: Doctor, I have no further             5    it feels like magic at the time.
   6   questions. Thank you very much for your time         6 Q So, in that circumstance then, because there was
   7    this morning for you/this evening for us.           7    that honeymoon period, the family would
   8        MR. FISHER: Can we take maybe 20 minutes?       8    discontinue seeing you at that point?
   9        (A recess was taken.)                           9 A Yes. Yes, they would discontinue other forms of
  10 CROSS-EXAMINATION,                                    10    therapy.
  11    QUESTIONS BY THOMAS M. FISHER:                     11 Q Okay. Alright. Later in Mr. Rose's questioning
  12 Q Dianna, you were asked earlier by Mr. Rose about    12   he asked about so-called conversion therapy bans
  13    -- and this was a while ago so I'm certainly       13   in some of the Australian states. Do you recall
  14   paraphrasing here, but I think the discussion       14    that discussion?
  15    was treatment of children who had started          15 A Yes, I do.
  16    puberty blockers. Do you remember that             16 Q And I think that the sum and substance was
  17    discussion?                                        17   pretty much all of those so-called conversion
  18 A Yes.                                                18   therapy bans were materially identical. Is that
  19 Q And I think the question from Mr. Rose was          19    your recollection?
  20   something along the lines of: Well, did you         20 A Yes.
  21   continue treating them, that child? And you         21 Q Tell us about what that means, the conversion
  22    said no. And then the follow-up, of course,        22   therapy bans that those Australian states have
  23   was: Well, why not? And your response was           23   enacted. What, in particular, are they trying
  24   something like: Well, they had found the magic      24    to ban?
  25    solution. And that was the end of the              25 A Well, they're actually based on a completely and


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   1    discussion. Do you remember that?                   1     utter red herring. I don't know if you know
   2 A Yes.                                                 2     that expression in America, but it means that
   3 Q Okay. So I was hoping you could explain to us a      3     it's a (inaudible). It's just based on
   4   little bit more about what you meant when you        4    shimmering sand because what they're claiming --
   5    said that.                                          5     like conversion therapy is defined as trying to
   6 A What I meant was that families go through a lot      6     change the sexual orientation of homosexual
   7   of heartache when a child declares themselves        7     individuals to heterosexual, and there was some
   8   transgender, not all but most, and parents have      8     conversion therapy practiced many, many years
   9    difficulty tolerating their children's distress     9     ago, decades ago, and maybe there are tiny
  10   and most parents want to do what's going to make    10     little pockets in religious groups and so forth
  11   their children happy. And by "magic solution,"      11     that is still trying to practice that but it's
  12    I'm referring to a treatment that they've been     12     certainly not accepted in mainstream medicine,
  13   convinced is going to improve their child's not     13     and it has never been practiced in its form,
  14    only gender dysphoria but all the comorbid         14     which was created for homosexuality, on
  15    presentations that the child has as well.          15     transgender individuals. So there is no such
  16        And there is, not always but very, very        16     thing as conversion therapy for transgender
  17   often, a honeymoon period where everything seems    17     individuals.
  18    to settle down. It's like, you know, the child     18         And the definition of conversion therapy is
  19    is getting this almost magic treatment that's      19     a question that Mr. Rose put to me about my
  20   going to take away all the gender dysphoria and     20    psychotherapy and that is: Do you aim to change
  21    everybody then breathes a sigh of relief, but      21     the child's perception of the gender identity to
  22    they're really breathing a sigh of relief over     22     align with their body? Now, that's conversion
  23    this very short-term period and all the            23     therapy, but psychotherapy doesn't try to do
  24   complications that may come in the future are       24     that.
  25    brushed aside because peace is being restored      25        So the only conversion therapy is

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   1    gender-affirming care. It doesn't exist in any      1    last slide, you, I think, made a comment about
   2    other form and it's a defunct treatment. It's       2    how you wished he would be more interested in
   3   proven to be inhumane, unethical, and medically      3   what came before that. Do you remember making
   4    ineffective. So it's all part, I'm sorry to         4    that comment?
   5    say, you know, the transgender machinery,           5 A Yes, I do. Yes.
   6   building up straw men to attack and pull down,       6 Q I was wondering what sparked that. What was it
   7   and then there was so much dancing in the street     7   that you had hoped Mr. Rose would have been more
   8   when these conversion therapy laws got through       8    interested in?
   9    parliament.                                         9 A Well, it was a very serious presentation
  10 Q What can you do in your practice that               10    presenting a new model of therapy that has not
  11    psychologists in those states with conversion      11    been presented before or outlined, you know,
  12   therapy bans cannot do when it comes to treating    12    actually put into a coherent form so that
  13    gender dysphoria?                                  13    clinicians can meet and discuss, compare notes,
  14 A Well, there's two ways of looking at it. One is     14    and, you know, talk about the process of
  15    that anything that isn't gender-affirming care     15    psychotherapy. So it was the result of, you
  16    may be interpreted as conversion therapy, but      16    know, four to five years of very intense study
  17   you can only be prosecuted under that act if an     17   on the subject and, you know, working constantly
  18   actual patient makes a complaint about you. So      18   with young gender dysphoric people, and to go to
  19    a trans group or an advocacy group making a        19    the last slide, I mean, all we saw was the first
  20    complaint that they know you're practicing         20    slide and the last slide, which I think is a
  21    something other than gender-affirming care         21    little bit cheap.
  22   cannot bring a complaint, so the patient or the     22 Q And what about that last slide that said, as I
  23    patient's parent needs to directly complain        23   reall, it had said "TRANS IS BEAUTIFUL" and you
  24    about you.                                         24  put the word "NOT" in, "TRANS IS NOT BEAUTIFUL."
  25        But, in reality, it carries 18 months jail     25    Do you remember that?

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   1    and a $30,000 fine if you're convicted under        1 A Yes, I do, yes.
   2   this act, but I doubt very much whether anybody      2 Q What did you mean by that?
   3    could be convicted under that act because           3 A Well, if you look at the foregoing slides, you
   4   conversion therapy is not even defined properly      4    would see that the life of young people after
   5   in these new laws and it's never been practiced      5    they transition is actually worse in so many
   6   to anybody's knowledge in the transgender space.     6   ways compared to before they transition. Yes,
   7 Q But, just to be clear, your understanding of         7   they're already having difficulties, there are a
   8    those laws is that they mean to say that            8    lot of problems, a lot of comorbidities, but
   9    anything other than gender-affirming care is        9   when you look at studies that show what happens
  10    conversion therapy?                                10    to these young people after they transition,
  11 A Yes.                                                11    that's when the suicide rate increases.
  12 Q Okay. Then at the end of Mr. Rose's                 12       A long-term Swedish study that followed up
  13   questioning, he brought up a slide at the end of    13   people who'd had transgender surgery for 30
  14    a long presentation that you gave, I think, and    14    years showed that their suicide rate was 19
  15    -- well, first of all, do you recall what that     15    times higher than in the general population
  16    presentation was?                                  16    matched for age and sex. So transgender
  17 A Yes, I do. Yes, I was presenting my new model       17   cross-sex hormones and sex reassignment surgery
  18    of exploratory psychodynamic psychotherapy         18    does not cure suicidality. It actually
  19    starting with what I thought were essential        19    exacerbates it.
  20   assessment examinations that need to be done at     20       And the same goes for the other common
  21   the beginning, and then I outlined some of what     21   comorbidities that you see with young people
  22    I believe underlies the genesis of gender          22   premorbid and that is vastly increased rates of
  23   dysphoria and then how I work with the family to    23    depression, suicide, self harm, acting out,
  24    resolve some of those issues.                      24    unemployment, homelessness.
  25 Q Well, and when Mr. Rose was asking you about the    25       And that was my summary way of saying

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   1      becoming transgender is not beautiful. In other       1   the employ of the attorneys for either party.
   2      words, it's not la dolce vita, the beautiful          2     IN WITNESS WHEREOF, I have hereunto set my hand
   3      life that people envisage/fantasize about             3   and affixed my notarial seal this _____ day of
   4      because their previous life was so difficult and      4   _______________, 2023.
   5      in some cases traumatic. So it was part of a          5
   6      whole kind of complex constellation of factors        6
   7      that I had been talking about previously.             7                 ____________________________
   8         MR. FISHER: I don't have any further                                    Brandy L. Bradley, RPR
   9      questions.                                            8
  10         MR. ROSE: Just another hour, hour and a            9   Commission No. NP0682101
  11      half maybe, Doctor. Doctor, it's 11 o'clock at       10   My Commission Expires:
  12      night here. My boss is in my office and I have            April 13, 2024
  13      been told that if I ask you a single question, I 11
                                                           12
  14      will be fired on the spot, so I have no further      13
  15      questions.                                           14
  16         MR. FISHER: We'll take signature.                 15
  17   AND FURTHER THE DEPONENT SAITH NOT.                     16
  18                                                           17
  19                __________________________                 18
                    PROFESSOR DIANNA T. KENNY                  19
  20                                                           20
  21                                                           21
  22                                                           22
  23                                                           23
  24                                                           24
  25                                                           25


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       STATE OF INDIANA )                                       1   (Originating Party)
   1                                                                Gavin M. Rose
                  ) SS:                                         2   ACLU of Indiana
                                                                    1031 W. Washington Street
   2   COUNTY OF HAMILTON                 )                     3   Indianapolis, IN 46202
   3      I, Brandy L. Bradley, RPR, a Notary Public in         4
                                                                             NOTICE OF DEPOSITION FILING
   4   and for the County of Hamilton, State of Indiana at      5
                                                                6           UNITED STATES DISTRICT COURT
   5   large, do hereby certify that PROFESSOR DIANNA                       SOUTHERN DISTRICT OF INDIANA
   6   T. KENNY, the deponent herein, was by me first duly      7              INDIANAPOLIS DIVISION
                                                                             NO. 1:23-cv-00595-JPH-KMB
   7   sworn to tell the truth, the whole truth, and nothing    8
       but the truth in the above-captioned cause;              9   K.C., et al.,            )
   8                                                                                     )
   9      That the foregoing deposition was taken on           10          Plaintiff(s),     )
                                                                                         )
  10   behalf of the Plaintiffs at the remote location of      11      -vs-                )
       the witness, Sydney, New South Whales, Australia, on 12
                                                                                         )
  11                                                                THE INDIVIDUAL MEMBERS OF THE )
  12   the 30th day of May, 2023, pursuant to the Applicable 13     MEDICAL LICENSING BOARD OF                 )
                                                                    INDIANA, in their official     )
  13   Rules;                                                       capacities, et al.,        )
           That said deposition was taken down in              14                        )
  14                                                                       Defendant(s).        )
  15   stenograph notes and afterwards reduced to              15
                                                               16      In compliance with the Indiana Rules of
  16   typewriting under my direction, and that the                 Procedure, Federal Rules of Civil Procedure and/or
  17   typewritten transcript is a true record of the          17   the Rules of the Industrial Board, you are notified
                                                                    that the signed original deposition of PROFESSOR
  18   testimony given by said deponent, and thereafter        18 DIANNA T. KENNY, taken on the 30th day of May, 2023,
                                                                    has been sealed and submitted to the originating
  19   presented to said deponent for his/her signature;       19   party, along with the attached Errata Sheet(s), if
  20       That the parties were represented by their               applicable.
                                                               20
  21   aforementioned counsel.                                 21         --------------------------------------
                                                                         (Date received by Circle City Reporting)
  22       I do further certify that I am a disinterested      22
  23   person in this cause of action; that I am not a         23                CIRCLE CITY REPORTING
                                                                               135 N. Pennsylvania Street
  24   relative or attorney of either party, or otherwise      24                    Suite 1720
                                                                                Indianapolis, IN 46204
  25   interested in the event of this action, and am not in 25                    (317) 635-7857

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                                                      EXHIBIT                             4
                                                      Witness: Kenny
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                                                      Stenographer: Brandy Bradley, RPR




                   Change or Suppression (Conversion) Practices
                              Prohibition Act 2021
                                             No.           of 2021


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              Clause                                                 Page

              Endnotes                                                 45
               1       General information                             45




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                Change or Suppression (Conversion)
                  Practices Prohibition Act 2021 †
                                   No.          of 2021

                                          [Assented to                         ]


              The Parliament of Victoria enacts:

                               Part 1—Preliminary
                                 Division 1—General
                   1 Purposes
                           The main purposes of this Act are—
                             (a) to denounce and prohibit change or
                                 suppression practices; and
                             (b) to establish a civil response scheme within
                                 the Victorian Equal Opportunity and Human
                                 Rights Commission that will—


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                                    (i) promote understanding of the
                                        prohibition on change or suppression
                                        practices under this Act and matters
                                        relating generally to change or
                                        suppression practices; and
                                   (ii) consider and resolve reports of change
                                        or suppression practices; and
                                   (iii) investigate serious or systemic change
                                         or suppression practices; and
                              (c) to prohibit engaging in change or
                                  suppression practices, including through
                                  creating offences in relation to engaging in
                                  change or suppression practices and certain
                                  related activities; and
                              (d) to amend the definitions of sexual
                                  orientation and gender identity in the Equal
                                  Opportunity Act 2010; and
                              (e) to include sex characteristics as a protected
                                  attribute under the Equal Opportunity
                                  Act 2010; and
                              (f) to make consequential amendments to
                                  certain Acts.
                   2 Commencement
                       (1) Subject to subsection (2), this Act comes into
                           operation on a day or days to be proclaimed.
                       (2) If a provision of this Act does not come into
                           operation within the period of 12 months
                           beginning on the day on which this Act receives
                           the Royal Assent, it comes into operation on the
                           day after the end of that period.




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                   3 Objects of this Act
                       (1) The objects of this Act are—
                              (a) to eliminate so far as possible the occurrence
                                  of change or suppression practices in
                                  Victoria; and
                              (b) to further promote and protect the rights set
                                  out in the Charter of Human Rights and
                                  Responsibilities; and
                              (c) to ensure that all people, regardless of sexual
                                  orientation or gender identity, feel welcome
                                  and valued in Victoria and are able to live
                                  authentically and with pride.
                       (2) In enacting this Act, it is the intention of the
                           Parliament—
                              (a) to denounce and give statutory recognition to
                                  the serious harm caused by change or
                                  suppression practices; and
                              (b) to affirm that a person's sexual orientation or
                                  gender identity is not broken and in need of
                                  fixing; and
                              (c) to affirm that no sexual orientation or gender
                                  identity constitutes a disorder, disease,
                                  illness, deficiency or shortcoming; and
                              (d) to affirm that change or suppression
                                  practices are deceptive and harmful both to
                                  the person subject to the change or
                                  suppression practices and to the community
                                  as a whole.




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                   4 Definitions
                            In this Act—
                            associate, in relation to a body corporate, means
                                 the following—
                                    (a) an employee or agent of the body
                                        corporate to the extent that the
                                        employee or agent is acting within the
                                        actual or apparent scope of their
                                        employment or within their actual or
                                        apparent authority;
                                    (b) an officer of the body corporate;
                            Australian Health Practitioner Regulation Agency
                                 means the Australian Health Practitioner
                                 Regulation Agency established by section 23
                                 of the Health Practitioner Regulation
                                 National Law;
                            board of directors means the body (by whatever
                                name called) exercising the executive
                                authority of a body corporate;
                            change or suppression practice has the meaning
                                given by section 5;
                            Chief Commissioner of Police means the Chief
                                 Commissioner within the meaning of the
                                 Victoria Police Act 2013;
                            Commission has the same meaning as it has in the
                               Equal Opportunity Act 2010;
                            Commissioner has the same meaning as it has in
                               the Equal Opportunity Act 2010;
                            compliance notice means a compliance notice
                                issued under section 45(1);
                            corporate culture of a body corporate means an
                                 attitude, policy, rule, course of conduct or
                                 practice existing within the body corporate



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                                  or within a part of the body corporate, as the
                                  case requires;
                            Director of Public Prosecutions means the
                                 Director of Public Prosecutions appointed
                                 under section 87AB of the Constitution
                                 Act 1975;
                            enforceable undertaking means an undertaking
                                 accepted under section 43;
                            gender identity has the same meaning as it has in
                                the Equal Opportunity Act 2010;
                            Health Complaints Commissioner means the
                                Commissioner within the meaning of the
                                Health Complaints Act 2016;
                            health service has the same meaning as it has in
                                 the Health Practitioner Regulation National
                                 Law;
                            health service provider has the same meaning as
                                 it has in the Health Practitioner Regulation
                                 National Law;
                            IBAC means the Independent Broad-based Anti-
                                corruption Commission established by the
                                Independent Broad-based Anti-corruption
                                Commission Act 2011;
                            injury has the same meaning as it has in
                                 section 15 of the Crimes Act 1958;
                            investigation means an investigation under
                                 section 34;
                            officer, in relation to a body corporate, means an
                                  officer (as defined by section 9 of the
                                  Corporations Act) of the body corporate to
                                  the extent that the officer is acting within the
                                  actual or apparent scope of their employment
                                  or within their actual or apparent authority;




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                            Ombudsman means the person appointed as the
                               Ombudsman under section 3 of the
                               Ombudsman Act 1973;
                            organisation means an unincorporated body or
                                association, whether the body or
                                association—
                                    (a) is based in or outside Australia; or
                                    (b) is part of a larger organisation;
                            person affected by a change or suppression
                                 practice means a person towards whom a
                                 change or suppression practice is being, or
                                 has been, directed;
                            police officer has the same meaning as it has in
                                 the Victoria Police Act 2013;
                            produce includes permit access to;
                            protected information has the meaning given by
                                 section 50;
                            serious injury has the same meaning as it has in
                                 section 15 of the Crimes Act 1958;
                            sexual orientation has the same meaning as it has
                                in the Equal Opportunity Act 2010;
                            Tribunal means the Victorian Civil and
                                 Administrative Tribunal established by the
                                 Victorian Civil and Administrative
                                 Tribunal Act 1998;
                            Victoria Police has the same meaning as in the
                                 Victoria Police Act 2013;
                            Victorian Inspectorate means the Victorian
                                 Inspectorate established by the Victorian
                                 Inspectorate Act 2011.




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                   5 Meaning of change or suppression practice
                       (1) In this Act, a change or suppression practice
                           means a practice or conduct directed towards a
                           person, whether with or without the person's
                           consent—
                              (a) on the basis of the person's sexual orientation
                                  or gender identity; and
                              (b) for the purpose of—
                                    (i) changing or suppressing the sexual
                                        orientation or gender identity of the
                                        person; or
                                   (ii) inducing the person to change or
                                        suppress their sexual orientation or
                                        gender identity.
                       (2) For the purposes of subsection (1), a practice or
                           conduct is not a change or suppression practice if
                           it—
                              (a) is supportive of or affirms a person's gender
                                  identity or sexual orientation including, but
                                  not limited to, a practice or conduct for the
                                  purposes of—
                                    (i) assisting a person who is undergoing a
                                        gender transition; or
                                   (ii) assisting a person who is considering
                                        undergoing a gender transition; or
                                   (iii) assisting a person to express their
                                         gender identity; or
                                   (iv) providing acceptance, support or
                                        understanding of a person; or
                                    (v) facilitating a person's coping skills,
                                        social support or identity exploration
                                        and development; or




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                              (b) is a practice or conduct of a health service
                                  provider that is, in the health service
                                  provider's reasonable professional
                                  judgement, necessary—
                                    (i) to provide a health service; or
                                   (ii) to comply with the legal or professional
                                        obligations of the health service
                                        provider.
                       (3) For the purposes of subsection (1), a practice
                           includes, but is not limited to the following—
                              (a) providing a psychiatry or psychotherapy
                                  consultation, treatment or therapy, or any
                                  other similar consultation, treatment or
                                  therapy;
                              (b) carrying out a religious practice, including
                                  but not limited to, a prayer based practice, a
                                  deliverance practice or an exorcism;
                              (c) giving a person a referral for the purposes of
                                  a change or suppression practice being
                                  directed towards the person.
                       (4) For the purposes of subsection (1), a practice or
                           conduct may be directed towards a person
                           remotely (including online) or in person.
                   6 Act binds the Crown
                            This Act binds the Crown in right of Victoria and,
                            so far as the legislative power of the Parliament
                            permits, the Crown in all its other capacities.
                   7 Contravention does not create civil or criminal
                     liability
                            A contravention of this Act does not create any
                            civil or criminal liability except to the extent
                            expressly provided by this Act.




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                   8 Extra-territorial application
                       (1) This section applies if—
                              (a) a person engages in conduct outside, or
                                  partly outside, Victoria; and
                              (b) there is a real and substantial link between
                                  the conduct and Victoria.
                       (2) This Act has effect in relation to the conduct as if
                           it had been engaged in wholly within Victoria.
                       (3) For the purposes of subsection (1), there is a real
                           and substantial link with Victoria if—
                              (a) a significant part of the conduct occurs in
                                  Victoria; or
                              (b) the conduct occurred wholly outside
                                  Victoria, but the effects of the conduct
                                  occurred wholly or partly in Victoria.

                Division 2—Change or suppression practices are
                                prohibited
                   9 General prohibition on change or suppression
                     practices
                             A person or organisation contravenes this Act if
                             the person or organisation engages in a change or
                             suppression practice.
                      Note
                      A contravention of this Act by a person or organisation may result
                      in a report being made under Part 3, which sets out the civil
                      response scheme.




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                 Change or Suppression (Conversion) Practices Prohibition Act 2021
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                    Part 2—Offences relating to change or suppression practices



                  Part 2—Offences relating to change or
                         suppression practices
                                  Division 1—Offences
                  10 Offence of engaging in one or more change or
                     suppression practices that cause serious injury
                       (1) A person (A) commits an offence if—
                              (a) A intentionally engages in a change or
                                  suppression practice directed towards
                                  another person (B); and
                              (b) the change or suppression practice causes
                                  serious injury to B; and
                              (c) A is negligent as to whether engaging in the
                                  change or suppression practice will cause
                                  serious injury to B.
                            Penalty: In the case of a natural person, level 5
                                     imprisonment (10 years maximum) or a
                                     level 5 fine (1200 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        6000 penalty units maximum.
                       (2) A person (A) commits an offence if—
                              (a) A intentionally engages in change or
                                  suppression practices directed towards
                                  another person (B); and
                              (b) any or all of the change or suppression
                                  practices, considered as a group, cause
                                  serious injury to B; and




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                    Part 2—Offences relating to change or suppression practices


                              (c) A is negligent as to whether engaging in any
                                  or all of the change or suppression practices
                                  will cause serious injury to B.
                            Penalty: In the case of a natural person, level 5
                                     imprisonment (10 years maximum) or a
                                     level 5 fine (1200 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        6000 penalty units maximum.
                  11 Offence of engaging in one or more change or
                     suppression practices that cause injury
                       (1) A person (A) commits an offence if—
                              (a) A intentionally engages in a change or
                                  suppression practice directed towards
                                  another person (B); and
                              (b) the change or suppression practice causes
                                  injury to B; and
                              (c) A is negligent as to whether engaging in the
                                  change or suppression practice will cause
                                  injury to B.
                            Penalty: In the case of a natural person, level 6
                                     imprisonment (5 years maximum) or a
                                     level 6 fine (600 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        3000 penalty units maximum.
                       (2) A person (A) commits an offence if—
                              (a) A intentionally engages in change or
                                  suppression practices directed towards
                                  another person (B); and
                              (b) any or all of the change or suppression
                                  practices, considered as a group, cause injury
                                  to B; and



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                    Part 2—Offences relating to change or suppression practices


                              (c) A is negligent as to whether engaging in any
                                  or all of the change or suppression practices
                                  will cause injury to B.
                            Penalty: In the case of a natural person, level 6
                                     imprisonment (5 years maximum) or a
                                     level 6 fine (600 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        3000 penalty units maximum.
                  12 Offence of taking a person from Victoria for a
                     change or suppression practice
                       (1) A person (A) commits an offence if—
                              (a) A takes another person (B) from Victoria, or
                                  arranges for B to be taken from Victoria; and
                              (b) A intends that a change or suppression
                                  practice directed towards B will be engaged
                                  in outside Victoria (whether by A or another
                                  person); and
                              (c) a change or suppression practice directed
                                  towards B is engaged in outside Victoria;
                                  and
                              (d) the change or suppression practice causes
                                  injury to B; and
                              (e) A is negligent as to whether the change or
                                  suppression practice will cause injury to B.
                            Penalty: In the case of a natural person, level 7
                                     imprisonment (2 years maximum) or a
                                     level 7 fine (240 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        1200 penalty units maximum.




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                    Part 2—Offences relating to change or suppression practices


                       (2) A person (A) commits an offence if—
                              (a) A takes another person (B) from Victoria, or
                                  arranges for B to be taken from Victoria; and
                              (b) A intends that change or suppression
                                  practices directed towards B will be engaged
                                  in outside Victoria (whether by A or another
                                  person); and
                              (c) change or suppression practices directed
                                  towards B are engaged in outside Victoria;
                                  and
                              (d) any or all of the change or suppression
                                  practices, considered as a group, cause injury
                                  to B; and
                              (e) A is negligent as to whether any or all of the
                                  change or suppression practices, considered
                                  as a group, will cause injury to B.
                            Penalty: In the case of a natural person, level 7
                                     imprisonment (2 years maximum) or a
                                     level 7 fine (240 penalty units
                                     maximum) or both;
                                        In the case of a body corporate,
                                        1200 penalty units maximum.
                  13 Offence of advertising a change or suppression
                     practice
                       (1) A person commits an offence if—
                              (a) the person publishes or displays, or
                                  authorises the publication or display of, an
                                  advertisement or other notice; and
                              (b) the advertisement or other notice indicates,
                                  or could reasonably be understood as
                                  indicating, that the person or any other
                                  person intends to engage in one or more
                                  change or suppression practices, other than




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                                  for the purposes of warning of the harm
                                  caused by such practices.
                            Penalty: In the case of a natural person, level 9
                                     fine (60 penalty units maximum);
                                        In the case of a body corporate,
                                        300 penalty units maximum.
                       (2) It is a defence to a charge under subsection (1) if
                           the accused proves that the accused took
                           reasonable precautions and exercised due
                           diligence to prevent the publication or display.
                  14 Production of documents relating to advertising
                     offence
                       (1) For the purpose of proceedings under section 13,
                           the Commission may, by written notice, require
                           any person to produce any documents specified in
                           the notice to the Commission.
                       (2) A person must not refuse, without reasonable
                           excuse, to produce a document referred to in
                           subsection (1) to the Commission.
                            Penalty: In the case of a natural person, level 9
                                     fine (60 penalty units maximum);
                                        In the case of a body corporate,
                                        300 penalty units maximum.

                Division 2—General matters relating to offences
                              against this Part
                  15 Corporate criminal responsibility for offence
                     against this Part
                       (1) For the purposes of a proceeding against a body
                           corporate for an offence against this Part, the
                           following must also be attributed to the body
                           corporate—
                              (a) relevant conduct engaged in by an associate
                                  of the body corporate;


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                    Part 2—Offences relating to change or suppression practices


                              (b) knowledge of an associate of the body
                                  corporate;
                              (c) intention—
                                    (i) of the body corporate's board of
                                        directors; or
                                   (ii) of an officer of the body corporate; or
                                   (iii) of any other associate of the body
                                         corporate if a corporate culture existed
                                         within the body corporate that directed,
                                         encouraged, tolerated or led to the
                                         formation of that intention.
                       (2) If an officer of a body corporate engages in
                           conduct that constitutes an offence against this
                           Part, the body corporate must be taken to have
                           also engaged in conduct constituting the offence,
                           and may be proceeded against and found guilty of
                           the offence whether or not the officer has been
                           proceeded against or found guilty of that offence.
                       (3) In a proceeding against a body corporate for an
                           offence against this Part brought in reliance on
                           subsection (2), it is a defence to the charge for the
                           body corporate to prove that it exercised due
                           diligence to prevent the conduct engaged in by the
                           officer.
                  16 Who may bring proceedings for an offence under
                     section 13
                            Proceedings for an offence under section 13 may
                            be brought by—
                              (a) the Commission; or
                              (b) a police officer; or
                              (c) a person who is authorised to do so, either
                                  generally or in a particular case, by the
                                  Commission.




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                 Change or Suppression (Conversion) Practices Prohibition Act 2021
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                                  Part 3—Civil response scheme



                        Part 3—Civil response scheme
               Division 1—Functions and powers of Commission
                  17 Functions and powers of Commission
                       (1) The Commission has the following functions—
                              (a) to develop and provide education in relation
                                  to change or suppression practices;
                              (b) to receive reports about change or
                                  suppression practices from any person;
                              (c) to request further information regarding
                                  reports of change or suppression practices
                                  from persons who make a report and persons
                                  or organisations alleged to be engaging in
                                  change or suppression practices;
                              (d) to determine appropriate responses to reports
                                  on the basis of information provided and the
                                  wishes of persons affected where those
                                  persons are involved in making reports;
                              (e) to offer education to persons and
                                  organisations engaged in change or
                                  suppression practices;
                              (f) to establish processes for facilitating an
                                  outcome in relation to matters in certain
                                  reports that meet the needs of persons
                                  affected by change or suppression practices;
                              (g) to focus on ensuring that persons affected by
                                  change or suppression practices receive
                                  support by directing them to appropriate
                                  support services;
                              (h) to support persons who are or may be
                                  victims of criminal offences under this Act to
                                  voluntarily report these to police.
                       (2) The Commission has all the powers necessary to
                           enable it to perform its functions.


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                  18 Functions of Commission—educative function
                       (1) The Commission must—
                              (a) establish and undertake information and
                                  education programs in relation to change or
                                  suppression practices; and
                              (b) promote and advance the objects of this Act
                                  and be an advocate for this Act.
                       (2) The Commission must undertake programs to
                           disseminate information and educate the public
                           with respect to—
                              (a) the objects of this Act; and
                              (b) any other matters relevant to the provisions
                                  of this Act.
                  19 Functions of Commission—research function
                       (1) The Commission may undertake research into any
                           matter arising from, or incidental to, the operation
                           of this Act that it considers would advance the
                           objects of this Act.
                       (2) The Commission may collect and analyse
                           information and data relevant to the operation and
                           objects of this Act.
                  20 Commission may report on educative or research
                     functions
                            The Commission may, at any time, submit a
                            report to the Attorney-General on any matter
                            arising from the performance of the Commission's
                            functions under section 18 or 19.




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                                  Part 3—Civil response scheme


                  21 Functions of Commission—receiving reports and
                     facilitating outcomes
                             The Commission must—
                              (a) receive reports under section 24 from
                                  persons affected by change or suppression
                                  practices (or persons acting on their behalf),
                                  or other persons; and
                              (b) establish policies and issue procedures and
                                  directions on the manner in which such
                                  reports should be dealt with; and
                              (c) in the case of a reports made by persons
                                  affected by change or suppression practices
                                  (or persons acting on their behalf), establish
                                  policies and procedures for the facilitation of
                                  an outcome in relation to the matters in the
                                  report.
                  22 Staff of Commission
                             Any staff that are necessary for the purposes of
                             administering this Act are to be employed under
                             Part 3 of the Public Administration Act 2004.
                  23 Delegation
                             The Commission, by instrument, may delegate to
                             the Commissioner or a member of staff of the
                             Commission referred to in section 22 any of the
                             Commission's functions, duties or powers under
                             this Act other than this power of delegation.
                      Note
                      Under an Order made by the Governor in Council under section 16
                      of the Public Administration Act 2004, the Commissioner has all
                      the functions of a public service body Head in relation to
                      employees of the Commission.




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                 Change or Suppression (Conversion) Practices Prohibition Act 2021
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                                  Part 3—Civil response scheme


                 Division 2—Reporting change or suppression
                           practices to Commission
                  24 Reporting change or suppression practices
                       (1) A person affected by a change or suppression
                           practice, or any other person, may make a report
                           to the Commission in relation to an alleged
                           change or suppression practice.
                       (2) A report must be in the prescribed form (if any).
                  25 Principles for responding to reports
                            The principles for the Commission responding to
                            reports are—
                              (a) a response should be provided to the person
                                  who made the report; and
                              (b) a response should be informed by the needs
                                  and wishes of persons affected by change or
                                  suppression practices; and
                              (c) a response should be appropriate to the
                                  report; and
                              (d) a response should be fair to all persons; and
                              (e) a response should be consistent with the
                                  objects of this Act.
                  26 Commission may request more information
                            The Commission may request a person who
                            makes a report or a person or organisation who is
                            alleged to be engaging in a change or suppression
                            practice to provide any further information that
                            the Commission considers necessary to assist in
                            determining its response to a report.
                  27 Consideration of reports
                       (1) This section applies if, in considering a report, the
                           Commission is satisfied that a person or
                           organisation is engaging in, or has engaged in, a
                           change or suppression practice.


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                       (2) In responding to the report, the Commission must
                           as far as practicable have regard to the following
                           matters, to the extent that information about the
                           matters is reasonably available to the
                           Commission—
                              (a) the wishes of the person or persons affected
                                  by the change or suppression practice;
                              (b) whether the change or suppression practice
                                  was a one-off event or a pattern of
                                  behaviour;
                              (c) the number of people affected by the change
                                  or suppression practice;
                              (d) the nature and extent of the harm caused by
                                  the change or suppression practice;
                              (e) any steps taken by a person or organisation
                                  to stop engaging in the change or
                                  suppression practice or to address the harms
                                  caused by the change or suppression
                                  practice.
                  28 Responding to reports
                       (1) The Commission, after considering a report, may
                           do one or more of the following—
                              (a) offer targeted education to persons or
                                  organisations reported to have engaged in
                                  change or suppression practices;
                              (b) in the case of reports made by persons
                                  affected by a change or suppression practice,
                                  offer facilitation of an outcome in relation to
                                  the matters in the report;
                              (c) refer the report to another person or body
                                  under section 29;
                              (d) decline to respond to the report in
                                  accordance with section 30.




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                       (2) Participation in facilitation of an outcome in
                           relation to matters in a report is voluntary.
                  29 Referral of reports
                       (1) Subject to subsection (3), if the Commission
                           considers that a report relates to conduct that
                           would be more adequately dealt with by another
                           person or body, the Commission may refer the
                           report to the other person or body.
                       (2) The persons or bodies to which the Commission
                           may refer a report include, but are not limited to,
                           the following—
                              (a) the Health Complaints Commissioner;
                              (b) the Australian Health Practitioner Regulation
                                  Agency;
                              (c) the Ombudsman;
                              (d) Victoria Police.
                       (3) The Commission must not refer a report under
                           subsection (1) without the consent of the person
                           affected by the change or suppression practice to
                           which the report relates, unless required to do so
                           by a law dealing with mandatory reporting.
                  30 Discretion to decline to respond to report
                            The Commission may decline to respond to a
                            report if—
                              (a) the report refers to persons or organisations
                                  who can no longer be located; or
                              (b) the report relates to conduct in respect of
                                  which sufficient information is no longer
                                  available; or
                              (c) the report relates to conduct that has been
                                  adequately dealt with in another forum or
                                  would be more appropriately dealt with in
                                  another forum; or



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                              (d) having regard to all the circumstances, the
                                  Commission considers it is not appropriate to
                                  respond to the report.
                  31 Withdrawal from facilitation of an outcome
                            If the Commission is facilitating an outcome in
                            relation to a matter in a report, any person
                            involved in the facilitation may withdraw at any
                            time by informing the Commission that the person
                            no longer wishes to participate.
                  32 Agreements resulting from facilitation
                       (1) This section applies if, after the Commission
                           facilitates an outcome in relation to a matter in a
                           report, the persons engaged in the facilitation (the
                           parties) reach agreement with respect to any of
                           the matters.
                       (2) Any party may request that a written record of
                           agreement be prepared by the parties or the
                           Commission.
                       (3) A request must be made within 30 days after the
                           agreement is reached.
                       (4) If a record of agreement is prepared by the
                           Commission following a request under subsection
                           (2)—
                              (a) the record of agreement must be signed by or
                                  on behalf of each party; and
                              (b) the Commission must certify the record of
                                  agreement.
                       (5) If a record of agreement is prepared by the parties
                           following a request under subsection (2)—
                              (a) the record of agreement must be signed by or
                                  on behalf of each party; and
                              (b) on the request of a party, the Commission
                                  may certify the record of agreement.



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                       (6) If the Commission certifies a record of agreement
                           under subsection (4)(b) or (5)(b), the Commission
                           must give each party a copy of the signed and
                           certified record of agreement.
                       (7) The refusal of the Commission to certify a record
                           of agreement does not affect the validity of the
                           agreement.
                  33 Registration of agreements
                       (1) Any party to an agreement reached under
                           section 32 may, after notifying each other party in
                           writing, lodge a copy of the signed and certified
                           record of agreement with the Tribunal for
                           registration.
                       (2) Subject to subsection (3), the Tribunal must
                           register the record of agreement and give a
                           certified copy of the registered record of
                           agreement to each party.
                       (3) If the Tribunal, constituted by a presidential
                           member, considers that it may not be practicable
                           to enforce, or to supervise compliance with, a
                           record of agreement or part of a record of
                           agreement, the Tribunal—
                              (a) in the case of a record of agreement, may
                                  refuse to register the record of agreement; or
                              (b) in the case of a part of a record of agreement,
                                  may refuse to register the part of the record
                                  of agreement that it considers may not be
                                  practicable to enforce, or to supervise
                                  compliance with.
                       (4) On registration, a registered record of agreement
                           or a registered part of a record of agreement—
                              (a) is taken to be an order of the Tribunal in
                                  accordance with its terms; and
                              (b) may be enforced accordingly.



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                       (5) The refusal of the Tribunal to register a record of
                           agreement or any part of a record of agreement
                           does not affect the validity of the agreement.

                              Division 3—Investigations
                  34 When investigation may be conducted
                            The Commission may conduct an investigation
                            under this section into any matter relating to this
                            Act—
                              (a) that raises an issue that is serious in nature or
                                  indicates change or suppression practices
                                  that are systemic or persisting; and
                              (b) that indicates a possible contravention of this
                                  Act; and
                              (c) that relates to a class or group of persons;
                                  and
                              (d) that would advance the objects of this Act.
                  35 Commission to conduct investigation as it considers
                     fit
                       (1) Subject to this Division, the Commission may
                           conduct an investigation in the manner it
                           considers fit.
                       (2) In conducting an investigation, the Commission is
                           bound by the principles of natural justice, unless
                           otherwise expressly provided in this Division.
                  36 Power to compel provision of information and
                     production of documents
                       (1) If the Commission reasonably believes that—
                              (a) a person is in possession of information or a
                                  document that is relevant to an investigation;
                                  and




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                           (b) the information or document is necessary for
                               the conduct of the investigation—
                         the Commission may by written notice require the
                         person to provide the information or document or
                         both.
                    (2) A notice referred to in subsection (1) must specify
                        that the person must do either or both of the
                        following within a reasonable period specified in
                        the notice, or on a reasonable date and at a
                        reasonable time specified in the notice—
                           (a) give the Commission a document containing
                               information required by the notice;
                           (b) produce to the Commission the documents
                               specified in the notice.
                    (3) A document referred to in subsection (2)(a) must
                        be signed by the person or, in the case of a notice
                        served on a body corporate, an officer of the body
                        corporate.
                    (4) If a document is produced to the Commission in
                        accordance with a notice under this section, the
                        Commission may—
                           (a) take possession of the document; and
                           (b) make copies of the document or take extracts
                               from the document; and
                           (c) retain possession of the document for as long
                               as is necessary for the purposes of the
                               investigation to which the document relates.
                    (5) The Commission must allow a document retained
                        under this section to be inspected, at all reasonable
                        times, by any person who would be entitled to
                        inspect the document if it were not in the
                        possession of the Commission.




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               37 Power to compel attendance
                    (1) The Commission by written notice may require a
                        person to attend before the Commission, at a
                        reasonable time and place, to answer questions if
                        the Commission reasonably believes that—
                           (a) the person has information that is relevant to
                               an investigation; and
                           (b) the information is necessary for the conduct
                               of the investigation.
                    (2) A person who is required under this section to
                        attend before the Commission—
                           (a) is entitled to be paid a reasonable sum for the
                               person's attendance; and
                           (b) is entitled to have a legal or personal
                               representative present.
               38 Compliance with notice requiring attendance or
                  production of documents
                         A person must not, without reasonable excuse, fail
                         to comply with a notice of the Commission under
                         section 36 or 37.
                         Penalty: In the case of a natural person, level 9
                                  fine (60 penalty units maximum);
                                     In the case of a body corporate,
                                     300 penalty units maximum.
               39 Protection against self-incrimination
                         It is a reasonable excuse for a natural person to
                         refuse to give information, answer a question or
                         produce a document under this Act if the giving of
                         the information, the answering of the question or
                         the production of the document would tend to
                         incriminate the person.




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               40 Disclosure of identity of persons who give
                  information or documents
                    (1) This section applies to a person who has given or
                        who will give evidence, information or documents
                        to the Commission as part of an investigation,
                        whether or not the person is compelled to do so
                        under section 36 or 37.
                    (2) The Commission may give directions prohibiting
                        the disclosure of the identity of the person, or
                        prohibiting the disclosure of information that
                        would be reasonably likely to identify the person,
                        if the Commission considers that preservation of
                        the person's anonymity is necessary—
                           (a) to protect the person's security of
                               employment, privacy or any right protected
                               by the Charter of Human Rights and
                               Responsibilities Act 2006; or
                           (b) to protect the person from victimisation.
               41 Publication of evidence, information or documents
                    (1) The Commission may give directions prohibiting
                        or limiting the publication of—
                           (a) any evidence given before the Commission
                               or any information given to the Commission
                               as part of an investigation; or
                           (b) the contents of any document produced to
                               the Commission as part of an investigation.
                    (2) Subsection (1) applies whether or not a person
                        was compelled to give the evidence or produce the
                        information or document under section 36 or 37.
                    (3) In deciding whether or not to give a direction
                        under subsection (1), the Commission must have
                        regard to the need to prevent such of the following
                        as are relevant to the circumstances—




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                           (a) prejudice to the relations between the
                               Government and the Commonwealth
                               Government or between the Government and
                               the Government of another State or a
                               Territory;
                           (b) the disclosure of deliberations or decisions of
                               the Cabinet, or of a Committee of the
                               Cabinet;
                           (c) prejudice to the proper functioning of the
                               Government;
                           (d) the disclosure, or the ascertaining by a
                               person, of the existence or identity of a
                               confidential source of information in relation
                               to the enforcement of the criminal law;
                           (e) the endangering of the life or physical or
                               psychological safety of any person;
                           (f) prejudice to the proper enforcement of the
                               law or the protection of public safety;
                           (g) the disclosure of information the disclosure
                               of which is prohibited, absolutely or subject
                               to qualifications, by or under another Act;
                           (h) the unreasonable disclosure of the personal
                               affairs of any person or organisation;
                           (i) the unreasonable disclosure of confidential
                               commercial information.
               42 Outcome of an investigation
                    (1) After conducting an investigation, the
                        Commission may take any action it considers fit.
                    (2) Without limiting subsection (1), the Commission
                        may do any of the following—
                           (a) take no further action;
                           (b) enter into an agreement with a person about
                               action required to comply with this Act;



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                           (c) accept an enforceable undertaking;
                           (d) issue a compliance notice to a person.

                              Division 4—Remedies
               43 Enforceable undertakings
                         If, following an investigation, the Commission
                         believes that a change or suppression practice has
                         occurred, is occurring or is likely to occur, the
                         Commission may accept a written undertaking
                         from a person under which the person undertakes
                         to take certain actions or refrain from taking
                         certain actions to comply with this Act.
               44 Register of enforceable undertakings
                         The Commission may keep a register of
                         enforceable undertakings that is available to the
                         public.
               45 Compliance notices
                    (1) If, following an investigation, the Commission
                        believes that a change or suppression practice has
                        occurred or is occurring, the Commission may
                        issue a compliance notice to a person who is
                        wholly or partly responsible for the change or
                        suppression practice.
                    (2) A compliance notice must set out the following—
                           (a) the basis for the Commission's belief that a
                               change or suppression practice has occurred
                               or is occurring;
                           (b) the provisions of this Act (if any) that the
                               Commission believes the person has
                               contravened;
                           (c) the date by which the person must take or
                               refrain from taking specified actions in
                               relation to the change or suppression
                               practice;


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                           (d) the further action that the Commission may
                               take if the person does not take or refrain
                               from taking specified actions;
                           (e) that the person may apply to the Tribunal for
                               review of the issuing of the notice or any
                               term of the notice.
                    (3) A person may, within 28 days of receiving the
                        compliance notice, apply to the Tribunal for a
                        review of the issuing of the compliance notice or
                        of any term of the compliance notice.
               46 Failure to comply with enforceable undertaking or
                  compliance notice
                    (1) This section applies if—
                           (a) the Commission has accepted an enforceable
                               undertaking from a person; or
                           (b) the Commission has issued a compliance
                               notice to a person.
                    (2) If the person fails to comply with the enforceable
                        undertaking or the compliance notice—
                           (a) the Commission may apply to the Tribunal
                               to enforce the undertaking or the notice; and
                           (b) the Tribunal may make an order requiring
                               the person to comply with the undertaking or
                               notice.
                         Note
                         Under section 133 of the Victorian Civil and
                         Administrative Tribunal Act 1998, non-compliance with
                         an order of the Tribunal is an offence.
               47 Vicarious liability
                    (1) For the purposes of this Part, if a natural person
                        engages in a change or suppression practice in the
                        course of employment (including as a volunteer)
                        or while acting as an agent—



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                           (a) subject to subsection (2), both the natural
                               person, and the employer or principal, as the
                               case requires, are taken to have engaged in
                               the change or suppression practice; and
                           (b) the person towards whom the change or
                               suppression practice was directed or another
                               person may make a report under section 24
                               in respect of—
                                 (i) the natural person; or
                                (ii) the employer or principal; or
                                (iii) both the natural person and the
                                      employer or principal.
                    (2) The employer or principal is not taken to have
                        engaged in the change or suppression practice if
                        the employer or principal proves, on the balance
                        of probabilities, that the employer or principal
                        took reasonable precautions to prevent the natural
                        person engaging in a change or suppression
                        practice.
               48 Who may bring proceedings for an offence under
                  this Part
                         Proceedings for an offence under this Part may be
                         brought by—
                           (a) the Commission; or
                           (b) a police officer; or
                           (c) a person who is authorised to do so, either
                               generally or in a particular case, by the
                               Commission.
               49 Reports etc. that relate to organisations
                         If a report under this Act relates to change or
                         suppression practices alleged to have been
                         engaged in by an organisation—




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                           (a) the Commission may request information
                               under section 26 from the president,
                               secretary or other similar officer of the
                               organisation; and
                           (b) the Commission may offer targeted
                               education to the president, secretary or other
                               similar officer of the organisation; and
                           (c) the president, secretary or other similar
                               officer of the organisation may be a party to
                               facilitation of an outcome for the purposes of
                               Division 2 of this Part.




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                          Part 4—General matters
                                Division 1—Secrecy
               50 Definition
                         In this Division—
                         protected information means information
                              concerning the affairs of a person or
                              organisation, being information obtained by
                              a person to whom section 51 applies—
                                 (a) in the course of performing functions or
                                     duties or exercising powers under this
                                     Act; or
                                 (b) as a result of another person performing
                                     functions or duties or exercising powers
                                     under this Act.
               51 Secrecy
                    (1) This section applies to a person who is or has
                        been—
                           (a) the Commissioner; or
                           (b) a member of the staff of the Commission
                               referred to in section 22;
                           (c) a person (other than a person referred to in
                               paragraph (b)) acting under the authority of
                               the Commission or the Commissioner.
                    (2) A person to whom this section applies must not,
                        either directly or indirectly, make a record of,
                        disclose or communicate protected information to
                        any person unless —
                           (a) it is necessary to do so for the purposes of, or
                               in connection with, the performance of a
                               function or duty or the exercise of a power
                               under this Act; or




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                           (b) it is necessary to do so to prevent a credible
                               and imminent threat of harm to one or more
                               persons; or
                           (c) it is necessary to do so to comply with a
                               mandatory reporting obligation; or
                           (d) the disclosure, communication or production
                               is to a court in accordance with section 52; or
                           (e) the information is already in the public
                               domain; or
                           (f) the information does not identify any person
                               or organisation; or
                           (g) all persons or organisations identified by the
                               information have consented to the disclosure
                               of the information.
                         Penalty: Level 9 fine (60 penalty units
                                  maximum).
               52 Disclosure to courts
                    (1) Subject to this section, a person to whom
                        section 51 applies must not be required—
                           (a) to produce in a court any document
                               containing protected information; or
                           (b) to disclose or communicate protected
                               information to a court.
                    (2) Subsection (1) does not prevent a person to whom
                        section 51 applies disclosing or communicating
                        protected information or producing in a court any
                        document containing protected information if the
                        disclosure, communication or production —
                           (a) is necessary for the purposes of, or for a
                               prosecution under or arising out of, this Part;
                               or
                           (b) is required by an order of a court for the
                               purposes of a criminal proceeding; or



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                           (c) is with the consent of the person or
                               organisation to whose affairs the information
                               relates.

                 Division 2—Provisions relating to certain
                              proceedings
               53 Commission not to prejudice certain proceedings or
                  investigations
                    (1) The Commission must not perform the functions
                        or duties or exercise the powers of the
                        Commission under this Act in a manner that
                        would prejudice any—
                           (a) criminal proceedings or criminal
                               investigations; or
                           (b) investigations by the IBAC or the Victorian
                               Inspectorate.
                    (2) For the purposes of ensuring compliance with
                        subsection (1), the Commission may consult any
                        of the following—
                           (a) the Director of Public Prosecutions;
                           (b) the Chief Commissioner of Police;
                           (c) the IBAC;
                           (d) the Victorian Inspectorate.
               54 Person bringing proceedings presumed to be
                  authorised to do so
                         In a proceeding for an offence against this Act it
                         must be presumed, in the absence of evidence to
                         the contrary, that the person bringing the
                         proceeding was authorised to bring it.




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               55 Commission may assist in proceedings as amicus
                  curiae
                    (1) The Commission may assist a court or tribunal as
                        amicus curiae in the following proceedings, with
                        the leave of the court or tribunal—
                           (a) proceedings in which the Commission
                               considers that the orders sought, or likely to
                               be sought, may significantly affect the rights
                               relating to change or suppression practices in
                               relation to persons who are not parties to the
                               proceedings;
                           (b) proceedings that, in the opinion of the
                               Commission, have significant implications
                               for the administration of this Act;
                           (c) proceedings where the Commission is
                               satisfied that it would be in the public
                               interest for the Commission to assist the
                               court or tribunal as amicus curiae.

               Division 3—Annual report and review of Act
               56 Annual report
                         In its report of operations for a financial year
                         under Part 7 of the Financial Management
                         Act 1994, the Commission must include a
                         description of the performance of its functions in
                         relation to change or suppression practices during
                         the financial year.
               57 Review of this Act
                    (1) The Attorney-General must ensure that an
                        independent review of the operation and
                        effectiveness of this Act commences 2 years after
                        the commencement of this Act and is completed
                        within 6 months.




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                    (2) The Attorney-General must ensure that the review
                        is conducted by a person who, in the opinion of
                        the Attorney-General, possesses appropriate
                        qualifications and expertise related to change or
                        suppression practices.
                    (3) The person conducting the review must consider
                        the following—
                           (a) whether the criminal offences contained in
                               this Act are effective;
                           (b) whether the civil response scheme is
                               effective, including whether broader
                               investigation and enforcement powers are
                               required;
                           (c) whether a redress scheme should be
                               developed.
                    (4) A person who undertakes the review must give the
                        Attorney-General a written report of the review as
                        soon as practicable after completing the review.
                    (5) The Attorney-General must cause a copy of the
                        review to be laid before each House of the
                        Parliament within 15 sitting days of that House
                        after receiving the written report.

                             Division 4—Regulations
               58 Regulations
                    (1) The Governor in Council may make regulations
                        for or with respect to the following matters—
                           (a) forms to be used for the purposes of this Act;
                           (b) any other matter or thing required or
                               permitted by this Act to be prescribed or
                               necessary to be prescribed to give effect to
                               this Act.
                    (2) Regulations made under this Act—
                           (a) may be of limited or general application; and


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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
                                  Part 4—General matters


                           (b) may differ according to differences in time,
                               place or circumstance; and
                           (c) may confer powers or impose duties in
                               connection with the regulations on any
                               specified person or specified class of
                               persons; and
                           (d) may apply, adopt or incorporate, with or
                               without modification, any matter contained
                               in any document, code, standard, rule,
                               specification or method formulated, issued,
                               prescribed or published by any person—
                                 (i) wholly or partially or as amended by
                                     the regulations; or
                                (ii) as formulated, issued, prescribed or
                                     published at the time the regulations are
                                     made or at any time before then; or
                                (iii) as formulated, issued, prescribed or
                                      published from time to time.




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
              Part 5—Amendment of definitions in the Equal Opportunity Act 2010



              Part 5—Amendment of definitions in the
                    Equal Opportunity Act 2010
                   Division 1—Amendment of definitions
               59 Definitions
                     (1) In section 4(1) of the Equal Opportunity
                         Act 2010, for the definition of gender identity
                         substitute—
                          "gender identity means a person's gender-related
                              identity, which may or may not correspond
                              with their designated sex at birth, and
                              includes the personal sense of the body
                              (whether this involves medical intervention
                              or not) and other expressions of gender,
                              including dress, speech, mannerisms, names
                              and personal references;".
                     (2) In section 4(1) of the Equal Opportunity
                         Act 2010 insert the following definition—
                          "sex characteristics means a person's physical
                               features relating to sex, including—
                                 (a) genitalia and other sexual and
                                     reproductive parts of the person's
                                     anatomy; and
                                 (b) the person's chromosomes, genes,
                                     hormones, and secondary physical
                                     features that emerge as a result of
                                     puberty;".
                     (3) In section 4(1) of the Equal Opportunity
                         Act 2010, for the definition of sexual orientation
                         substitute—
                          "sexual orientation means a person's emotional,
                               affectional and sexual attraction to, or
                               intimate or sexual relations with, persons of




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
              Part 5—Amendment of definitions in the Equal Opportunity Act 2010


                                a different gender or the same gender or
                                more than one gender;".
               60 Attributes
                          After section 6(o) of the Equal Opportunity
                          Act 2010 insert—
                         "(oa) sex characteristics;".

                     Division 2—Transitional provisions
               61 New Division inserted
                          After Division 2 of Part 14 of the Equal
                          Opportunity Act 2010, insert—

                             "Division 3—Transitional provisions
                            relating to the Change or Suppression
                              (Conversion) Practices Prohibition
                                            Act 2021
                         197 Definitions
                                In this Division—
                                commencement day means the day on which
                                    Part 5 of the Change or Suppression
                                    (Conversion) Practices Prohibition
                                    Act 2021 comes into operation;
                                old Act means the Equal Opportunity
                                     Act 2010, as in force immediately
                                     before the commencement day.
                         198 Conduct, disputes and investigations
                             before commencement day
                          (1) This section applies to—
                                 (a) conduct engaged in before the
                                     commencement day; and




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
              Part 5—Amendment of definitions in the Equal Opportunity Act 2010


                                 (b) a dispute brought to the Commission
                                     before the commencement day that had
                                     not ended before the commencement
                                     day; and
                                 (c) an investigation of the Commission that
                                     had not been finally determined before
                                     the commencement day.
                          (2) The old Act continues to apply in relation to
                              the conduct, dispute or investigation, as the
                              case requires, as if the amendments made by
                              Part 5 of the Change or Suppression
                              (Conversion) Practices Prohibition
                              Act 2021 had not been made.".




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
                          Part 6—Consequential amendment of Acts



             Part 6—Consequential amendment of Acts
            Division 1—Amendment of the Equal Opportunity
                             Act 2010
               62 Obstructing Commission
                         In section 185(1) of the Equal Opportunity
                         Act 2010, after "Act" insert "or the Change or
                         Suppression (Conversion) Practices Prohibition
                         Act 2021".
               63 False or misleading information
                         In section 186 of the Equal Opportunity
                         Act 2010, after "Act" insert "or the Change or
                         Suppression (Conversion) Practices Prohibition
                         Act 2021".

             Division 2—Amendment of the Family Violence
                         Protection Act 2008
               64 Meaning of emotional or psychological abuse
                         In section 7 of the Family Violence Protection
                         Act 2008, after the second dot point under the
                         heading "Examples—" insert—
                           "• an adult child repeatedly denigrating an elderly
                              parent's sexual orientation, including by telling them
                              it is wrong to be same-sex attracted and that they must
                              change or the adult child will no longer support
                              them;".




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
                          Part 6—Consequential amendment of Acts


              Division 3—Amendment of the Personal Safety
                       Intervention Orders Act 2010
               65 Meaning of harassment
                         In section 7 of the Personal Safety Intervention
                         Orders Act 2010, at the end of the paragraphs
                         under the heading "Examples" insert—
                         "A repeatedly leaves pamphlets in B's mailbox that state that
                         it is wrong to gender transition and that everyone's gender
                         expression should match the sex they were assigned at
                         birth.".




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              Change or Suppression (Conversion) Practices Prohibition Act 2021
                                     No.      of 2021
                              Part 7—Repeal of amending Parts



                  Part 7—Repeal of amending Parts
               66 Repeal of amending Parts
                          Parts 5 and 6 and this Part are repealed on the
                          first anniversary of the first day on which all of
                          the provisions in those Parts are in operation.
                   Note
                   The repeal of these Parts does not affect the continuing operation
                   of the amendments made by these Parts (see section 15(1) of the
                   Interpretation of Legislation Act 1984).
                                 ═════════════




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                Change or Suppression (Conversion) Practices Prohibition Act 2021
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                                                 Endnotes



                                             Endnotes
         1 General information
           See www.legislation.vic.gov.au for Victorian Bills, Acts and current
           authorised versions of legislation and up-to-date legislative information.
           †
               Minister's second reading speech—
               Legislative Assembly:
               Legislative Council:
               The long title for the Bill for this Act was "A Bill for an Act to prohibit
               change or suppression practices, to amend certain definitions in the Equal
               Opportunity Act 2010 and for other purposes."




                          By Authority. Government Printer for the State of Victoria.



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                                        EXHIBIT                             6
                                        Witness: Kenny
                                        Date: 5/30/23
                                        Stenographer: Brandy Bradley, RPR
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ROGD Statement — Coalition for the Advancement & Application of ...                                            https://www.caaps.co/rogd-statement
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                                                                        Witness: Kenny
                                                                         Date: 5/30/23
                                                                         Stenographer: Brandy Bradley, RPR




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ROGD Statement — Coalition for the Advancement & Application of ...                         https://www.caaps.co/rogd-statement
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ROGD Statement — Coalition for the Advancement & Application of ...                         https://www.caaps.co/rogd-statement
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                                                                                EXHIBIT                          22
                                                                                 Witness: Kenny
                                                                                 Date: 5/30/23
                                                                                 Stenographer: Brandy Bradley, RPR




PSYCHOTHERAPY FOR
   TRANSGENDER
    DECLARING
   ADOLESCENTS
              Dianna Kenny PhD MAPsS MAPA
  Profess or of psychology (rtd), The University of Sydney
       Society for Evidence-based Gender Medicine

                     15 November 2021
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Four distinct groups

 ◦ Early onset during preschool. I have not been referred a case of early onset GD. They are very rare.

 ◦ Adolescent onset (ROGD). By far, most referrals to my practice are for young people aged 12-
   17, predominantly girls. This presentation will focus on this group.

 ◦ Over 18s and young adults. Unlike the bias towards females in ROGD referrals, the over 18s
   referred to my practice are more equally distributed between males and females. The majority are
   referred by parents. Their management is complicated by the fact that they are legally adults and
   able to make their own decisions independently of parents.

 ◦ Mature aged adults. Many present after the breakdown of their marriages with a history of long
   term cross-dressing and fantasies about being the other sex. Others present as single adults who
   have been socially transitioned for many years, having first identified as butch lesbians, and
   decide to finalize their transition surgically.
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    Intake assessment
                                                                       Understanding of the gravity and irreversibility of
   Family constellation, family conflict /dysfunction,                 medical/surgical transition; what GA treatment entails,
    marital and sibling dynamics                                        and the consequences of treatment (e.g., infertility,
                                                                        sexual dysfunction, complications of cross-sex hormones
   Psychological evaluation – ADHD, ASD, self-harm,                    and surgery, lifelong patienthood).
    suicidality, suicide attempts, anxiety, depression,                Sexual experience history – sexual relationships, sexual
    incipient BPD, and psychosis                                        abuse experiences, sexual knowledge, sexual anxiety

   History of body dysmorphia, eating disorders                       Emerging awareness of ego dystonic sexual
                                                                        orientation - > internalized homophobia
   School life experiences e.g., attitude towards school,
                                                                       Social contagion (influence of social milieu e.g., schools,
    peer rejection, bullying, truanting, academic                       gender clinics, internet, online transgender communities)
    performance, post school aspirations
                                                                       Perceptions and misperceptions of gender roles
   Cognitive immaturity, concrete thinking, cognitive
    rigidity,     and   cognitive     distortions,      lack   of      Systemic function of ROGD e.g., defiance of parents,
    understanding or misunderstanding of gender ideology                finding an “in group,” being “seen”, denying the
                                                                        development of their sexed bodies, fear of adulthood,
    and capacity to critically review it (given the illogical and       fear of sexual relationships.
    scientifically unsound basis of the ideology)
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                             TRANSITION, SELF HARM
                                AND SUICIDALITY
                             The vulnerable (traumatized) part of the self is hated so it is subsumed into
                             the omnipotent self which is the part that suppresses doubts and anxiety
                             and presses for transition.

                             If the traumatized self pushes for recognition of psychic pain, the young
                             person may resort to self-harm and suicidal ideation which is a form of
                             acting out of their self-hatred against their bodies.

                             Affirming clinicians collude with the patient’s own attacks on the
                             traumatized self by “traumatizing” their bodies with cross-sex hormones and
                             mutilating surgery.

                             Hope that transition will restore young person to an ideal state – medics
                             become omnipotent creators of this ideal state. When this fails, the patient
                             sinks into further self-hatred which is enacted through self-harming and
                             suicidal states.
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Mechanisms of social contagion

◦ Peer contagion                                                                       Social
  ◦ has a powerful socializing effect on children beginning in the                     contagion
    preschool years.
  ◦ By middle childhood, gender is the most important factor in the                    A very powerful
    formation of peer associations, highlighting the significance of                   phenomenon underlying
    gender as an organizing principle of the norms and values                          the staggering increases in
    associated with gender identity.                                                   primarily adolescent girls
  ◦ ROGD have often experienced peer rejection, bullying, hostility                    declaring themselves
    and/or social isolation and hence feel marginalized from peer                      transgender.
    groups. They will gravitate to the Rainbow clubs in schools where
    everyone is accepted without question, especially if they declare an               Social contagion identified
    alternative gender, whereupon they are lauded and validated, even                  as a mechanism in eating
    when they had no previous intentions to do so.                                     disorders, self harm and
                                                                                       suicide, substance abuse,
                                                                                       emotion, and now gender
                                                                                       dysphoria.
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Mechanisms of social contagion
                                                                                       Social
                                                                                       contagion
◦ Deviancy training
  ◦ deviant attitudes and behaviours rewarded by the peer group                        A very powerful
                                                                                       phenomenon underlying
◦ Co-rumination                                                                        the staggering increases in
  ◦ a process of repetitive discussion, rehearsal and speculation about a              primarily adolescent girls
    problematic issue within the peer dyad.                                            declaring themselves
  ◦ Results in increases in internalizing disorders and gender confusion.              transgender.
  ◦ Girls more affected                                                                Social contagion identified
                                                                                       as a mechanism in eating
                                                                                       disorders, self harm and
                                                                                       suicide, substance abuse,
                                                                                       emotion, and now gender
                                                                                       dysphoria.
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A boy has a special needs younger sister who gets all the attention. Watching his mother
tend to his sister one day, he said “Mummy, you will only love me if I am a girl.”

A loved father appears to love her brother more than his daughter and spends much more
time engaged in male pursuits with his son. She says, “I want to be close to Dad but he
spends all his time with my brother and never with me.” She concluded it was better to be a
boy and declared herself transgender. Now she is in a perpetual rage that her father does             Family
not accept her transgender identity because she feels she has nothing more to offer him.
                                                                                                      Constellation
A mother tells her pre-adolescent daughter who is described as a “tomboy” about the                 Identity is not hard-wired – it
sexual abuse she experienced as a child by her stepfather and the sexual assaults she
endured as a teenager. Her daughter formed the view that girls are unsafe in the company            develops in a social world where
of men and are constantly at risk of harm particularly as they approach puberty. She                the young person experiences
decided that being a female “sucked” and that she would prefer to be a male in order to             attachments, trauma, abuse, or
keep herself safe and strong.
                                                                                                    misperceives the meaning of
A 15-y old girl has a mother who has been diagnosed with BPD. She has lived with her                experiences because of cognitive
mother’s emotional storms and capriciousness all her life. When she has an outburst, her            immaturity or concrete thinking.
father says, “You have your mother’s BPD, and I don’t want to have to deal with that again.”
He would then leave the house. Her father told her, “It is because you were the firstborn -         Need to explore identifications (I
the firstborn girl in Mum's family always got the worst mental illness.” This girl formed the       want to be like…) and dis-
view that men and boys are saner than women and girls and that it would be preferable to
change gender rather than turn out like her mother.                                                 identifications (I do not want to
                                                                                                    be like…)
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A 14-year-old natal boy first came out to his parents as GAY.
He soon changed that declaration to BISEXUAL when he experienced a powerful crush
on a female classmate. After she rejected him, he came out as TRANS and demanded
puberty blockade and cross sex hormones.
                                                                                                Sexual
In therapy, his demands for transition were strident and incessant. He constantly asked
me when I was going to tell his parents that he could go ahead with his transition.
                                                                                                orientation
He shaved his legs, arms and body hair, grew his hair long, and started to wear eye             Many young people are
makeup and nail polish. He ordered female clothing from the internet and wore it
secretly in his room. When his parents confiscated these clothing items, his female             confused about their
friends lent him their clothes to wear until I advised his parents to put a stop to this.       sexual orientation and
Teachers at his school started calling him by his preferred name and pronouns until I
advised his parents not to allow this.                                                          often conflate sexual
Several months after therapy commenced, while still vehemently protesting his trans-            orientation with gender
female identity, he wrote a letter to his parents apologising for misleading them. He
said he now realised that he was not a trans-female but a DEMIGIRL (denoting partial
                                                                                                identity.
non-binary, partial female gender identity).
He changed this orientation shortly thereafter to DEMIBOY, before again writing to his
parents, telling them that he was only joking about the whole thing and that they were
the only people who had taken it seriously.
I advised his parents to eat humble pie to give their son the opportunity to exit the
gender maze without losing face.
The next day he asked his parents to take him for a haircut. STRAIGHT
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      ROMANTIC AND SEXUAL
         RELATIONSHIPS
Majority of young GD adolescents


(i)   have had no sexual experience (crushes from a distance,
      hand holding and kissing)
(ii) disdain genital sex as “gross”
(iii) are indifferent to loss of sexual function, fertility
(iv) are confused about the nature of “trans” relationships e.g.,
A self- declared non-binary male (natal sex = male) in a relationship with
a transgender declaring natal female (i.e., a trans man) told their
parents they were in a gay male relationship. Similarly, two natal             Anime character against a pansexual flag
females, both transmen, rejected the suggestion that they were a lesbian
couple and stated that they were a gay male couple.
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Case example: Artem, aged 15                                                                                      Internalized
Artem, aged 15, from a Middle Eastern country that is homophobic, was referred by his                             homophobia
mother for a range of issues but specifically because he had declared himself                                     An adolescent realises that s/he
transgender. He was post pubertal, facially and bodily hirsute with a deep male voice.                            is same-sex attracted. Finding this
Artem was insistent that he was transgender and was impatient to commence his social
transition and to obtain prescriptions for cross sex hormones.
                                                                                                                  unacceptable, due to parental
                                                                                                                  and/or internalized homophobia,
                                                                                                                  the adolescent reasons as
Of himself:                                                                                                       follows:
I see myself as bisexual. I have feelings for guys and girls, more like a pan-thing. I have had a boyfriend
who identifies as male and pan since last year. We get together just the two of us - we visit each other's        Being same-sex attracted is bad
houses. I guess I would be OK with being GAY. For me, it fluctuates.                                              and shameful. My parents will
                                                                                                                  reject me if I am gay. If I am a boy
Of his mother, Artem said:                                                                                        attracted to other boys, I must be
Mum knows I have this friend. She doesn’t know that he is my boyfriend. I don't think Mum will take it            a girl and therefore need to
well because she asked me if I still liked girls. She wouldn't take kindly to knowing I am gay and have a         transition so that my attraction to
boyfriend.
                                                                                                                  boys becomes heterosexual.
Of his father, Artem said:
Dad is trying to suppress his queer phobia, but he says bad things about LGBTQ. He is anti it all; he got
angry with me for refuting what he was saying. Dad said gay is about anal sex and that is gross. Then
Mum told him to shut up and I went to my room and cried. Dad is anti queer for sure, he tries to
suppress it because he still loves me. I felt very disappointed in Dad when he expressed these
sentiments. He will be very freaked out if he thinks I am queer, gay, or trans.
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Conclusions
◦ Imperative to keep the developmental path open into adulthood (need frontal lobe maturation that
  occurs in early 20s)

◦ Psychological trauma from the past forms part of their psychic structure in the present. The
  expression of these traumas are socio-culturally embedded (i.e., social contagion permits
  particular forms of “acting out” these traumas).
◦ Envy and rivalry part of human condition -> unconscious envy is a factor in trans identification

◦ GD adolescents need assistance to explore their defences and internal psychic conflicts and
  managing their psychic pain before irreparably altering their bodies. “The body is used to act out
  something that cannot be accepted or processed by the mind.” (Evans & Evans, 2021, Ch 2, p. 28).

◦ Clinicians should not collude with the phantasy that the “embodied” self can be altered or
  removed.
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 Conclusions
◦ Sexual development poses a threat to young people as it signifies approaching adulthood, the demands of
  which they feel ill equipped to manage.
◦ ROGD as a “trauma” or a response to the reality of puberty that one now has a sexed body.
◦ Rigid adherence to peer norms temporarily assuages vulnerabilities because the young person has found
  others like him/her who are acting out in the same way.




              TRANSITION could be

               i. related to a grievance against the parents and a struggle for autonomy/individuation
               ii. related to an idea that one can create an ideal self
               iii. protective against feelings of inadequacy, anxiety, jealousy, and disappointment
               iv. a triumph over feelings of vulnerability
               v. a repudiation of the sexed body and adulthood
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